               EXHIBIT A




Case 3:17-cv-01051 Document 41-1 Filed 11/01/17 Page 1 of 64 PageID #: 910
                                                                             Exhibit A Musical Compositions

              Composition Title             Bluewater-Controlled Writer(s)            Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
105                                       ELGERSMA, FRED                       CRITTER CITY MUSIC                                    O                        PA0000885731
(LOVE IS LIKE A) WILD ROSE                MORRISON, BOB                        SOUTHERN DAYS MUSIC                                   A                        PA0001295505
                                          MACRAE, FRED / MORRISON,
(YOU LIFT ME) UP TO HEAVEN                BOB                                  SOUTHERN DAYS MUSIC                                   A                        PA0000067630

23A                                       ROBISON, BRUCE                       TILTAWHIRL MUSIC, BRUCE ROBISON MUSIC                 A                        PA0001596497
29 DAYS                                   TRICE, JAMES                         PLAID PAJAMAS MUSIC                                   A                        PA0001589592
49 TONS                                   ELGERSMA, FRED                       CRITTER CITY MUSIC                                    O                        PA0000707118
                                          HOOD, ADAM / SANDERS,
57 SONGS                                  BLUFORD                              TILTAWHIRL MUSIC                                      A                        PA0001818072

99 M.P.H. (NINETY-NINE MILES PER HOUR)    ELGERSMA, FRED                       CRITTER CITY MUSIC                                    O                        PA0001100568
A BATTLE WON                              HOOD, ADAM                           TILTAWHIRL MUSIC                                      A                        PA0001815992
A COWBOY WENT TO SEA                      ALFORD, KEN                          MIGHTY NICE MUSIC                                     O                        PA0000970402
A FLAME AND GASOLINE                      HOOD, ADAM                           TILTAWHIRL MUSIC                                      A                        PA0001783898

                                          MATHENY, LOGAN / MATHENY,
A HEARTBEAT                               SKIP / MATHENY, TIMSHEL              BILL AND MARY MUSIC, SCRAMBLER MUSIC                  A                        PA0001849210
A LESSON IN GOODBYE                       ROBISON, BRUCE                       TILTAWHIRL MUSIC                                      A                        PA0001924541
A LITTLE TOO LONELY (TOO LONELY)          MILLER, ALAN                         TOTO TUNES, WINNING CIRCLE MUSIC INC.                 A                        PA0001213303
A PLACE SO SMALL                          YORK, KATE                           MIGHTY NICE MUSIC                                     O                        PA0001352849
A STARTING PLACE                          HEMBY, NATALIE                       TILTAWHIRL MUSIC                                      A                        PA0001910232
A TOUCH IS ALL                            SAENZ, ARMANDO                       SCRAMBLER MUSIC                                       A                        PA0001768496
A WOMAN KNOWS                             JOHNSON, JILL                        MIGHTY NICE MUSIC                                     O                        PA0001203540
                                                                               LITTLE NANNY DICHOLS MUSIC, CLASHING
AHAVAT OLAME                              NICHOLS, DANIEL                      PLAIDS                                                A                        PA0001981703
                                          CORBIN, ANDRE / FERREIRA,
                                          FRANK / ABARCA, GERALD /
                                          BARRAGAN, LARRY / RIVERA,
AIELIARIA AND EVERONN                     JAMES                                BASH MUSIC                                            O                        PA0000454564
AIN'T IT JUST LIKE A COWBOY               LITTLE, HEATHER                      TILTAWHIRL MUSIC                                      A                        PA0001786351

AIN'T IT JUST LIKE LOVE                   WAYLAND, RICH                        STREET SINGER MUSIC, JOYOUS JINGLES INC.              A                        PA0001064894

AIN'T LOVE STRANGE                        JONES, DAVID LYNN                    MIGHTY NICE MUSIC, SKUNK DEVILLE MUSIC              O&A                        PA0001076099
AIN'T NOBODY GONNA TAKE THAT FROM         WRIGHT, KATHLEEN / TATE,
ME                                        SAM                                  GRAVITRON MUSIC                                       A                        PA0001055421
                                                                               CLASHING PLAIDS, LITTLE NANNY DICHOLS
ALEINU                                    NICHOLS, DANIEL                      MUSIC                                                 A                        PA0001981705
                                                                               MIGHTY NICE MUSIC, DAYLONG DARK
ALL DRESSED IN YOU                        YORK, KATE                           PUBLISHING                                          O&A                        PA0001352845
ALL GROWN UP                              SAENZ, ARMANDO                       SCRAMBLER MUSIC                                      A                         PA0001768490
ALL I EVER DO                             HEMBY, NATALIE                       TILTAWHIRL MUSIC                                     A                         PA0001735423
ALL I OWN                                 SAENZ, ARMANDO                       SCRAMBLER MUSIC                                      A                         PA0001295518
ALL MY LOVE                               FISHER, DAVID                        BASH MUSIC, SHERIDAN SESSIONS                       O&A                        PA0001855756
ALL NIGHT RADIO                           KREKEL, TIM                          MIGHTY NICE MUSIC                                    O                         PA0001016196




                                  Case 3:17-cv-01051 Document 41-1 Page
                                                                     Filed
                                                                        1 of 6311/01/17 Page 2 of 64 PageID #: 911
                                                                        Exhibit A Musical Compositions

            Composition Title          Bluewater-Controlled Writer(s)            Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
ALL THE LOVERS IN THE WORLD          SCHWARTZ, EDWARD S.                  HIGH FRONTIER MUSIC                                   A                        PA0000492180
ALMOST FEELING GOOD                  KREKEL, TIM                          MIGHTY NICE MUSIC                                     O                        PA0001745295
ALMOST HOME                          KEITH, MICHAEL                       LINDSEY AND SONS MUSIC                                A                        PA0001910416
ALMOST NEXT TO NOTHING               LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                         PA0000969678
ALTERNATOR                           ELGERSMA, FRED                       CRITTER CITY MUSIC                                    O                        PA0000969651
                                                                          CLASHING PLAIDS, LITTLE NANNY DICHOLS
ALWAYS THERE                         NICHOLS, DANIEL                      MUSIC                                                 A                        PA0001979615
ANGELS SING                          SHAWE, DOUGLAS                       APOCALYPSO MUSIC                                      A                        PA0001756230
ANOTHER DAY                          KREKEL, TIM                          MIGHTY NICE MUSIC                                     O                        PA0001595926
ANOTHER REDNECK CHRISTMAS (REDNECK
CHRISTMAS)                           ROBERTS, RIK                         TOTO TUNES                                            A                        PA0001096646
ANY TIME YOU WANT A FOOL AROUND
(FOOL AROUND)                        MILLER, ALAN                         TOTO TUNES, WINNING CIRCLE MUSIC INC.                 A                        PA0001200585

ANYWHERE ON EARTH YOU ARE            KREKEL, TIM / O'KEEFE, DANNY MIGHTY NICE MUSIC, BICAMERAL SONGS                          O&A                        PA0001344502

                                     FLANAGAN, HARLEY FRANCIS /
APOCOLYPSE NOW                       HOLLAND, DOUGLAS ALEC      DREAM CITY MUSIC                                                A                        PA0001686141
APRIL'S END                          SAENZ, ARMANDO             SCRAMBLER MUSIC                                                 A                        PA0001295518
ARE YOU ON THE ROAD TO LOVING ME
AGAIN?                               HUPP, DEBBIE / MORRISON, BOB         SOUTHERN DAYS MUSIC                                   A                        PA0000054694
                                     SELBY, MONTE / WORMELI,
ARMSTRONG                            RICK                                 STREET SINGER MUSIC, TOTO TUNES                       A                        PA0001228993
                                     FASCINATO, JACK / FORD,
ARMY OF THE FREE                     ERNEST                               BAYSHORE MUSIC CORPORATION                            A                         EP0000154149
                                     BEATHARD, CASEY /                    FIRST AND GOAL PUBLISHING, SUITE TWO O
AS FAR AS YOUR MEMORY GOES           FREDERICK, BRIAN                     FIVE MUSIC                                            A                        PA0001292951
AS YOU LAY SLEEPING                  BILLY LIVSEY                         BILLY LIVSEY MUSIC                                    A                        PA0001028700
ASSEMBLY LINE                        HEMBY, NATALIE                       TILTAWHIRL MUSIC                                      A                        PA0001766720
AT YOUR WORST                        COPELAND, DREW                       TILTAWHIRL MUSIC                                      A                        PA0001783836
BACK DOWN                            GIACOMOTTO, OLIVIER                  QAP SONGS                                             A                           PENDING

BACK HOME                            ROBISON, BRUCE                       BRUCE ROBISON MUSIC, TILTAWHIRL MUSIC                 A                        PA0001744355
BACK TO                              COTTRELL, JEREMY                     MELODY ROUNDUP MUSIC LLC                              A                        PA0001893734
BACKSTEP CINDY                       O'BRIEN, TIM                         HOWDY SKIES MUSIC                                     A                        PA0000988282
BACKWATER BLUES                      KNIGHT, CHRIS                        BASH MUSIC                                            O                        PA0001590074

BAD FRIEND TO A GOOD MAN             ROBISON, BRUCE                       BRUCE ROBISON MUSIC, TILTAWHIRL MUSIC                 A                        PA0001818071
BAD IMPRESSIONS                      COE, DAVID ALLAN                     SHOWFOR MUSIC                                         O                        PA0000008724
                                     MECKEL, NATHAN / ROBERTS,
BALLAD OF FIFE & CASH                RIK                                  CLASHING PLAIDS                                       A                        PA0001237787
BANJO JOKES #1                       ROBERTS, RIK                         CLASHING PLAIDS                                       A                        PA0001237787
BANJO JOKES #2                       ROBERTS, RIK                         CLASHING PLAIDS                                       A                        PA0001237787
BANJO JOKES #3                       ROBERTS, RIK                         CLASHING PLAIDS                                       A                        PA0001237787




                            Case 3:17-cv-01051 Document 41-1 Page
                                                               Filed
                                                                  2 of 6311/01/17 Page 3 of 64 PageID #: 912
                                                                           Exhibit A Musical Compositions

            Composition Title             Bluewater-Controlled Writer(s)              Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
                                        CORBIN, ANDRE / FERREIRA,
                                        FRANK / ABARCA, GERALD /
                                        BARRAGAN, LARRY / RIVERA,
BAPTIZED IN BLOOD                       JAMES                                BASH MUSIC                                              O                        PA0000454557
BARBED WIRE                             ALFORD, KEN                          MIGHTY NICE MUSIC                                       O                        PA0000970403
                                                                             LITTLE NANNY DICHOLS MUSIC, CLASHING
BAR'CHU (BARECHU)                       NICHOLS, DANIEL                      PLAIDS                                                  A                        PA0001981712
BAREFOOTED BOYS                         NEWTON, WOOD                         MIGHTY NICE MUSIC                                       O                        PA0001768829
BARS, GUITARS, AND A HONKYTONK
CROWD (BAR, GUITARS, AND A
HONKYTONK CROWD)                        COBB, BRENT                          SCRAMBLER MUSIC                                        A                         PA0001757812
BASICS OF LOVE                          MEDIC, DAMON                         TOTO TUNES                                             A                         PA0001701287
BE SOMEBODY                             HOOD, ADAM                           TILTAWHIRL MUSIC                                       A                         PA0001758665
BE WITH YOU                             KREKEL, TIM                          MIGHTY NICE MUSIC, TILTAWHIRL MUSIC                   O&A                        PA0001747120
BEAUTIFUL LIES                          LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0000826778
BEER ON THE TABLE                       ZACHARUK, ANDREA                     25 NORTH PUBLISHING                                    A                         PA0001695955
BEHIND THE SUN                          COPELAND, DREW                       TILTAWHIRL MUSIC                                       A                         PA0001783836
BELL                                    ELGERSMA, FRED                       CRITTER CITY MUSIC                                     O                         PA0000885733
BENCHSEAT BABY                          ELGERSMA, FRED                       CRITTER CITY MUSIC                                     O                         PA0001051648
BENDING BLADES                          O'BRIEN, TIM                         HOWDY SKIES MUSIC                                      A                         PA0000953538
                                        CORBIN, ANDRE / FERREIRA,
                                        FRANK / ABARCA, GERALD /
                                        BARRAGAN, LARRY / RIVERA,
BENEDICTION                             JAMES                                BASH MUSIC                                              O                        PA0000454561
BIG BALL'S IN COWTOWN                   NIX, HOYLE                           DREAM CITY MUSIC                                        A                        PA0000743586
BIG HAIR                                ELGERSMA, FRED                       CRITTER CITY MUSIC                                      O                        PA0001051651

                                        MATHENY, LOGAN / MATHENY,
BIG LIGHT                               SKIP / MATHENY, TIMSHEL   BILL AND MARY MUSIC, SCRAMBLER MUSIC                               A                        PA0001800202
BIG LONESOME                            KREKEL, TIM               MIGHTY NICE MUSIC                                                  O                        PA0001768499
                                                                  MIGHTY NICE MUSIC, DAYLONG DARK
BIG OLD WORLD                           YORK, KATE                PUBLISHING                                                       O&A                        PA0001352848
BIG SKY                                 NASH, BRIAN               BASH MUSIC                                                        O                         PA0001382153
BIG TOWN, SMALL WORLD BLUES             LAUDERDALE, JIM           LAUDERSONGS, MIGHTY NICE MUSIC                                   O&A                        PA0001093298
                                                                  LITTLE NANNY DICHOLS MUSIC, CLASHING
BIRKAT HAMAZON                          NICHOLS, DANIEL           PLAIDS                                                            A                         PA0001981702
BITE THE HAND THAT FEEDS                BILLY LIVSEY              QUINCE MUSIC LTD.                                                 A                         PA0000254738
BLACKBIRDS (REPRISE)                    PETERS, GRETCHEN          CIRCUS GIRL MUSIC                                                 A                         PA0002039732
BLESSING                                ALFONSO, BARRY            BASH MUSIC, SCARLETT'S SISTER MUSIC                              O&A                        PA0001011595
BLUE EYED ANGELS                        BAIRD, ROB                TILTAWHIRL MUSIC                                                  A                         PA0001792392
                                        MECKEL, NATHAN / TRICE,
BLUES AT SUNSET                         JAMES                     CLASHING PLAIDS, PLAID PAJAMAS MUSIC                               A                        PA0001589587

BLUES FOR O.P.                          PAYNE, CECIL                         DREAM CITY MUSIC, CHARLIE PARKER MUSIC                  A                        EU0000446253
                                        FASCINATO, JACK / FORD,
BONNIE BLUE FLAG                        ERNEST                               BAYSHORE MUSIC CORPORATION                              A                         EP0000154295




                                Case 3:17-cv-01051 Document 41-1 Page
                                                                   Filed
                                                                      3 of 6311/01/17 Page 4 of 64 PageID #: 913
                                                                           Exhibit A Musical Compositions

            Composition Title             Bluewater-Controlled Writer(s)           Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
BOTTLE INTO GOLD                        SAENZ, ARMANDO                       SCRAMBLER MUSIC                                      A                        PA0001739189
                                        SELBY, MICHELLE / SELBY,
BRAND NEW WALL                          MONTE                                STREET SINGER MUSIC                                  A                        PA0001114158
BRIDGES                                 BROWN, MARTY                         MELODY ROUNDUP MUSIC LLC                             A                        PA0001843219
BROTHER WIND                            O'BRIEN, TIM                         HOWDY SKIES MUSIC                                    A                        PA0000758857
                                                                             CLASHING PLAIDS, LITTLE NANNY DICHOLS
B'TZELEM ELOHIM                         NICHOLS, DANIEL                      MUSIC                                                A                        PA0001979086
BULLETS                                 ELGERSMA, FRED                       CRITTER CITY MUSIC                                   O                        PA0000969650
BUTTON OFF MY SHIRT                     BILLY LIVSEY                         QUINCE MUSIC LTD.                                    A                        PA0000342952
BY HER SIDE                             SANDERS, BLU                         TILTAWHIRL MUSIC                                     A                        PA0001742092
                                        FLANAGAN, HARLEY FRANCIS
BY MYSELF                               JOSEPH, JOHN                         DREAM CITY MUSIC                                     A                        PA0000532447
                                                                             CLASHING PLAIDS, LITTLE NANNY DICHOLS
CANDLE                                  NICHOLS, DANIEL                      MUSIC                                                A                        PA0001985790
                                                                             CLASHING PLAIDS, LITTLE NANNY DICHOLS
CANDLE BLESSING                         NICHOLS, DANIEL                      MUSIC                                                A                        PA0001981706
CANDY RED                               SAENZ, ARMANDO                       SCRAMBLER MUSIC                                      A                        PA0001768496

CAN'T SAY NO TO YOU                     JEDD, MICHAEL HUGHES                 BAMBATOWN PUBLISHING, TILTAWHIRL MUSIC               A                        PA0001868675
CARELESS                                FRED EAGLESMITH                      SWEETWATER MUSIC                                     A                        PA0001733218
CARELESS LOVE                           BILLY LIVSEY                         BILLY LIVSEY MUSIC                                   A                       PAu0001889574
CARMELITA                               ELGERSMA, FRED                       CRITTER CITY MUSIC                                   O                        PA0000835267
CAROLINE                                ELGERSMA, FRED                       CRITTER CITY MUSIC                                   O                        PA0001852231
CARTER                                  ELGERSMA, FRED                       CRITTER CITY MUSIC                                   O                        PA0000969652
CASUALTIES                              KREKEL, TIM                          MIGHTY NICE MUSIC                                    O                        PA0001747122
CATFISH BOOGIE                          FORD, ERNEST                         TENNESSEE ERNIE FORD MUSIC                           A                        EU0000328762
CHAMELEON                               O'BRIEN, TIM                         CORNBREAD NATION                                     A                        PA0001666729
                                        BUCKLEY, ROB FLANAGAN,
                                        HARLEY FRANCIS HOLLAND,
CHANGES                                 DOUGLAS ALEC                         DREAM CITY MUSIC                                     A                        PA0001686143
                                                                             CLASHING PLAIDS, LITTLE NANNY DICHOLS
CHAZAK                                  NICHOLS, DANIEL                      MUSIC                                                A                        PA0001979088
CHET ATKINS DIET                        ROBERTS, RIK                         CLASHING PLAIDS                                      A                        PA0001237787

CHICO CALLING                           JEDD, MICHAEL HUGHES                 BAMBATOWN PUBLISHING, TILTAWHIRL MUSIC               A                        PA0001682947
CHRISTMAS EVE                           O'BRIEN, TIM                         HOWDY SKIES MUSIC                                    A                        PA0000924447

CHRISTMAS MORNING                       RICHEY, KIM                          MIGHTY NICE MUSIC, WAIT NO MORE MUSIC              O&A                        PA0001050747
CHRISTMASTIME IN MY HOMETOWN            LOWRY, HAROLD MARSHALL               DREAM CITY MUSIC                                    A                         PA0000697066
CIGARETTE MACHINE                       FRED EAGLESMITH                      SWEETWATER MUSIC                                    A                         PA0001862170
CITY SLICKER                            HEMBY, NATALIE                       TILTAWHIRL MUSIC                                    A                         PA0001811650
CLIMBIN' UP A MOUNTAIN                  O'BRIEN, TIM                         HOWDY SKIES MUSIC                                   A                         PA0000758858
                                                                             CROZIER MUSIC ENTERPRISE, TILTAWHIRL
COCK-A-DOODLE-DO                        JONES, TROY                          MUSIC                                                A                        PA0001858759
COLD WINDS BLOW                         LOWRY, HAROLD MARSHALL               DREAM CITY MUSIC                                     A                       PAu0000140612
COME AND GET IT                         ANDERSON, AL                         MIGHTY NICE MUSIC                                    O                        PA0001088651




                                Case 3:17-cv-01051 Document 41-1 Page
                                                                   Filed
                                                                      4 of 6311/01/17 Page 5 of 64 PageID #: 914
                                                                            Exhibit A Musical Compositions

             Composition Title             Bluewater-Controlled Writer(s)              Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #

COME AROUND                              RICHEY, KIM / KREKEL, TIM            MIGHTY NICE MUSIC, WAIT NO MORE MUSIC                 O&A                        PA0000972145
COME OUT TONIGHT                         SAENZ, ARMANDO                       SCRAMBLER MUSIC                                        A                         PA0001768495
COMING BACK FROM THE MOON                KELLEY, IRENE                        ASH STREET PUBLISHING                                  A                         PA0001281023
COMPLICATE                               COPELAND, DREW                       TILTAWHIRL MUSIC                                       A                         PA0001783817
COULD HAVE BEEN MY BABY                  BAIRD, ROB                           TILTAWHIRL MUSIC                                       A                         PA0001792390
COWBOY'S HEAVEN                          AUTRY, GENE                          THE GENE AUTRY MUSIC COMPANY                           A                           V2460P208
CRASHIN' AND BURNIN'                     ELGERSMA, FRED                       CRITTER CITY MUSIC                                     O                         PA0000707116
CRAZIER                                  ELGERSMA, FRED                       CRITTER CITY MUSIC                                     O                         PA0000969655
CREEK WILL STILL BE RUNNING              MAYHEW, AUBREY                       DREAM CITY MUSIC                                       A                        PAu0000175461
DADDY'S ON THE ROOF AGAIN                O'BRIEN, TIM                         HOWDY SKIES MUSIC                                      A                         PA0000758859
DAKOTA THE DANCING BEAR PART 2           COE, DAVID ALLAN                     CAPTIVE MUSIC                                          O                         EU0000612027
DANCE IN THE MOONLIGHT                   MILLER, ALAN                         WINNING CIRCLE MUSIC, INC.                             A                         PA0001814578
DANGEROUS GIRL                           FISHER, DAVID                        BASH MUSIC, SHERIDAN SESSIONS                         O&A                        PA0001855787
DEEP ELLUM BLUES                         HOOD, ADAM                           TILTAWHIRL MUSIC                                       A                         PA0001795416
DEEP IN THE WOODS                        O'BRIEN, TIM                         HOWDY SKIES MUSIC                                      A                         PA0000758860
DEFECTED-1                               GRZEGORZ OCHMAN                      QAP SONGS                                              A                            PENDING

DIDN'T I                                 KREKEL, TIM / RICHEY, KIM            MIGHTY NICE MUSIC, WAIT NO MORE MUSIC                 O&A                        PA0000972144
DIGGIN' IN THE DIRT                      WASNER, PETER                        BRIGHT LIKE THE SUN MUSIC                              A                         PA0001133760
                                         MECKEL, NATHAN /
DIRTY LAUNDRY                            MONTGOMERY, MELISSA                  CLASHING PLAIDS, SPIN BOX MUSIC                        A                         PA0001653016
DIVIDE AND CONQUER                       LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0000721417
                                         FASCINATO, JACK / FORD,
DIXIE                                    ERNEST                               BAYSHORE MUSIC CORPORATION                             A                         EP0000154285
DO SOMETHING FOOLISH                     SCHWARTZ, EDWARD S.                  HIGH FRONTIER MUSIC                                    A                         PA0000375121
DO YOU LOVE ME NOW                       ELGERSMA, FRED                       CRITTER CITY MUSIC                                     O                         PA0001157340
DOCTOR'S IN THE HOUSE                    TRICE, JAMES                         PLAID PAJAMAS MUSIC                                    A                         PA0001589590
DON'T                                    ANDERSON, AL                         MIGHTY NICE MUSIC                                      O                         PA0001092347
DON'T BE SURPRISED                       O'BRIEN, TIM                         HOWDY SKIES MUSIC                                      A                         PA0000859642
DON'T CRY FOR ME                         BAIRD, ROB                           TILTAWHIRL MUSIC                                       A                         PA0001803242
DON'T MIND MESSIN'                       FISHER, DAVID                        BASH MUSIC, SHERIDAN SESSIONS                         O&A                        PA0001838043
DON'T START COURTIN' IN A HOT ROD        FORD, ERNEST                         TENNESSEE ERNIE FORD MUSIC                             A                         EU0000313973
DON'T YOU WORRY 'BOUT A THING            RICHEY, KIM                          MIGHTY NICE MUSIC                                      O                         PA0001092453
DON'TCHA JUST LOVE IT                    MORRISON, BOB                        SOUTHERN DAYS MUSIC                                    A                         PA0001295510
                                         MAYHEW, AUBREY /
                                         MCGIVERN, MICHAEL /
DOWN AT KELLY'S                          PAYCHECK, JOHNNY                     DREAM CITY MUSIC                                       A                        PAu0000089976
DOWN IN THE WILLOW GARDEN                O'BRIEN, TIM                         HOWDY SKIES MUSIC                                      A                         PA0001004793
DOWNSIDE OF LOVE                         MILLER, ALAN                         TOTO TUNES, WINNING CIRCLE MUSIC INC.                  A                         PA0001197570
DREAM ON ME                              MACK, WILLIE                         WINNING CIRCLE MUSIC, INC.                             A                         PA0001590084
DREAMING OF A WOMAN                      FISHER, DAVID                        BASH MUSIC, SHERIDAN SESSIONS                         O&A                        PA0001838052

DRIFTING ON A REED                       PARKER JR, CHARLES                   DREAM CITY MUSIC, CHARLIE PARKER MUSIC                  A                        PA0000532543
DRINKIN' TOO MUCH                        ELGERSMA, FRED                       CRITTER CITY MUSIC                                      O                        PA0000885734
DRIVE-IN MOVIE                           ELGERSMA, FRED                       CRITTER CITY MUSIC                                      O                        PA0000707120




                                 Case 3:17-cv-01051 Document 41-1 Page
                                                                    Filed
                                                                       5 of 6311/01/17 Page 6 of 64 PageID #: 915
                                                                           Exhibit A Musical Compositions

            Composition Title             Bluewater-Controlled Writer(s)              Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
                                        SELBY, MONTE / MECKEL,
DRIVIN' IN MY CAR                       NATHAN                               STREET SINGER MUSIC, CLASHING PLAIDS                    A                        PA0001596416

                                        MATHENY, LOGAN / MATHENY,
EARLY AUBADE                            SKIP / MATHENY, TIMSHEL   BILL AND MARY MUSIC, SCRAMBLER MUSIC                               A                        PA0001800201
EASE THE FEVER                          MORRISON, BOB             SOUTHERN DAYS MUSIC                                                A                       PAu0001416058

                                        MATHENY, LOGAN / MATHENY,
EDEN WAS A GARDEN                       SKIP / MATHENY, TIMSHEL   BILL AND MARY MUSIC, SCRAMBLER MUSIC                               A                        PA0001849210
EDGE OF THE STORM                       O'BRIEN, TIM              HOWDY SKIES MUSIC                                                  A                        PA0000758861
EGG SONG                                SAENZ, ARMANDO            SCRAMBLER MUSIC                                                    A                        PA0001295519
                                                                  LITTLE NANNY DICHOLS MUSIC, CLASHING
ELIYAHU HANAVI                          NICHOLS, DANIEL           PLAIDS                                                             A                        PA0001981721
ENGINE ROLL                             SAENZ, ARMANDO            SCRAMBLER MUSIC                                                    A                        PA0001295519
                                                                  LITTLE NANNY DICHOLS MUSIC, CLASHING
E'S NIGUN                               NICHOLS, DANIEL           PLAIDS                                                             A                        PA0001982583

EVERYBODY'S GONNA DIE                   FLANAGAN, HARLEY FRANCIS             DREAM CITY MUSIC                                       A                         PA0000580780
EVERYBODY'S PROBLEM                     SELBY, MONTE                         STREET SINGER MUSIC                                    A                         PA0001011437
EVERYTHING BUT THE WORDS                LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0001309176
EVIL INSTRUCTIONS                       LAZAR ATTILA                         QAP SONGS                                              A                            PENDING
FADE AWAY                               BAIRD, ROB                           TILTAWHIRL MUSIC                                       A                         PA0001792391
                                        FASCINATO, JACK / FORD,
FADED COAT OF BLUE                      ERNEST                               BAYSHORE MUSIC CORPORATION                              A                        EP0000154288
FAIR MARGARET AND SWEET WILLIAM         O'BRIEN, TIM                         HOWDY SKIES MUSIC                                       A                        PA0000988286
FALL IN LOVE WITH YOU                   PETTY, LEON                          SHOWFOR MUSIC                                           O                        PA0000059035

FALL INTO ME                            CARUSOE, SCOOTER                     ABBOTTS CREEK MUSIC, SCRAMBLER MUSIC                    A                        PA0001761582

FALLIN'                                 RICHEY, KIM                          MIGHTY NICE MUSIC, WAIT NO MORE MUSIC                 O&A                        PA0001010898
FALLING                                 COTTRELL, JEREMY                     MELODY ROUNDUP MUSIC LLC                               A                         PA0001856803
FAMILY HISTORY                          O'BRIEN, TIM                         HOWDY SKIES MUSIC                                      A                         PA0001273605
                                        SELBY, MONTE / SILVER,
FAMILY TREE                             DEBBIE                               STREET SINGER MUSIC, TOTO TUNES                        A                         PA0001228989
FAR AWAY                                COPELAND, DREW                       TILTAWHIRL MUSIC                                       A                         PA0001783831
FASCINATION                             SCHWARTZ, EDWARD S.                  HIGH FRONTIER MUSIC                                    A                         PA0000349033
FATHER FORGIVE ME                       O'BRIEN, TIM                         CORNBREAD NATION                                       A                         PA0001645798
FEAR OF FALLING                         TRICE, JAMES                         PLAID PAJAMAS MUSIC                                    A                         PA0001589595
FEEL SO RIGHT                           FISHER, DAVID                        BASH MUSIC, SHERIDAN SESSIONS                         O&A                        PA0001838042

FEELIN' GOOD                            WAYLAND, RICH                        STREET SINGER MUSIC, JOYOUS JINGLES INC.                A                        PA0001092346
FEELIN' GOOD TRAIN                      ANDERSON, AL                         MIGHTY NICE MUSIC                                       O                        PA0000719504
FELL INTO HER DEEP BLUE EYES            O'BRIEN, TIM                         HOWDY SKIES MUSIC                                       A                        PA0001273606
FIND FORGIVENESS                        CARUSOE, SCOOTER                     SCRAMBLER MUSIC                                         A                        PA0001943700
FIRST DAYS OF FALL                      O'BRIEN, TIM                         HOWDY SKIES MUSIC                                       A                        PA0000859643
FIRST THING ABOUT MARY                  ROBISON, BRUCE                       TILTAWHIRL MUSIC                                        A                        PA0001064888




                                Case 3:17-cv-01051 Document 41-1 Page
                                                                   Filed
                                                                      6 of 6311/01/17 Page 7 of 64 PageID #: 916
                                                                           Exhibit A Musical Compositions

            Composition Title             Bluewater-Controlled Writer(s)              Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
                                        MECKEL, NATHAN / ROBERTS,
FISHIN' WITH DYNAMITE                   RIK                                  CLASHING PLAIDS                                         A                        PA0001237787
FLOWERS IN THE DELL                     ELGERSMA, FRED                       CRITTER CITY MUSIC                                      O                        PA0001051654
                                        WILLIAMS, DONALD / MCKEE,
FLOWERS KISSED THE SHOES JESUS WORE     BOB / MYERS, FRANK                   DREAM CITY MUSIC                                       A                         EP0000285988
FLY, LOVEBIRD FLY                       LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0001010628
FOOL INSIDE OF ME                       COE, DAVID ALLAN                     DAVID ALLAN COE MUSIC                                  O                         PA0000179598
FOR LOVERS ONLY                         COE, DAVID ALLAN                     DAVID ALLAN COE MUSIC                                  O                         PA0000179602
                                        MAYHEW, AUBREY /
FOR THIS TOO WILL PASS                  PAYCHECK, JOHNNY                     DREAM CITY MUSIC                                        A                        EU0000223966
                                        KEITH, MICHAEL / LINDSEY,            BRIGHT LIKE THE SUN MUSIC, MATT LINDSEY
FOR YOUR LOVE                           MATT                                 MUSIC                                                   A                        PA0001632323
                                        MAYHEW, AUBREY /
FOREVER ENDED YESTERDAY                 PAYCHECK, JOHNNY                     DREAM CITY MUSIC                                       A                        PAu0000087370
FOREVER ENDS TODAY                      LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0001371080
FORTY-NINE KEEP ON TALKIN'              O'BRIEN, TIM                         HOWDY SKIES MUSIC                                      A                         PA0001273604
FULLNESS OF TIME                        KREKEL, TIM                          MIGHTY NICE MUSIC                                      O                         PA0000819452
FUN                                     SHAWE, DOUGLAS                       APOCALYPSO MUSIC                                       A                        PAU003735994
GEORGIA OVERDRIVE                       ELGERSMA, FRED                       CRITTER CITY MUSIC                                     O                         PA0000969654
                                        FLOWERS, DOUG / SMITH,
GEORGIA ROSE                            ROBERT GERALD                        MELODY ROUNDUP MUSIC LLC                                A                        PA0002002513
GET OUT THERE AND DANCE                 O'BRIEN, TIM                         CORNBREAD NATION                                        A                        PA0001645798
GET THE FUNK (OLIVIER GIACOMOTTO        GIACOMOTTO, OLIVIER / DE
REMIX)                                  CAMPOS, ANTON                        QAP SONGS                                               A                             PENDING
                                        GIACOMOTTO, OLIVIER / DE
GLITTERQUEEN (VOCAL MIX)                CAMPOS, ANTON                        QAP SONGS                                               A                           PENDING
GO OUT AND PLOUGH                       ELGERSMA, FRED                       CRITTER CITY MUSIC                                      O                        PA0000956619
GO TELL IT ON THE MOUNTAIN              O'BRIEN, TIM                         HOWDY SKIES MUSIC                                       A                        PA0000924450
GO WILD                                 ANDERSON, AL                         MIGHTY NICE MUSIC                                       O                        PA0000705828
                                                                             TILTAWHIRL MUSIC, STAIRWAY TO ELEVEN
GONE AND LONESOME                       GRISSOM, DAVID                       MUSIC                                                   A                        PA0001657181
GONNA TAKE A GOOD WOMAN                 HOOD, ADAM                           TILTAWHIRL MUSIC                                        A                        PA0001795967
                                        FASCINATO, JACK / FORD,
GOOBER PEAS                             ERNEST                               BAYSHORE MUSIC CORPORATION                              A                        EP0000154294
GOOD AS GOLD                            SAENZ, ARMANDO                       SCRAMBLER MUSIC                                         A                        PA0002056784
GOOD ENOUGH                             ELGERSMA, FRED                       CRITTER CITY MUSIC                                      O                        PA0000707123
GOOD KING WENCESLAS                     FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                              A                        EU0000896005
                                                                             CLASHING PLAIDS, WINNING CIRCLE MUSIC
GOODBYE BAD DAY                         MACK, WILLIE                         INC.                                                    A                        PA0001815984
GOODBYE THAT'S ALL I EVER HEAR          CROWLEY, J.C.                        MIGHTY NICE MUSIC                                       O                        PA0000015621
GOTTA BE A GOD                          SANDERS, BLU                         TILTAWHIRL MUSIC                                        A                        PA0002014854
GRAIN OF SAND                           KENNEDY, BRYAN                       SCRAMBLER MUSIC                                         A                        PA0002663281

GRANT'S GROOVE                          PAYNE, CECIL                         DREAM CITY MUSIC, CHARLIE PARKER MUSIC                  A                        EU0000744686
GUILTY                                  FLANDERS, CHAISE                     CHAISEMY MUSIC                                          A                        PA0001815431




                                Case 3:17-cv-01051 Document 41-1 Page
                                                                   Filed
                                                                      7 of 6311/01/17 Page 8 of 64 PageID #: 917
                                                                          Exhibit A Musical Compositions

           Composition Title             Bluewater-Controlled Writer(s)              Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
                                       COE, DAVID ALLAN /
                                       FITZGERALD, NOVO / SMITH,
GUILTY FOOTSTEPS                       MARGARET                             SHOWFOR MUSIC                                           O                        PA0000008720
GULF COAST TIDES                       ALFORD, KEN                          MIGHTY NICE MUSIC                                       O                        PA0000970399
GUNSHOTS IN THE HOOD                   TRICE, JAMES                         PLAID PAJAMAS MUSIC                                     A                        PA0001589596
HANDCUFFED TO LOVE                     HARLOW, HOPE                         DREAM CITY MUSIC                                        A                        EP0000051409
HARD EDGES                             KNIGHT, CHRIS                        BASH MUSIC                                              O                        PA0001590079
HARD LOVE                              MILLER, DEAN                         MIGHTY NICE MUSIC                                       O                        PA0001338604

                                       CASSANOVA, ERIC FLANAGAN,
HARD TIMES                             HARLEY FRANCIS                       DREAM CITY MUSIC                                        A                        PA0000532446
HARD TIMES IN THE LAND OF PLENTY       HOOD, ADAM                           TILTAWHIRL MUSIC                                        A                        PA0001795486

HARD TO SAY GOODBYE                    RICHEY, KIM                          MIGHTY NICE MUSIC, WAIT NO MORE MUSIC                 O&A                        PA0001117607
                                       FASCINATO, JACK / FORD,              BAYSHORE MUSIC CORPORATION, TENNESSEE
HARK THE HERALD ANGELS SING            ERNEST                               ERNIE FORD MUSIC                                        A                        EU0000269108
HAROLD WILSON                          ELGERSMA, FRED                       CRITTER CITY MUSIC                                      O                        PA0000956621
                                       CORBIN, ANDRE / FERREIRA,
                                       FRANK / ABARCA, GERALD /
                                       BARRAGAN, LARRY / RIVERA,
HARSH REALITY                          JAMES                                BASH MUSIC                                              O                        PA0000454562
                                                                            LITTLE NANNY DICHOLS MUSIC, CLASHING
HAVDALAH                               NICHOLS, DANIEL                      PLAIDS                                                  A                        PA0001981734
HAVE YOU SEEN HER?                     FORD, ERNEST                         TENNESSEE ERNIE FORD MUSIC                              A                        EU0000419809

HEART OF THE WORLD                     CARUSOE, SCOOTER                     ABBOTTS CREEK MUSIC, SCRAMBLER MUSIC                    A                        PA0001764318
HEARTBREAK GAME                        O'BRIEN, TIM                         HOWDY SKIES MUSIC                                       A                        PA0000721876

HE'LL UNDERSTAND AND SAY WELL DONE     FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                             A                         EU0000843827
HELLO CRUEL WORLD                      PETERS, GRETCHEN                     CIRCUS GIRL MUSIC                                      A                         PA0001821711
HELLO, BABY                            KREKEL, TIM                          MIGHTY NICE MUSIC                                      O                         PA0001747123
HELLO, OLD MAN                         KNIGHT, CHRIS                        BASH MUSIC                                             O                         PA0001199857
HELLUVA HEART                          LITTLE, HEATHER                      TILTAWHIRL MUSIC                                       A                         PA0001834770
HER HEART OR MINE                      ELGERSMA, FRED                       CRITTER CITY MUSIC                                     O                         PA0001852234
HERE COME THOSE DREAMS AGAIN           FISHER, DAVID                        BASH MUSIC, SHERIDAN SESSIONS                         O&A                        PA0001838050
HERE COMES THAT SONG AGAIN             MORRISON, BOB                        SOUTHERN DAYS MUSIC                                    A                         PA0000131736
HERE COMES THE DAY                     BAIRD, ROB                           TILTAWHIRL MUSIC                                       A                         PA0001792390

HERE IN MY HEART                       JONES, DAVID LYNN                    MIGHTY NICE MUSIC, SKUNK DEVILLE MUSIC                O&A                        PA0000298944
HERE TOMORROW, GONE TODAY              KREKEL, TIM                          MIGHTY NICE MUSIC                                      O                         PA0001642726
HERE WITH YOU                          MCCLURKIN, DONALD                    DON MAC MUSIC                                          A                         PA0000937857
HE'S A GOOD DOG                        ELGERSMA, FRED                       CRITTER CITY MUSIC                                     O                         PA0001051650
HEY CONDUCTOR                          BREMNER, BILLY                       MIGHTY NICE MUSIC                                      O                         PA0000925627
HIDE YOUR MATCHES                      CARUSOE, SCOOTER                     SCRAMBLER MUSIC                                        A                         PA0001760176
                                                                            CLASHING PLAIDS, LITTLE NANNY DICHOLS
HINEI MAH TOV                          NICHOLS, DANIEL                      MUSIC                                                   A                        PA0001979083




                               Case 3:17-cv-01051 Document 41-1 Page
                                                                  Filed
                                                                     8 of 6311/01/17 Page 9 of 64 PageID #: 918
                                                                             Exhibit A Musical Compositions

           Composition Title                Bluewater-Controlled Writer(s)           Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
HOLD ON MY LOVE                           LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                    O&A                         PA0001093292

HOLDING ON TO LETTING GO                  ROBISON, BRUCE                       BRUCE ROBISON MUSIC, TILTAWHIRL MUSIC                A                        PA0001772075
HOLDING ON TO YOUR HAND                   SELBY, MONTE                         STREET SINGER MUSIC                                  A                        PA0001011440
HOME OF THE BROKEN                        LITTLE, HEATHER                      TILTAWHIRL MUSIC                                     A                        PA0001805496
                                                                               LITTLE NANNY DICHOLS MUSIC, CLASHING
HOSHIA                                    NICHOLS, DANIEL                      PLAIDS                                               A                        PA0001981700
HOSS RACE                                 O'BRIEN, TIM                         CORNBREAD NATION                                     A                        PA0001645798
HOTTY TODDY AND SWEET TEASE               HOOD, ADAM                           TILTAWHIRL MUSIC                                     A                        PA0001805255
                                                                               ASH STREET PUBLISHING, RICHARDSON-
HOUSE OF CASH                             HOLMES, MONTY                        ZULEGER PUBLISHING                                   A                        PA0001835611
HOUSE OF THE RISIN' SUN                   O'BRIEN, TIM                         CORNBREAD NATION                                     A                        PA0001589580
HOUSTON, DALLAS, SAN ANTONE               COE, DAVID ALLAN                     SHOWFOR MUSIC                                        O                        PA0000008721
HOW COME I AIN'T DEAD                     O'BRIEN, TIM                         HOWDY SKIES MUSIC                                    A                        PA0000859639
HOW'S ERNIE                               ELGERSMA, FRED                       CRITTER CITY MUSIC                                   O                        PA0001051652
I AIN'T BROKE BUT I AIN'T BUSTED (I MAY
BE BROKE BUT I AIN'T BUSTED)              TRICE, JAMES                         PLAID PAJAMAS MUSIC                                  A                        PA0001589591
I AIN'T EVER GIVIN' IN                    ELGERSMA, FRED                       CRITTER CITY MUSIC                                   O                        PA0001281600
                                          REYNOLDS, PETER / VERDE,
I AM YOGA                                 SUSAN                                CLASHING PLAIDS                                     A                         PA0002034088
I CAN RUN FROM YOUR MEMORY                KNIGHT, CHRIS                        BASH MUSIC                                          O                         PA0000741061
I DID MY PART                             BILLY LIVSEY                         QUINCE MUSIC LTD.                                   A                        PAu0001927826
I DIDN'T COME THIS FAR                    LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0000977215
I DON'T LIKE IT                           SAENZ, ARMANDO                       SCRAMBLER MUSIC                                     A                         PA0001768492
                                          MAYHEW, AUBREY / SANDERS,
I DON'T NEED A BOTTLE                     HARLAN                               DREAM CITY MUSIC                                     A                       PAu0001489451
I DON'T WANNA                             SHAWE, DOUGLAS                       SCITUATE HARBOR MUSIC                                A                        PA0001616665
                                                                               LITTLE NANNY DICHOLS MUSIC, CLASHING
I FOUND MY LOVE                           NICHOLS, DANIEL                      PLAIDS                                               A                        PA0001980550
                                                                               CROZIER MUSIC ENTERPRISE, TILTAWHIRL
I GOT A LIFE                              JONES, TROY                          MUSIC                                               A                         PA0001858709
I JUST CAN'T CRY ANYMORE                  KREKEL, TIM                          MIGHTY NICE MUSIC, TILTAWHIRL MUSIC                O&A                        PA0001747119

I KNOW                                    RICHEY, KIM                          MIGHTY NICE MUSIC, WAIT NO MORE MUSIC              O&A                        PA0001010897
                                          TATE, SAM / WRIGHT,
I KNOW WHERE HEAVEN IS                    KATHLEEN                             GRAVITRON MUSIC                                      A                        PA0001686227
I LIKE THE WAY YOU COOK                   O'BRIEN, TIM                         HOWDY SKIES MUSIC                                    A                        PA0000859638
I LIKE TRAINS                             ELGERSMA, FRED                       CRITTER CITY MUSIC                                   O                        PA0000707119
I LOVE EVERYBODY                          KREKEL, TIM                          MIGHTY NICE MUSIC                                    O                        PA0001292947
I LOVE YOU IN THE MIDDLE                  ORENSTEIN, JENNIFER                  BASH MUSIC                                           O                        PA0001256249
I MADE HER BAD                            LOWRY, HAROLD MARSHALL               DREAM CITY MUSIC                                     A                       PAu0000140609
I MIGHT BE CHEAP, BUT I'M NOT BROKE       ROBERTS, RIK                         CLASHING PLAIDS                                      A                        PA0001237787
I MISS YOU                                BAIRD, ROB                           TILTAWHIRL MUSIC                                     A                        PA0001828095

I THINK I COULD LOVE YOU                  HUPP, DEBBIE / MORRISON, BOB SOUTHERN DAYS MUSIC                                          A                        PA0000081203
I THOUGHT YOU KNEW                        NAIL, DAVID                  SCRAMBLER MUSIC                                              A                        PA0001795591




                               Case 3:17-cv-01051 Document 41-1 Page
                                                                 Filed     11/01/17 Page 10 of 64 PageID #: 919
                                                                     9 of 63
                                                                            Exhibit A Musical Compositions

            Composition Title              Bluewater-Controlled Writer(s)           Bluewater-Controlled Publisher(s)    Own "O" / Administer "A"   Copyright Registration #
I WALK A CROOKED ROAD                    O'BRIEN, TIM                         CORNBREAD NATION                                      A                        PA0001645800

                                         MATHENY, LOGAN / MATHENY,
I WAS A FOOL                             SKIP / MATHENY, TIMSHEL   BILL AND MARY MUSIC, SCRAMBLER MUSIC                             A                        PA0001800196
I WAS FRAMED                             KNIGHT, CHRIS             BASH MUSIC                                                       O                        PA0000741056
                                                                   MIGHTY NICE MUSIC, DAYLONG DARK
I WILL WAIT                              YORK, KATE                PUBLISHING                                                     O&A                        PA0001352847
I WON'T LEAVE YOU ALONE                  KREKEL, TIM               TILTAWHIRL MUSIC, MIGHTY NICE MUSIC                            O&A                        PA0001747121
IF I COULD ONLY DANCE WITH YOU           MORRISON, BOB             SOUTHERN DAYS MUSIC                                             A                         PA0001295504
IF I WERE YOU                            KNIGHT, CHRIS             BASH MUSIC                                                      O                         PA0001088857
                                                                   CLASHING PLAIDS, LITTLE NANNY DICHOLS
IF I'M NOT FOR ME                        NICHOLS, DANIEL           MUSIC                                                            A                        PA0001985791
I'LL BE THERE                            KNIGHT, CHRIS             BASH MUSIC                                                       O                        PA0001749277
I'LL SING ABOUT MINE                     HOOD, ADAM                TILTAWHIRL MUSIC                                                 A                        PA0001808031

                                         WATKINS, JACK / MAYHEW,
I'M A COWARD                             AUBREY / PAYCHECK, JOHNNY            DREAM CITY MUSIC                                      A                       PAu0000109369
I'M FEELING FOR YOU BUT I CAN'T REACH
YOU                                      ADELMAN, KAY                         DREAM CITY MUSIC                                     A                         EU0000844339
I'M HAPPIEST WHEN I'M MOVIN'             LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                      O&A                        PA0001088667
I'M NOT GONNA FORGET YOU                 O'BRIEN, TIM                         HOWDY SKIES MUSIC                                    A                         PA0001002953
I'M STILL ALIVE                          ANDERSON, AL                         MIGHTY NICE MUSIC                                    O                         PA0001004109
                                                                              CLASHING PLAIDS, LITTLE NANNY DICHOLS
IM TIRTZU                                NICHOLS, DANIEL                      MUSIC                                                 A                        PA0001980546
                                         SAENZ, ARMANDO /
IN THE BACK OF YOUR MIND                 KIMBROUGH, WILL                      SCRAMBLER MUSIC, WILL KIMBROUGH MUSIC                 A                        PA0001768485
IN THE BLEAK MIDWINTER                   O'BRIEN, TIM                         HOWDY SKIES MUSIC                                     A                        PA0000924448
INDIANA ROAD                             ELGERSMA, FRED                       CRITTER CITY MUSIC                                    O                        PA0001852230

INTO THE BLUE                            JEDD, MICHAEL HUGHES                 BAMBATOWN PUBLISHING, TILTAWHIRL MUSIC                A                        PA0001682944
IRELAND'S GREEN SHORE                    O'BRIEN, TIM                         HOWDY SKIES MUSIC                                     A                        PA0001004789
IRRESISTABLE                             BILLY LIVSEY                         QUINCE MUSIC LTD.                                     A                        PA0000264390
IS IT FRIDAY YET                         BROWN, ROGER BRYANT                  MELODY ROUNDUP MUSIC LLC                              A                        PA0001927463
IS IT ONLY ME                            SCHLITZ, DON                         SCRAMBLER MUSIC                                       A                        PA0001310837

IT AIN'T HER LEAVIN                      WAYLAND, RICH                        STREET SINGER MUSIC, JOYOUS JINGLES INC.              A                        PA0001004182

IT CAME FROM SAN ANTONIO                 ROBISON, BRUCE                       TILTAWHIRL MUSIC, BRUCE ROBISON MUSIC                A                         PA0001596497
IT CAME FROM THE SOUTH                   ANDERSON, AL                         MIGHTY NICE MUSIC                                    O                         PA0000847601
IT CAME UPON A MIDNIGHT CLEAR            FORD, ERNEST                         TENNESSEE ERNIE FORD MUSIC                           A                         EU0000546496
IT DON'T BOTHER ME                       KREKEL, TIM                          TILTAWHIRL MUSIC, MIGHTY NICE MUSIC                 O&A                        PA0001747117
                                                                              TILTAWHIRL MUSIC, CROZIER MUSIC
IT TAKES A LOT                           JONES, TROY                          ENTERPRISE                                           A                         PA0001742563
IT WAS YOU                               ELGERSMA, FRED                       CRITTER CITY MUSIC                                   O                         PA0001281602
IT WAS YOU                               FISHER, DAVID                        BASH MUSIC, SHERIDAN SESSIONS                       O&A                        PA0001855771




                                Case 3:17-cv-01051 Document 41-1 Page
                                                                  Filed     11/01/17 Page 11 of 64 PageID #: 920
                                                                      10 of 63
                                                                         Exhibit A Musical Compositions

             Composition Title          Bluewater-Controlled Writer(s)              Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
IT WON'T BE MY FIRST, IT WON'T BE MY
LAST                                   TRICE, JAMES                        PLAID PAJAMAS MUSIC                                     A                        PA0001589599

IT WON'T STOP LOVIN' YOU               WAYLAND, RICH                       STREET SINGER MUSIC, JOYOUS JINGLES INC.                A                        PA0001004184
IT'S A MULLET                          ROBERTS, RIK                        CLASHING PLAIDS                                         A                        PA0001237787
IT'S SO OVER                           MILLER, ALAN                        TOTO TUNES, WINNING CIRCLE MUSIC INC.                   A                        PA0001197568
IT'S THE LIMIT                         JOSEPH, JOHN                        DREAM CITY MUSIC                                        A                        PA0000532445
IT'S TOO LATE                          HOOD, ADAM                          TILTAWHIRL MUSIC                                        A                        PA0001810214
I'VE EARNED THE RIGHT                  TRICE, JAMES                        PLAID PAJAMAS MUSIC                                     A                        PA0001589589
I'VE SEEN THIS MOVIE BEFORE            SMITH, ROBERT GERALD                MELODY ROUNDUP MUSIC LLC                                A                        PA0001910997
JERICHO                                ELGERSMA, FRED                      CRITTER CITY MUSIC                                      O                        PA0000956620
                                                                           STAIRWAY TO ELEVEN MUSIC, TILTAWHIRL
JET TRAILS IN THE SKY                  GRISSOM, DAVID                      MUSIC                                                   A                        PA0001658733
JOHN RILEY                             O'BRIEN, TIM                        HOWDY SKIES MUSIC                                       A                        PA0001004797
JOHNNY AND SALLY                       LINDSEY, MATT                       MATT LINDSEY MUSIC                                      A                        PA0001736416
JULIA                                  SAENZ, ARMANDO                      SCRAMBLER MUSIC                                         A                        PA0001295519
JUST A THOUGHT                         ANDERSON, AL                        MIGHTY NICE MUSIC                                       O                        PA0001753954
JUST DON'T TALK ABOUT LOVE             RESWICK, PAMELA                     CLASHING PLAIDS                                         A                        PA0003725114
JUST FOR THE LOVE OF IT                NEWTON, WOOD                        MIGHTY NICE MUSIC                                       O                        PA0000604900
KATY HILL                              GREGORY, CLINTON                    MELODY ROUNDUP MUSIC LLC                                A                        PA0001854226
KEEP COMING BACK                       TRICE, JAMES                        PLAID PAJAMAS MUSIC                                     A                        PA0001589598
KEEP OFF THE GRASS                     JOHNSON, WILLIAM                    DREAM CITY MUSIC                                        A                        PA0000526766

KEEP YOUR LAMP TRIMMED AND BURNIN'     O'BRIEN, TIM                        HOWDY SKIES MUSIC                                       A                        PA0001002953
                                                                           CLASHING PLAIDS, LITTLE NANNY DICHOLS
KEHILLAH KEDOSHAH                      NICHOLS, DANIEL                     MUSIC                                                   A                        PA0001991320
KELLY JOE'S SHOES                      O'BRIEN, TIM                        HOWDY SKIES MUSIC                                       A                        PA0001273598
KICK ME WHEN I'M DOWN                  O'BRIEN, TIM                        HOWDY SKIES MUSIC                                       A                        PA0000859637
                                                                           LITTLE NANNY DICHOLS MUSIC, CLASHING
KIDDUSH                                NICHOLS, DANIEL                     PLAIDS                                                  A                        PA0001981732
KISS ME BIG                            FORD, ERNEST                        TENNESSEE ERNIE FORD MUSIC                              A                        EU0000328763
                                                                           CLASHING PLAIDS, LITTLE NANNY DICHOLS
KOSHER BACON                           NICHOLS, DANIEL                     MUSIC                                                   A                        PA0001979085
                                                                           CLASHING PLAIDS, LITTLE NANNY DICHOLS
KUMI LACH                              NICHOLS, DANIEL                     MUSIC                                                   A                        PA0001987402
LAND'S END/CHASIN' TALON               O'BRIEN, TIM                        HOWDY SKIES MUSIC                                       A                        PA0001589584
LAST TIME AROUND                       BARNES, THOMAS D                    HARMONY ROUNDUP MUSIC LLC                               A                        PA0001854214

LAY IT DOWN                            RICHEY, KIM                         MIGHTY NICE MUSIC, WAIT NO MORE MUSIC                 O&A                        PA0000972138
                                                                           LITTLE NANNY DICHOLS MUSIC, CLASHING
LECHA DODI                             NICHOLS, DANIEL                     PLAIDS                                                  A                        PA0001981725
LECHE DE TIGRE                         GIACOMOTTO, OLIVIER                 QAP SONGS                                               A                           PENDING
LEMME COME BACK                        CROWLEY, J.C.                       MIGHTY NICE MUSIC                                       O                        PA0001395609
LESS AND LESS                          O'BRIEN, TIM                        HOWDY SKIES MUSIC                                       A                        PA0000998147




                              Case 3:17-cv-01051 Document 41-1 Page
                                                                Filed     11/01/17 Page 12 of 64 PageID #: 921
                                                                    11 of 63
                                                                        Exhibit A Musical Compositions

            Composition Title              Bluewater-Controlled Writer(s)          Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
                                         ACQUAVIVA, JOHN / DIAMOND,
                                         DANIEL / GIACOMOTTO,
LET IT GO (ORIGINAL DUB MIX)             OLIVIER                            QAP SONGS, QAP MUSIC                                  A                             PENDING
                                         ACQUAVIVA, JOHN / DIAMOND,
                                         DANIEL / GIACOMOTTO,
LET IT GO (RADIO MIX)                    OLIVIER                            QAP SONGS, QAP MUSIC                                  A                           PENDING
LET LOVE TAKE YOU BACK AGAIN             O'BRIEN, TIM                       HOWDY SKIES MUSIC                                     A                        PA0001273600
LET ME DOWN EASY                         BAIRD, ROB                         TILTAWHIRL MUSIC                                      A                        PA0001792389
LET THE FIRE BURN                        COPELAND, DREW                     TILTAWHIRL MUSIC                                      A                        PA0001783826
                                         MECKEL, NATHAN /
LIFE IS BEAUTIFUL                        MONTGOMERY, MELISSA                CLASHING PLAIDS, SPIN BOX MUSIC                       A                        PA0001653016
LIFE OF MY OWN                           CASSANOVA, ERIC                    DREAM CITY MUSIC                                      A                        PA0000532448

LIFELINE                                 ROBISON, BRUCE                     TILTAWHIRL MUSIC, BRUCE ROBISON MUSIC                A                         PA0001596506
LISA LEE                                 FLOWERS, DOUG                      MELODY ROUNDUP MUSIC LLC                             A                         PA0002002510
LITTLE BLOSSOM                           MOODY, CLYDE                       DREAM CITY MUSIC                                     A                         PA0000562848
LITTLE BUFFALO                           ELGERSMA, FRED                     CRITTER CITY MUSIC                                   O                         PA0000956612
LITTLE HOUSE ON THE HIGHWAY              HEMBY, NATALIE                     TILTAWHIRL MUSIC                                     A                         PA0001790919
LITTLE SADIE                             O'BRIEN, TIM                       HOWDY SKIES MUSIC                                    A                         PA0001002954
LIVE WITHOUT YOUR LOVE                   FISHER, DAVID                      BASH MUSIC, SHERIDAN SESSIONS                       O&A                        PA0001855761
LIVIN' OUT ON THE ROAD                   ELGERSMA, FRED                     CRITTER CITY MUSIC                                   O                         PA0001051649
LIVING HE LOVED ME                       MCCLURKIN, DONALD                  DON MAC MUSIC                                        A                         PA0000814216
LONELINESS IN LUCY'S EYES                COE, DAVID ALLAN                   CAPTIVE MUSIC                                        O                         PA0000280464
LONELY ROAD                              BAIRD, ROB                         TILTAWHIRL MUSIC                                     A                         PA0001792389
LONESOME JOHN                            O'BRIEN, TIM                       HOWDY SKIES MUSIC                                    A                         PA0000988288
LONG DISTANCE                            O'BRIEN, TIM                       HOWDY SKIES MUSIC                                    A                         PA0000758862
LONG WAY HOME FROM ANYWHERE              ROBISON, BRUCE                     TILTAWHIRL MUSIC                                     A                         PA0000977194
                                         MACRAE, FRED MALLETTE /
LOOK AT THE ONE                          WANDA MORRISON, BOB                SOUTHERN DAYS MUSIC                                  A                         PA0000077031
LOOK AT WHATCHA DONE                     SHAWE, DOUGLAS                     APOCALYPSO MUSIC                                     A                         PAU003627008
LOOK WHAT I FOUND                        SCHLITZ, DON                       SCRAMBLER MUSIC                                      A                         PA0001315454
LORD MCDONALD/CUMBERLAND GAP             O'BRIEN, TIM                       HOWDY SKIES MUSIC                                    A                         PA0001004799
LOSING AT LOVING                         SCHLITZ, DON                       SCRAMBLER MUSIC                                      A                         PA0001228784
LOST IN THE LONESOME PINES               LAUDERDALE, JIM                    LAUDERSONGS, MIGHTY NICE MUSIC                      O&A                        PA0001088655
LOST LITTLE CHILDREN                     O'BRIEN, TIM                       HOWDY SKIES MUSIC                                    A                         PA0001004795
LOUISE                                   BAIRD, ROB                         TILTAWHIRL MUSIC                                     A                         PA0001792387
                                         KNIGHT, CHRIS / ELGERSMA,
LOVE AND A .45                           FRED                               BASH MUSIC, CRITTER CITY MUSIC                        O                        PA0000741062
LOVE AND LAUGHTER                        O'BRIEN, TIM                       HOWDY SKIES MUSIC                                     A                        PA0000859640
                                         MACRAE, FRED / MORRISON,
LOVE BY LOVE                             BOB                                SOUTHERN DAYS MUSIC                                  A                         PA0000102924
LOVE DON'T CHANGE                        ANDERSON, AL                       BASH MUSIC                                           O                         PA0001076102
LOVE IN THE RUINS                        LAUDERDALE, JIM                    LAUDERSONGS, MIGHTY NICE MUSIC                      O&A                        PA0000925633
                                         MACRAE, FRED / MORRISON,
LOVE IS NEVER EASY                       BOB                                SOUTHERN DAYS MUSIC                                   A                        PA0000105460




                                Case 3:17-cv-01051 Document 41-1 Page
                                                                  Filed     11/01/17 Page 13 of 64 PageID #: 922
                                                                      12 of 63
                                                                           Exhibit A Musical Compositions

            Composition Title             Bluewater-Controlled Writer(s)           Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
                                                                             MELODY ROUNDUP MUSIC LLC, PLAYFUL
LOVE IS NOT A CRIME                      BROWN, ROGER BRYANT                 DUSKY MUSIC                                         A                         PA0001941113
LOVE IS PLEASIN'                         O'BRIEN, TIM                        HOWDY SKIES MUSIC                                   A                         PA0000859645
LOVE OR SOMETHING LIKE IT                FISHER, DAVID                       BASH MUSIC, SHERIDAN SESSIONS                      O&A                        PA0001838054
LOVE SLAVE                               KREKEL, TIM                         MIGHTY NICE MUSIC                                   O                         PA0000819453
LOVE SNUCK UP                            LAUDERDALE, JIM                     LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0000925634
                                         MORRISON, BOB / WILSON,
LOVE THE WORLD AWAY                      JOHNNY                              SOUTHERN DAYS MUSIC                                  A                        PA0000067262

LOVER I LOVE THE BEST                    JEDD, MICHAEL HUGHES                BAMBATOWN PUBLISHING, TILTAWHIRL MUSIC              A                         PA0001682947
LOVE'S REFUGEE                           ALFORD, KEN                         MIGHTY NICE MUSIC                                   O                         PA0000970400
LOVIN' YOU                               FISHER, DAVID                       BASH MUSIC, SHERIDAN SESSIONS                      O&A                        PA0001838049
LOVING YOU                               ANDERSON, AL                        MIGHTY NICE MUSIC                                   O                         PA0000763375

LOVING YOU IS THE ONLY WAY TO FLY        JEDD, MICHAEL HUGHES                BAMBATOWN PUBLISHING, TILTAWHIRL MUSIC               A                        PA0001790918
L'TAKEIN                                 NICHOLS, DANIEL                     CLASHING PLAIDS                                      A                        PA0001979084
LUCILLE                                  ELGERSMA, FRED                      CRITTER CITY MUSIC                                   O                        PA0000977099
                                         JAMES, JESSE STANSBERRY,
LUCKY LUCKY ME                           JEFF                                HARMONY ROUNDUP MUSIC LLC                            A                        PA0001796863
                                         CARUSOE, SCOOTER /
LUCKY MAN                                COLEHOUR, DAN                       SCRAMBLER MUSIC                                      A                        PA0001727468
                                                                             LITTLE NANNY DICHOLS MUSIC, CLASHING
MA'ARIV ARAVIM                           NICHOLS, DANIEL                     PLAIDS                                               A                        PA0001981736

MADALINE (MADELINE)                      ROBISON, BRUCE                      BRUCE ROBISON MUSIC, TILTAWHIRL MUSIC                A                        PA0000954979
MAKE YOUR PLAY                           ARKEEN, AARON WEST                  WEST ARKEEN MUSIC                                    A                        PA0000766962
MAKING PLANS                             O'BRIEN, TIM                        HOWDY SKIES MUSIC                                    A                        PA0001739777

MAN OF MOODS                             PAYNE, CECIL                        DREAM CITY MUSIC, CHARLIE PARKER MUSIC               A                        EU0000446253

MAN ON A MISSION                         LAWLER, MIKE / ANDERSON, AL         MIGHTY NICE MUSIC                                    O                        PA0000892949
MARIA                                    KNIGHT, CHRIS                       BASH MUSIC                                           O                        PA0001637469
MAYBE LOVE WILL SAVE THE DAY             JOHNSON, JODY                       DAN AND ADAM SONGS                                   A                        PA0001808046
ME AND THE MAN IN THE MOON               MORRISON, BOB                       SOUTHERN DAYS MUSIC                                  A                        PA0000421415

ME AND YOU                               RICHEY, KIM                         MIGHTY NICE MUSIC, WAIT NO MORE MUSIC              O&A                        PA0001117606
MEGNA'S                                  O'BRIEN, TIM                        CORNBREAD NATION                                    A                         PA0001645800
MELANCHOLY MOON                          O'BRIEN, TIM                        HOWDY SKIES MUSIC                                   A                         PA0000758863
MEMORY CROSSING                          LEE, LARRY                          DREAM CITY MUSIC                                    A                         PA0000372634
MEXICAN RADIO                            ALFORD, KEN                         MIGHTY NICE MUSIC                                   O                         PA0000970398
                                                                             LITTLE NANNY DICHOLS MUSIC, CLASHING
MI CHAMOCHA                              NICHOLS, DANIEL                     PLAIDS                                               A                        PA0001981723
MILLION DOLLAR MEMORIES                  COE, DAVID ALLAN                    SHOWFOR MUSIC                                        O                        PA0000008610
MINE ALL MINE                            CARLISLE, CLIFF                     DREAM CITY MUSIC                                     A                        EU0000800658

MISSTEP MAMBO (INTRO/MISSTEP MAMBO) TRICE, JAMES                             PLAID PAJAMAS MUSIC                                  A                        PA0001589589




                                Case 3:17-cv-01051 Document 41-1 Page
                                                                  Filed     11/01/17 Page 14 of 64 PageID #: 923
                                                                      13 of 63
                                                                            Exhibit A Musical Compositions

            Composition Title              Bluewater-Controlled Writer(s)             Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
MOLE IN THE GROUND                       O'BRIEN, TIM                         HOWDY SKIES MUSIC                                      A                        PA0000988289
MOOD RING                                MECKEL, NATHAN                       CLASHING PLAIDS                                        A                        PA0001653014
MOONLIGHT KISS                           MILLER, ALAN                         CLASHING PLAIDS                                        A                        PA0001679534
MOONLIGHT MADNESS                        MORRISON, BOB                        SOUTHERN DAYS MUSIC                                    A                        PA0001783055
MORE LOVE                                O'BRIEN, TIM                         HOWDY SKIES MUSIC                                      A                        PA0001002956
                                                                              LITTLE NANNY DICHOLS MUSIC, CLASHING
MOTZI                                    NICHOLS, DANIEL                      PLAIDS                                                 A                        PA0001981727
                                                                              STAIRWAY TO ELEVEN MUSIC, TILTAWHIRL
MOUTH OF THE DELTA                       GRISSOM, DAVID                       MUSIC                                                  A                        PA0001810218
MOVE ON                                  KNIGHT, CHRIS                        BASH MUSIC                                             O                        PA0001590075
                                         SAENZ, ARMANDO / HOOD,
MOVING MOUNTAINS                         ADAM                                 SCRAMBLER MUSIC, TILTAWHIRL MUSIC                      A                        PA0001759965

MY BABY NOW                              ROBISON, BRUCE                       TILTAWHIRL MUSIC, BRUCE ROBISON MUSIC                  A                        PA0001596520
MY CHAIR                                 HOOD, ADAM                           TILTAWHIRL MUSIC                                       A                        PA0002028637
MY DOWNFALL                              MECKEL, NATHAN                       CLASHING PLAIDS                                        A                        PA0001653014
                                         CARUSOE, SCOOTER /
MY FATHER'S SON                          COLEHOUR, DAN                        SCRAMBLER MUSIC                                        A                        PA0001050745
MY HEART TALKING                         COTTRELL, JEREMY                     MELODY ROUNDUP MUSIC LLC                               A                        PA0001854218
                                         FASCINATO, JACK / FORD,
MY JESUS I LOVE THEE                     ERNEST                               BAYSHORE MUSIC CORPORATION                            A                         EP0000155707
MY LAST SIX DOLLARS                      ELGERSMA, FRED                       CRITTER CITY MUSIC                                    O                         PA0000956614
MY OLD CARS                              KNIGHT, CHRIS                        BASH MUSIC                                            O                         PA0001665356
MY SOMEWHERE JUST GOT HERE               LAUDERDALE, JIM                      CRITTER CITY MUSIC, SKY-EYE MUSIC                    O&A                        PA0001642720
NANNA WAS A NASCAR DRIVER                ROBERTS, RIK                         CLASHING PLAIDS                                       A                         PA0001237787
NEED ME NO ONE                           COBB, BRENT                          TILTAWHIRL MUSIC                                      A                         PA0001971443
NEED YOUR LOVE                           GIANPASQUALE RINA                    QAP SONGS                                             A                            PENDING
NEED YOUR LOVE (OLIVIER GIACOMOTTO
REMIX)                                   GIANPASQUALE RINA                    QAP SONGS                                              A                             PENDING
                                         MECKEL, NATHAN /
NEW YEAR'S SUNRISE                       MONTGOMERY, MELISSA                  CLASHING PLAIDS, SPIN BOX MUSIC                        A                        PA0001653016
NEWGRANGE                                O'BRIEN, TIM                         HOWDY SKIES MUSIC                                      A                        PA0000924449
                                         KING, PEE WEE / STEWART,
NO ONE BUT YOU                           REDD                                 RIDGEWAY MUSIC COMPANY, INC.                          A                         RE0000041535
NO ONE CAN LOVE YOU MORE THAN ME         BILLY LIVSEY                         QUINCE MUSIC LTD.                                     A                         PA0000197274
NO ONE HAS TO TELL YOU                   LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                       O&A                        PA0000925624
NOBLE KINGS                              SAENZ, ARMANDO                       SCRAMBLER MUSIC                                       A                         PA0001295518
NOBODY HOME IN THE HOUSE OF THE
LORD                                     O'BRIEN, TIM                         HOWDY SKIES MUSIC                                      A                        PA0000844592
                                         FASCINATO, JACK / FORD,
NOBODY KNOWS THE TROUBLE I'VE SEEN       ERNEST                               BAYSHORE MUSIC CORPORATION                            A                         EU0000144202
NOBODY WANTS HER                         FISHER, DAVID                        BASH MUSIC, SHERIDAN SESSIONS                        O&A                        PA0001855758
NOBODY'S PERFECT                         LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                       O&A                        PA0000822654
NORTH DAKOTA                             KNIGHT, CHRIS                        BASH MUSIC                                            O                         PA0001088858
NOT THAT LONG                            LITTLE, HEATHER                      TILTAWHIRL MUSIC                                      A                         PA0001805495
NOTHING TO SAY                           O'BRIEN, TIM                         CORNBREAD NATION                                      A                         PA0001645798




                                Case 3:17-cv-01051 Document 41-1 Page
                                                                  Filed     11/01/17 Page 15 of 64 PageID #: 924
                                                                      14 of 63
                                                                           Exhibit A Musical Compositions

            Composition Title             Bluewater-Controlled Writer(s)              Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
                                         TATE, SAM / WRIGHT,
NOW THAT YOU MET MOLLY                   KATHLEEN                            GRAVITRON MUSIC                                         A                        PA0001237228
                                                                             LITTLE NANNY DICHOLS MUSIC, CLASHING
NOW WE ARE FREE                          NICHOLS, DANIEL                     PLAIDS                                                  A                        PA0001981698
NOWHERE THAN SOMEWHERE                   RODGERS, BRENT                      SCRAMBLER MUSIC                                         A                        PA0001632317
O HOLY NIGHT                             FORD, ERNEST                        TENNESSEE ERNIE FORD MUSIC                              A                        EU0000546493
                                         FORD, ERNEST / FASCINATO,           TENNESSEE ERNIE FORD MUSIC, BAYSHORE
O LITTLE TOWN OF BETHLEHEM               JACK                                MUSIC CORPORATION                                       A                        EU0000269107
                                         FASCINATO, JACK / FORD,
O MARY DON'T YOU WEEP                    ERNEST                              BAYSHORE MUSIC CORPORATION                              A                        EP0000144205
OIL & WATER                              MECKEL, NATHAN                      TOTO TUNES                                              A                        PA0001075011
OLD PAINT                                FLYNN, JOHN                         FLYING STONE MUSIC, SCRAMBLER MUSIC                     A                        PA0000957638
ON THE OUTSIDE LOOKING IN                O'BRIEN, TIM                        HOWDY SKIES MUSIC                                       A                        PA0001273603
ONCE BURNED                              ELGERSMA, FRED                      CRITTER CITY MUSIC                                      O                        PA0001281598
                                         MECKEL, MARK / SELBY,
ONE                                      MONTE                               STREET SINGER MUSIC                                    A                         PA0001228949
ONE BORN EVERY MINUTE                    SELBY, MONTE                        STREET SINGER MUSIC                                    A                         PA0001114156
ONE DROP OF RAIN                         O'BRIEN, TIM                        HOWDY SKIES MUSIC                                      A                         PA0000859646
ONE GIRL CRIED                           O'BRIEN, TIM                        HOWDY SKIES MUSIC                                      A                         PA0000758864
ONE LOVE                                 ANDERSON, AL                        MIGHTY NICE MUSIC, AL ANDERSONGS                      O&A                        PA0001004110
ONE MORE BEER                            TRICE, JAMES                        PLAID PAJAMAS MUSIC                                    A                         PA0001589593

                                         MATHENY, LOGAN / MATHENY,
ONE MORE ROAD                            SKIP / MATHENY, TIMSHEL   BILL AND MARY MUSIC, SCRAMBLER MUSIC                              A                        PA0001849210
                                                                   CROZIER MUSIC ENTERPRISE, TILTAWHIRL
ONE WAY TICKET                           JONES, TROY               MUSIC                                                            A                         PA0001768861
ONWARD THROUGH IT ALL                    LAUDERDALE, JIM           LAUDERSONGS, MIGHTY NICE MUSIC                                  O&A                        PA0000969676
ORDINARY PEOPLE                          FISHER, DAVID             BASH MUSIC, SHERIDAN SESSIONS                                   O&A                        PA0001838051
                                                                   LITTLE NANNY DICHOLS MUSIC, CLASHING
OSEH SHALOM                              NICHOLS, DANIEL           PLAIDS                                                           A                         PA0001981726
OUCH                                     ANDERSON, AL              MIGHTY NICE MUSIC, AL ANDERSONGS                                O&A                        PA0000957636
OUR LOVE                                 BILLY LIVSEY              QUINCE MUSIC LTD.                                                A                         PA0000154576
OUT IN THE DARKNESS                      O'BRIEN, TIM              HOWDY SKIES MUSIC                                                A                         PA0000758865
OUT ON THE ROLLING SEA                   O'BRIEN, TIM              HOWDY SKIES MUSIC                                                A                         PA0000859636
OUT THERE                                MORRISON, BOB             SOUTHERN DAYS MUSIC                                              A                         PA0001295508
OUTSIDE IN A BOX                         JOHNSON, JOHN Q.          QAP SONGS                                                        A                            PENDING
OUTSIDE IN A BOX (OLIVIER GIACOMOTTO
REMIX)                                   JOHNSON, JOHN Q.                    QAP SONGS                                               A                           PENDING
OVERNIGHT                                HEMBY, NATALIE                      TILTAWHIRL MUSIC                                        A                        PA0001712440
OVERTIME                                 SMITH, ROBERT GERALD                MELODY ROUNDUP MUSIC LLC                                A                        PA0001649094

PARKER'S SPIRITUS                        PAYNE, CECIL               DREAM CITY MUSIC, CHARLIE PARKER MUSIC                           A                        EU0000745557
PEER PRESSURE                            SELBY, MONTE               STREET SINGER MUSIC                                              A                        PA0001011438
                                         FARIS ARMSTRONG, ELISABETH
PENTHOUSE BITCH                          CIRELLI                    QAP SONGS                                                        A                             PENDING




                                Case 3:17-cv-01051 Document 41-1 Page
                                                                  Filed     11/01/17 Page 16 of 64 PageID #: 925
                                                                      15 of 63
                                                                             Exhibit A Musical Compositions

             Composition Title              Bluewater-Controlled Writer(s)              Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
                                          CORBIN, ANDRE / FERREIRA,
                                          FRANK / ABARCA, GERALD /
                                          BARRAGAN, LARRY / RIVERA,
PERSEVERANCE AND DESPERATION              JAMES                                BASH MUSIC                                              O                        PA0000454555
PHANTOM PHONE CALL                        O'BRIEN, TIM                         CORNBREAD NATION                                        A                        PA0001645798
PITTSBURGH                                SAENZ, ARMANDO                       SCRAMBLER MUSIC                                         A                        PA0001768495
POCKET OF RED                             SAENZ, ARMANDO                       SCRAMBLER MUSIC                                         A                        PA0001768494
PONTIAC                                   ELGERSMA, FRED                       CRITTER CITY MUSIC                                      O                        PA0000885735
PRETTIEST GIRL AT THE DANCE               COPELAND, DREW                       TILTAWHIRL MUSIC                                        A                        PA0001911102
PRETTY GOOD SHAPE                         SMITH, ROBERT GERALD                 MELODY ROUNDUP MUSIC LLC                                A                        PA0001733140
PRIZE FIGHT LOVER SOUL AUCTIONEER         BRANTLEY, RICK                       SCRAMBLER MUSIC                                         A                        PA0001825005
PSALM 151                                 SCHLITZ, DON                         SCRAMBLER MUSIC                                         A                        PA0001292950
                                                                               LITTLE NANNY DICHOLS MUSIC, CLASHING
PSALM 23                                  NICHOLS, DANIEL                      PLAIDS                                                  A                        PA0001981699
PURE                                      NICHOLS, DANIEL                      CLASHING PLAIDS                                         A                        PA0001981699
PUSSY WHIPPED AGAIN                       COE, DAVID ALLAN                     DAVID ALLAN COE MUSIC                                   O                        PA0000114762
PUT THE TRUTH AWAY                        LITTLE, HEATHER                      TILTAWHIRL MUSIC                                        A                        PA0001805498
PUT YOUR TRUST                            CROWLEY, J.C.                        MIGHTY NICE MUSIC                                       O                        PA0000191102

RADIO LOVE                                JEDD, MICHAEL HUGHES                 BAMBATOWN PUBLISHING, TILTAWHIRL MUSIC                  A                        PA0001700622
RAIN OR SHINE                             BILLY LIVSEY                         QUINCE MUSIC LTD.                                       A                        PA0000472649
RALEIGH AND SPENCER                       O'BRIEN, TIM                         HOWDY SKIES MUSIC                                       A                        PA0000988290
                                          WHITTERS, HAILEY / WRIGHT,           SCRAMBLER MUSIC, CASA DE CASA MUSIC,
REAL THING                                ADAM                                 TILTAWHIRL MUSIC                                        A                        PA0002028072
                                          FASCINATO, JACK / FORD,
REBEL SOLDIER                             ERNEST                               BAYSHORE MUSIC CORPORATION                              A                         EP0000154154
                                                                               MELODY ROUNDUP MUSIC LLC, SONGS OF
RECKLESS KIND                             WADE, ROGER ALAN                     CHANDESSICA                                             A                        PA0001844384
RECKLESSLY BROKEN                         CARUSOE, SCOOTER                     SCRAMBLER MUSIC                                         A                        PA0001807286
RED DOG IN THE MORNING                    O'BRIEN, TIM                         CORNBREAD NATION                                        A                        PA0001645798

REHAB                                     HUGHES, JEDD MICHAEL                 BAMBATOWN PUBLISHING, TILTAWHIRL MUSIC                  A                        PA0001768861
RESTLESS SPIRIT WANDERING                 O'BRIEN, TIM                         HOWDY SKIES MUSIC                                       A                        PA0001273601
RIVER OF BLOOD                            O'BRIEN, TIM                         HOWDY SKIES MUSIC                                       A                        PA0000859634
RIVER ROAD                                KNIGHT, CHRIS                        BASH MUSIC                                              O                        PA0001595997
ROCKIN' LITTLE CHRISTMAS                  ANDERSON, AL                         MIGHTY NICE MUSIC                                       O                        PA0000738908
ROD MCNEIL                                O'BRIEN, TIM                         HOWDY SKIES MUSIC                                       A                        PA0001004798
RODEO BOY                                 ELGERSMA, FRED                       CRITTER CITY MUSIC                                      O                        PA0000969657
RODEO ROSE                                ELGERSMA, FRED                       CRITTER CITY MUSIC                                      O                        PA0000956618
ROMANCE IS A SLOW DANCE                   O'BRIEN, TIM                         HOWDY SKIES MUSIC                                       A                        PA0000588122
ROUGH EDGES                               ELGERSMA, FRED                       CRITTER CITY MUSIC                                      O                        PA0000956615
                                          SMITH, ROBERT GERALD /
                                          FLOWERS, DOUG / GREGORY,
RUN WILLIE RUN                            CLINTON                              MELODY ROUNDUP MUSIC LLC                                A                        PA0002002511
RUNNING AWAY                              BAIRD, ROB                           TILTAWHIRL MUSIC                                        A                        PA0001792388
RUSTY STEEPLE                             SAENZ, ARMANDO                       SCRAMBLER MUSIC                                         A                        PA0001295518




                                 Case 3:17-cv-01051 Document 41-1 Page
                                                                   Filed     11/01/17 Page 17 of 64 PageID #: 926
                                                                       16 of 63
                                                                              Exhibit A Musical Compositions

              Composition Title              Bluewater-Controlled Writer(s)            Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
SAFE IN YOUR ARMS                          O'BRIEN, TIM                         CORNBREAD NATION                                      A                        PA0001666743
SAINT FRANCIS                              PETERS, GRETCHEN                     CIRCUS GIRL MUSIC                                     A                        PA0001821705
SAY GOODBYE                                BAIRD, ROB                           TILTAWHIRL MUSIC                                      A                        PA0001792390
SAY IT ISN'T SO                            ANDERSON, AL                         MIGHTY NICE MUSIC                                     O                        PA0000870506
SECRETARY                                  SELBY, MONTE                         STREET SINGER MUSIC                                   A                        PA0001270819
                                           BUCKLEY, ROB FLANAGAN,
SEE THE SIGNS                              HARLEY FRANCIS                       DREAM CITY MUSIC                                      A                       PAu0001686146
SEVEN DOLLARS                              SAENZ, ARMANDO                       SCRAMBLER MUSIC                                       A                        PA0001768495
SEVEN SHELLS                               ELGERSMA, FRED                       CRITTER CITY MUSIC                                    O                        PA0000885730
SEVEN SHELLS (CRASH)                       ELGERSMA, FRED                       CRITTER CITY MUSIC                                    O                        PA0000855741
SEVEN YEAR RAIN                            LITTLE, HEATHER                      TILTAWHIRL MUSIC                                      A                        PA0001917876
SHAKE THAT THANG                           IRWIN, MARK                          SCRAMBLER MUSIC                                       A                        PA0001766019
SHARECROPPIN'                              ELGERSMA, FRED                       CRITTER CITY MUSIC                                    O                        PA0000956616
SHE'S A BLESSING                           TRICE, JAMES                         PLAID PAJAMAS MUSIC                                   A                        PA0001589589
SHE'S RUNNIN' AWAY                         O'BRIEN, TIM                         HOWDY SKIES MUSIC                                     A                        PA0000758867
SHE'S TROUBLE                              BILLY LIVSEY                         QUINCE MUSIC LTD.                                     A                        PA0000182982
                                           MACRAE, FRED / MORRISON,
SHINE ALL YOUR SWEET LOVE ON ME            BOB                                  SOUTHERN DAYS MUSIC                                   A                        PA0000116818
SHINE SHINE ON ME                          CARLISLE, CLIFF                      DREAM CITY MUSIC                                      A                        EU0000800660
                                           FLANAGAN, HARLEY FRANCIS
SHOW YOU NO MERCY                          JOSEPH, JOHN                         DREAM CITY MUSIC                                     A                         PA0000532441
SHOWING ALL THE SIGNS                      LAUDERDALE, JIM                      MIGHTY NICE MUSIC, LAUDERSONGS                      O&A                        PA0000925626
SHUT THE DUCK UP                           SMITH, ROBERT GERALD                 MELODY ROUNDUP MUSIC LLC                             A                         PA0001733138
                                           FLANAGAN, HARLEY FRANCIS
SIGNS OF THE TIMES                         JOSEPH, JOHN                         DREAM CITY MUSIC                                      A                        PA0000532449
                                                                                CLASHING PLAIDS, LITTLE NANNY DICHOLS
SIM SHALOM                                 NICHOLS, DANIEL                      MUSIC                                                 A                        PA0001978847
SING WE NOW OF CHRISTMAS                   FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                            A                        EU0000896007
SING YOU BACK TO ME                        ARATA, TONY                          MAYCOMB COUNTY MUSIC                                  A                        PA0001741335
SMALL MOTORS                               ELGERSMA, FRED                       CRITTER CITY MUSIC                                    O                        PA0001157339
SMILE                                      MURPHY, TARYN                        PLAID PAJAMAS MUSIC                                   A                        PA0001782246
SMILE ON MY FACE                           BUCHANAN, PAT                        CRITTER CITY MUSIC                                    O                        PA0001114161
SMILES AT THE DOOR                         SAENZ, ARMANDO                       SCRAMBLER MUSIC                                       A                        PA0001910950
SNOW GLOBE WORLD                           COPELAND, DREW                       TILTAWHIRL MUSIC                                      A                        PA0001783836
                                                                                MIGHTY NICE MUSIC, DAYLONG DARK
SO LONG                                    YORK, KATE                           PUBLISHING                                          O&A                        PA0001352842
                                           JOHN ACQUAVIVA / OLIVIER
SOFA KING (THE ITALIAN CUT)                GIACOMOTTO                           QAP SONGS, QAP MUSIC                                  A                             PENDING
                                           HYLER, TAMMY / KNUTSON,
SOME REAL GOOD PEOPLE                      DENNIS                               MELODY ROUNDUP MUSIC LLC                              A                       PAu0003724424

SOME THINGS ARE JUST TOO GOOD TO LAST      LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                      O&A                        PA0000822653
SOME THINGS YOU CAN'T GO BACK TO           HEMBY, NATALIE                       TILTAWHIRL MUSIC                                     A                         PA0001819181
SOMEONE WAITING                            MECKEL, NATHAN                       TOTO TUNES                                           A                         PA0001814577
SOMETHING I WANT                           FISHER, DAVID                        BASH MUSIC, SHERIDAN SESSIONS                       O&A                        PA0001855767
SOMETHING'S ABOUT TO HAPPEN                LAUDERDALE, JIM                      MIGHTY NICE MUSIC, LAUDERSONGS                      O&A                        PA0001059944




                                  Case 3:17-cv-01051 Document 41-1 Page
                                                                    Filed     11/01/17 Page 18 of 64 PageID #: 927
                                                                        17 of 63
                                                                           Exhibit A Musical Compositions

            Composition Title             Bluewater-Controlled Writer(s)            Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
SOMETIMES I WISH                         HEMBY, NATALIE                      TILTAWHIRL MUSIC                                      A                        PA0001682823
SON OF A REBEL SON                       COE, DAVID ALLAN                    DAVID ALLAN COE MUSIC                                 O                        PA0000179599
SONG OF THE LAND                         MORRISON, BOB                       SOUTHERN DAYS MUSIC                                   A                        PA0000759403

                                         MATHENY, LOGAN / MATHENY,
SONNET 46                                SKIP / MATHENY, TIMSHEL             BILL AND MARY MUSIC, SCRAMBLER MUSIC                  A                        PA0001800199
SORRY YOU LEFT ME                        ELGERSMA, FRED                      CRITTER CITY MUSIC                                    O                        PA0001852232
SOUND OF MY HEART                        LITTLE, HEATHER                     TILTAWHIRL MUSIC                                      A                        PA0001805501
SPEEDING TRAIN                           KNIGHT, CHRIS                       BASH MUSIC                                            O                        PA0001749278
SPIKE DRIVING BLUES                      KNIGHT, CHRIS                       BASH MUSIC                                            O                        PA0001590072
SPOOKIN' THE HORSES                      ELGERSMA, FRED                      CRITTER CITY MUSIC                                    O                        PA0000885736
STARS IN THEIR EYES                      ELLIOT, MARK                        MIGHTY NICE MUSIC                                     O                        PA0001293292

                                         MATHENY, LOGAN / MATHENY,
STARTING FROM SCRATCH                    SKIP / MATHENY, TIMSHEL             BILL AND MARY MUSIC, SCRAMBLER MUSIC                  A                        PA0001800197
STARTING OVER                            REYNOLDS, BRAD                      BASH MUSIC                                            O                        PA0001743413
                                         TROJANOWSKI, MARK /
STAY A WHILE                             COPELAND, DREW                      TILTAWHIRL MUSIC                                     A                         PA0001783831
STAY AWHILE                              FISHER, DAVID                       BASH MUSIC, SHERIDAN SESSIONS                       O&A                        PA0001855764
                                         FASCINATO, JACK / FORD,
STEAL AWAY                               ERNEST                              BAYSHORE MUSIC CORPORATION                           A                         EP0000144197
STEEL GUITAR                             ELGERSMA, FRED                      CRITTER CITY MUSIC                                   O                         PA0000969653
STILL I WALK ON                          MECKEL, NATHAN                      CLASHING PLAIDS                                      A                         PA0001653016
STIR ME UP INSIDE                        KREKEL, TIM                         TILTAWHIRL MUSIC, MIGHTY NICE MUSIC                 O&A                        PA0001747117

STOP AND LISTEN                          PAYNE, CECIL                        DREAM CITY MUSIC, CHARLIE PARKER MUSIC               A                         EU0000673176
STORY OF MY LIFE                         FISHER, DAVID                       BASH MUSIC, SHERIDAN SESSIONS                       O&A                        PA0001855763

                                         CASSANOVA, ERIC FLANAGAN,
STREET JUSTICE                           HARLEY FRANCIS                      DREAM CITY MUSIC                                      A                        PA0000532443
                                                                             CLASHING PLAIDS, WINNING CIRCLE MUSIC
STUBBORN                                 MACK, WILLIE                        INC.                                                  A                        PA0001340266
SUBURBIA '58                             KNOX, SANDY                         BASH MUSIC                                            O                        PA0000925357
SUMMERLEA                                ELGERSMA, FRED                      CRITTER CITY MUSIC                                    O                        PA0000956613
SUNRISE                                  SELBY, MONTE                        STREET SINGER MUSIC                                   A                        PA0001228991
                                                                             LITTLE NANNY DICHOLS MUSIC, CLASHING
SWEET AS HONEY SUMMER REMIX              NICHOLS, DANIEL                     PLAIDS                                                A                        PA0001981704
SWEET BY AND BY                          COBB, BRENT                         TILTAWHIRL MUSIC                                      A                        PA0002051137
                                         CORBIN, ANDRE / FERREIRA,
                                         FRANK / ABARCA, GERALD /
                                         BARRAGAN, LARRY / RIVERA,
SWIRLING MADNESS                         JAMES                               BASH MUSIC                                            O                        PA0000454563
SYSTEM ADDICT                            BILLY LIVSEY                        QUINCE MUSIC LTD.                                     A                        PA0000291841
                                         JESUS GUTIERREZ LOPEZ /
TAKE BACK                                ALEJANDRO CASES PEREZ               QAP SONGS                                             A                           PENDING
TAKE IT ALL AWAY                         ELGERSMA, FRED                      CRITTER CITY MUSIC                                    O                        PA0001852235




                                Case 3:17-cv-01051 Document 41-1 Page
                                                                  Filed     11/01/17 Page 19 of 64 PageID #: 928
                                                                      18 of 63
                                                                             Exhibit A Musical Compositions

             Composition Title              Bluewater-Controlled Writer(s)            Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
TAKE NO PRISONERS                         LIVSEY, BILLY                        QUINCE MUSIC LTD.                                     A                        PA0000258476
TAKIN' MY TIME                            O'BRIEN, TIM                         HOWDY SKIES MUSIC                                     A                        PA0001227295
                                                                               CLASHING PLAIDS, WINNING CIRCLE MUSIC
TAKING THE WHEEL                          MILLER, ALAN                         INC.                                                  A                        PA0001340267
TANGENTIAL MIND SLAP                      SELBY, MONTE                         STREET SINGER MUSIC                                   A                        PA0001596465
TEMPEST OF A JEALOUS LOVE                 O'BRIEN, TIM                         HOWDY SKIES MUSIC                                     A                        PA0001000939
TEN TON CHAIN                             ELGERSMA, FRED                       CRITTER CITY MUSIC                                    O                        PA0000969659
THE ANGEL OF THE LORD                     ELGERSMA, FRED                       CRITTER CITY MUSIC                                    O                        PA0000885740
THE ANSWER                                ARATA, TONY                          DAN AND ADAM SONGS                                    A                        PA0001916274

THE COAT                                  HUGHES, JEDD MICHAEL                 BAMBATOWN PUBLISHING, TILTAWHIRL MUSIC                A                        PA0001768861
                                          CORBIN, ANDRE / FERREIRA,
                                          FRANK / ABARCA, GERALD /
                                          BARRAGAN, LARRY / RIVERA,
THE CURSE HAS PASSED AWAY                 JAMES                                BASH MUSIC                                           O                         PA0000454560
THE DOOR                                  HEMBY, NATALIE                       TILTAWHIRL MUSIC                                     A                         PA0001794394
THE DOT                                   REYNOLDS, PETER                      CLASHING PLAIDS                                      A                         PA0002033764
THE DRAGON                                SCHWARTZ, EDWARD S.                  HIGH FRONTIER MUSIC                                  A                         PA0000492179
THE DREAM                                 BILLY LIVSEY                         QUINCE MUSIC LTD.                                    A                         PA0000258454
THE FIGHT                                 HEMBY, NATALIE                       TILTAWHIRL MUSIC                                     A                         PA0001756003
THE GOOD-BYE SONG                         LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                      O&A                        PA0000799192
THE GREAT ESCAPE                          COPELAND, DREW                       TILTAWHIRL MUSIC                                     A                         PA0001783836
THE HIGHWAY CALLIN'                       ELGERSMA, FRED                       CRITTER CITY MUSIC                                   O                         PA0000956606
THE HUNGER                                ARATA, TONY                          MAYCOMB COUNTY MUSIC                                 A                         PA0001321264
                                                                               CROZIER MUSIC ENTERPRISE, TILTAWHIRL
THE JOURNEY OF YOUR LIFE                  JONES, TROY                          MUSIC                                                 A                        PA0001761855
THE LAST GOODBYE                          CROWLEY, J.C.                        MIGHTY NICE MUSIC                                     O                        PA0000120109
THE LIES THAT BIND                        LAUDERDALE, JIM                      MIGHTY NICE MUSIC                                     O                        PA0000925623
                                          CARUSOE, SCOOTER /
THE LIKES OF US                           COLEHOUR, DAN                        SCRAMBLER MUSIC                                       A                        PA0001727471
THE MARLBORO MAN                          SMITH, ROBERT GERALD                 MELODY ROUNDUP MUSIC LLC                              A                        PA0001649098
THE NEXT BEST THING                       WAY, PATTY                           MIGHTY NICE MUSIC                                     O                        PA0000925629
THE OLD JOHN DEERE (JOHN DEERE)           ELGERSMA, FRED                       CRITTER CITY MUSIC                                    O                        PA0001051653
THE ONLY WAY TO NEVER HURT                O'BRIEN, TIM                         CORNBREAD NATION                                      A                        PA0001666734
                                          TATE, SAM / WRIGHT,
THE RIVER JUST KNOWS                      KATHLEEN                             GRAVITRON MUSIC                                      A                         PA0001687190
THE ROAD                                  COPELAND, DREW                       TILTAWHIRL MUSIC                                     A                         PA0001783836
THE SADDEST SONG                          COPELAND, DREW                       TILTAWHIRL MUSIC                                     A                         PA0001783836
THE SEVENTH DIRECTION                     NEWTON, WOOD                         MIGHTY NICE MUSIC                                    O                         PA0000536537
THE SHAPE OF THINGS                       HOOD, ADAM                           TILTAWHIRL MUSIC                                     A                         PA0001783887
THE SODA MACHINE                          ELGERSMA, FRED                       CRITTER CITY MUSIC                                   O                         PA0000707122
THE TEAM FROM COOPERSTOWN                 COLEMAN, PHILLIP                     GRAVITRON MUSIC                                      A                         PA0003513578
THE TOWN OF CLARKSON                      ELGERSMA, FRED                       CRITTER CITY MUSIC                                   O                         PA0001281601
THE WANTIN', NOT THE GETTIN'              ANDERSON, AL                         MIGHTY NICE MUSIC, AL ANDERSONGS                    O&A                        PA0001030747
                                          FASCINATO, JACK / FORD,
THE WHY AND WHEREFORE                     ERNEST                               BAYSHORE MUSIC CORPORATION                            A                         EP0000154151




                                 Case 3:17-cv-01051 Document 41-1 Page
                                                                   Filed     11/01/17 Page 20 of 64 PageID #: 929
                                                                       19 of 63
                                                                            Exhibit A Musical Compositions

            Composition Title              Bluewater-Controlled Writer(s)           Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
THE WOMAN ON YOUR MIND                   SAENZ, ARMANDO                       SCRAMBLER MUSIC                                      A                        PA0002051072
THE WRITING ON THE WALL                  ANDERSON, AL                         MIGHTY NICE MUSIC                                    O                        PA0000763374
                                         CURRY, LANHAM JENNIFER /
THE YELLOW DRESS                         TRICE, JAMES                         PLAID PAJAMAS MUSIC                                 A                         PA0001589594
THERE AND BACK AGAIN                     LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0001088674
THERE ARE COLORS                         COTTRELL, JEREMY                     MELODY ROUNDUP MUSIC LLC                            A                         PA0001805229
THERE'S NO EASY WAY TO DIE               MAYHEW, AUBREY                       DREAM CITY MUSIC                                    A                        PAu0000087371
THEY BURIED WILSON PICKETT               KREKEL, TIM                          TILTAWHIRL MUSIC, MIGHTY NICE MUSIC                O&A                        PA0001747121
THEY DON'T MAKE 'EM LIKE YOU             SAENZ, ARMANDO                       SCRAMBLER MUSIC                                     A                         PA0001910944

                                         MATHENY, LOGAN / MATHENY,
THEY SAY                                 SKIP / MATHENY, TIMSHEL              BILL AND MARY MUSIC, SCRAMBLER MUSIC                 A                        PA0001800198
THINK ABOUT LAST NIGHT                   O'BRIEN, TIM                         HOWDY SKIES MUSIC                                    A                        PA0000859641
THINKIN' BOUT YOU                        ELGERSMA, FRED                       CRITTER CITY MUSIC                                   O                        PA0000885732
THIRTY YEARS OF FARMING                  ELGERSMA, FRED                       CRITTER CITY MUSIC                                   O                        PA0000956608
THIS CROOKED ROAD                        KNIGHT, CHRIS                        BASH MUSIC                                           O                        PA0001665361
THIS TIME                                COLEHOUR, DAN                        SCRAMBLER MUSIC                                      A                        PA0001727469
THIS TIME AROUND                         NAIL, DAVID                          SCRAMBLER MUSIC                                      A                        PA0001741676
THIS WORLD WAS MADE FOR EVERYONE         O'BRIEN, TIM                         CORNBREAD NATION                                     A                        PA0001645798
THREE TIME LOSER                         SAMUELS, LEONARD DAVID               DREAM CITY MUSIC                                     A                        EU0000760071
                                                                              ABBOTTS CREEK MUSIC, SCRAMBLER MUSIC,
                                         CARUSOE, SCOOTER / JONES,            TILTAWHIRL MUSIC, CROZIER MUSIC
TIGHTER GRIP                             TROY                                 ENTERPRISE                                           A                        PA0001858767
TILL MY LEAVIN'S THROUGH                 KNIGHT, CHRIS                        BASH MUSIC                                           O                        PA0001749279
TIME TO LEARN                            O'BRIEN, TIM                         HOWDY SKIES MUSIC                                    A                        PA0000830606
                                                                              SCRAMBLER MUSIC, ABBOTTS CREEK MUSIC
TIME WELL SPENT                          CARUSOE, SCOOTER                     TWO                                                 A                         PA0002003849
TIRADITO                                 GIACOMOTTO, OLIVIER                  QAP SONGS                                           A                            PENDING
TO BE WANTED                             ANDERSON, AL                         MIGHTY NICE MUSIC, AL ANDERSONGS                   O&A                        PA0000953693
TO CATCH THEM WHEN THEY FALL             SELBY, MONTE                         STREET SINGER MUSIC                                 A                         PA0001114156
                                         CORBIN, ANDRE / FERREIRA,
                                         FRANK / ABARCA, GERALD /
                                         BARRAGAN, LARRY / RIVERA,
TO SLEEP, PERCHANCE TO SCREAM            JAMES                                BASH MUSIC                                           O                        PA0000454558
TOO COOL 4 SKOOL (JOHN ACQUAVIVA /       JOHN ACQUAVIVA / OLIVIER
OLIVIER GIACOMOTTO REMIX)                GIACOMOTTO / JOHN BERRY              QAP SONGS, QAP MUSIC                                A                            PENDING
TOO MUCH                                 FISHER, DAVID                        BASH MUSIC, SHERIDAN SESSIONS                      O&A                        PA0001838047
                                         MECKEL, NATHAN /
TORN BETWEEN                             MONTGOMERY, MELISSA                  CLASHING PLAIDS, SPIN BOX MUSIC                      A                        PA0001653015
                                                                              LITTLE NANNY DICHOLS MUSIC, CLASHING
TOV L'HODOT                              NICHOLS, DANIEL                      PLAIDS                                               A                        PA0001981708
TOWN DRUNK                               HEMBY, NATALIE                       TILTAWHIRL MUSIC                                     A                        PA0001849214

TRAINWRECK                               HUGHES, JEDD MICHAEL                 BAMBATOWN PUBLISHING, TILTAWHIRL MUSIC               A                        PA0001920037
TRUTH LIKE A BANDIT                      ALFORD, KEN                          MIGHTY NICE MUSIC                                    O                        PA0000970404
TURN THE PAGE AGAIN                      O'BRIEN, TIM                         HOWDY SKIES MUSIC                                    A                        PA0001273599




                                Case 3:17-cv-01051 Document 41-1 Page
                                                                  Filed     11/01/17 Page 21 of 64 PageID #: 930
                                                                      20 of 63
                                                                    Exhibit A Musical Compositions

           Composition Title           Bluewater-Controlled Writer(s)           Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
TWO WRONGS                           SCHWARTZ, EDWARD S.                HIGH FRONTIER MUSIC                                    A                        PA0000390964
UNCERTAIN TERMS (UNCERTAIN TURNS)    TRICE, JAMES                       PLAID PAJAMAS MUSIC                                    A                        PA0001589589
UNCLE HERMAN'S TAXIDERMY             SMITH, ROBERT GERALD               MELODY ROUNDUP MUSIC LLC                               A                        PA0001733142
UNDER THE HOOD                       ANDERSON, AL                       MIGHTY NICE MUSIC                                      O                        PA0000847605
VALENTINE                            ROBISON, BRUCE                     TILTAWHIRL MUSIC                                       A                        PA0001064885
                                     FLANAGAN, HARLEY FRANCIS /         DREAM CITY MUSIC, PARRIS MAYHEW
VICTIMS                              MAYHEW, PARRIS                     PUBLISHING                                             A                       PAu0001686148
VIRGINIA BLUEBELL                    HEMBY, NATALIE                     TILTAWHIRL MUSIC                                       A                        PA0001682822
                                     CORBIN, ANDRE / FERREIRA,
                                     FRANK / ABARCA, GERALD /
                                     BARRAGAN, LARRY / RIVERA,
VON AM LEBEM DESTO STURM             JAMES                              BASH MUSIC                                             O                        PA0000454556
                                                                        LITTLE NANNY DICHOLS MUSIC, CLASHING
V'SHAMRU                             NICHOLS, DANIEL                    PLAIDS                                                 A                        PA0001981707
WAGONER'S LAD                        O'BRIEN, TIM                       HOWDY SKIES MUSIC                                      A                        PA0001004792
WALK BESIDE ME                       O'BRIEN, TIM                       HOWDY SKIES MUSIC                                      A                        PA0001002957
WANDERING                            O'BRIEN, TIM                       HOWDY SKIES MUSIC                                      A                        PA0001004803
WANT VS. NEED                        O'BRIEN, TIM                       CORNBREAD NATION                                       A                        PA0001742588
WANTED FOR LOVE                      CROWLEY, J.C.                      MIGHTY NICE MUSIC                                      O                        PA0000425032
WASABI ON TOP                        GIACOMOTTO, OLIVIER                QAP SONGS                                              A                           PENDING
WASSAIL SONG                         FASCINATO, JACK                    BAYSHORE MUSIC CORPORATION                             A                        EU0000059150
WATER IN THE FUEL                    ELGERSMA, FRED                     CRITTER CITY MUSIC                                     O                        PA0000885742
WATERTOWN                            SAENZ, ARMANDO                     SCRAMBLER MUSIC                                        A                        PA0001295520
WAYFARIN' STRANGER                   O'BRIEN, TIM                       HOWDY SKIES MUSIC                                      A                        PA0000988291
WE GOT THE RHYTHM GOING              BILLY LIVSEY                       QUINCE MUSIC LTD.                                      A                       PAu0001568299

WE HAD TO TEAR THIS MOTHA FUCKA UP   JORDAN, DUKE                       DREAM CITY MUSIC                                       A                        PA0000595049

WE RUN                               CARUSOE, SCOOTER                   ABBOTTS CREEK MUSIC, SCRAMBLER MUSIC                  A                         PA0001761852
WE THREE KINGS                       WAGNER, ROGER                      BAYSHORE MUSIC CORPORATION                            A                         EU0000810104
WELL OF SADNESS                      LAUDERDALE, JIM                    LAUDERSONGS, MIGHTY NICE MUSIC                       O&A                        PA0001088653
WE'RE IN THIS LOVE TOGETHER          FRANCIS, MARY                      LOOKS LIKE PLAID MUSIC                                A                         PA0003558585
WEST NILE VIRUS                      ROBERTS, RIK                       CLASHING PLAIDS                                       A                         PA0001237787
                                                                        RESTLESS WIND MUSIC, SUITE TWO O FIVE
WEST TEXAS WALTZ                     SHAVER, BILLY JOE                  MUSIC                                                  A                        PA0000968061
WEST VIRGINIA MAN                    COE, DAVID ALLAN                   DAVID ALLAN COE MUSIC                                  O                        PA0000179630
                                     CHERA, LEONARD / FRANCIS,
                                     MARYLAND MACRAE / FRED
WHAT DO YOU KNOW ABOUT HEARTACHE     MORRISON, BOB                      SOUTHERN DAYS MUSIC                                    A                        PA0000110803
WHAT I HAVE WITH YOU                 COLEMAN, PHILLIP                   GRAVITRON MUSIC                                        A                        PA0001768469
WHAT I LIKE ABOUT CATS               ROBERTS, RIK                       CLASHING PLAIDS                                        A                        PA0001237787
WHAT I WANT YOU TO SAY               LAUDERDALE, JIM                    MIGHTY NICE MUSIC                                      O                        PA0000969681
                                                                        MIGHTY NICE MUSIC, DAYLONG DARK
WHAT LOVE WAS                        YORK, KATE                         PUBLISHING                                           O&A                        PA0001352846
WHAT MADE YOU CHANGE YOUR MIND       COE, DAVID ALLAN                   CAPTIVE MUSIC                                         O                         PA0000134014
WHAT WOULD YOU DO                    FISHER, DAVID                      BASH MUSIC, SHERIDAN SESSIONS                        O&A                        PA0001838041




                           Case 3:17-cv-01051 Document 41-1 Page
                                                             Filed     11/01/17 Page 22 of 64 PageID #: 931
                                                                 21 of 63
                                                                              Exhibit A Musical Compositions

              Composition Title              Bluewater-Controlled Writer(s)           Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
WHEN I DIE I'LL LIVE AGAIN                 O'BRIEN, TIM                         HOWDY SKIES MUSIC                                    A                        PA0000988292
WHEN IN ROME                               O'BRIEN, TIM                         CORNBREAD NATION                                     A                        PA0001666747
WHEN NO ONE'S AROUND                       O'BRIEN, TIM                         HOWDY SKIES MUSIC                                    A                        PA0000859644
                                           SMITH, ROBERT GERALD /
WHEN THE MORNING COMES                     FLOWERS, DOUG                        MELODY ROUNDUP MUSIC LLC                             A                        PA0002002508
                                           FORD, ERNEST / FASCINATO,            TENNESSEE ERNIE FORD MUSIC, BAYSHORE
WHEN THEY RING THE GOLDEN BELLS            JACK                                 MUSIC CORPORATION                                    A                        EP0000103833
WHERE YOU'RE GOING                         COPELAND, DREW                       TILTAWHIRL MUSIC                                     A                        PA0001783826
WHERE'S LOVE COME FROM                     O'BRIEN, TIM                         CORNBREAD NATION                                     A                        PA0001645800
WHERE'S THAT MUSIC COMIN' FROM             MORRISON, BOB                        SOUTHERN DAYS MUSIC                                  A                        PA0001792380
                                                                                CROZIER MUSIC ENTERPRISE, TILTAWHIRL
WHILE IT AIN'T RAININ'                     JONES, TROY                          MUSIC                                                A                        PA0001761854
WHISKEY VALENTINE (RED WINE                LAUDERDALE, JIM / MILLER,
VALENTINE)                                 DEAN                                 MIGHTY NICE MUSIC, LAUDERSONGS                     O&A                        PA0000969646
WHISPER                                    LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0000799193
WHITE TRASH                                ELGERSMA, FRED                       CRITTER CITY MUSIC                                  O                         PA0000953742
WHO THOUGHT THIS RAILROAD WOULDN'T
LAST                                       LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0001010634
WHOEVER SAID IT WAS EASY                   ANDERSON, AL                         MIGHTY NICE MUSIC, AL ANDERSONGS                   O&A                        PA0001304930
WHO'S GONNA SING OVER MY GRAVE             TRICE, JAMES                         PLAID PAJAMAS MUSIC                                 A                         PA0001589590
WHO'S LEAVING WHO                          LAUDERDALE, JIM                      CRITTER CITY MUSIC, SKY-EYE MUSIC                  O&A                        PA0001371079
WHY DARLING WHY                            ELGERSMA, FRED                       CRITTER CITY MUSIC                                  O                         PA0001852233
WHY DO I LOVE YOU                          LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0000721416
                                           KING, PEE WEE / STEWART,
WHY DON'T Y'ALL GO HOME                    REDD                                 RIDGEWAY MUSIC COMPANY, INC.                         A                        RE0000135818

                                           MATHENY, LOGAN / MATHENY,
WHY MODERN RADIO IS A-OK                   SKIP / MATHENY, TIMSHEL   BILL AND MARY MUSIC, SCRAMBLER MUSIC                            A                        PA0001800196
WILD AT HEART                              ANDERSON, AL              MIGHTY NICE MUSIC                                               O                        PA0000707164
                                                                     MIGHTY NICE MUSIC, DAYLONG DARK
WILL I ALWAYS LOVE YOU                     YORK, KATE                PUBLISHING                                                    O&A                        PA0001352843
WIN OR LOSE                                SELBY, MONTE              STREET SINGER MUSIC                                            A                         PA0001011439
                                                                     MIGHTY NICE MUSIC, DAYLONG DARK
WISHED FOR A SONG                          YORK, KATE                PUBLISHING                                                    O&A                        PA0001352840

WISHIN HARD                                O'BRIEN, TIM                         CORNBREAD NATION, SCOUT AND JEM MUSIC                A                        PA0001739180

WISHING                                    CARUSOE, SCOOTER                     ABBOTTS CREEK MUSIC, SCRAMBLER MUSIC                 A                        PA0001761852
                                                                                MIGHTY NICE MUSIC, DAYLONG DARK
WITHOUT A CLUE                             YORK, KATE                           PUBLISHING                                         O&A                        PA0001744548

                                           MATHENY, LOGAN / MATHENY,
WOKE UP THIS MORNING                       SKIP / MATHENY, TIMSHEL   BILL AND MARY MUSIC, SCRAMBLER MUSIC                            A                        PA0001800200
WORKING GIRL'S DREAM                       MORRISON, BOB             SOUTHERN DAYS MUSIC                                             A                        PA0001278050
WORLD OF TROUBLE                           O'BRIEN, TIM              CORNBREAD NATION                                                A                        PA0001645798




                                  Case 3:17-cv-01051 Document 41-1 Page
                                                                    Filed     11/01/17 Page 23 of 64 PageID #: 932
                                                                        22 of 63
                                                                         Exhibit A Musical Compositions

             Composition Title              Bluewater-Controlled Writer(s)           Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
                                          FLANAGAN, HARLEY FRANCIS /         DREAM CITY MUSIC, PARRIS MAYHEW
WORLD PEACE                               MAYHEW, PARRIS                     PUBLISHING                                            A                         PA0000532440
WOWOWO                                    LAUDERDALE, JIM                    SKY-EYE MUSIC, CRITTER CITY MUSIC                    O&A                        PA0001210280
WRONG GURU                                ADAM KERSHEN                       OMNIFUNKSHUNAL SONGS                                  A                            PENDING
WRONG GUY                                 SAENZ, ARMANDO                     SCRAMBLER MUSIC                                       A                         PA0001768495
XHOSA LULLABY                             WAGNER, ROGER                      BAYSHORE MUSIC CORPORATION                            A                         EU0000914896
YELLOW BARLEY STRAW                       ELGERSMA, FRED                     CRITTER CITY MUSIC                                    O                         PA0000956607
YES!                                      MORRISON, BOB                      SOUTHERN DAYS MUSIC                                   A                         PA0001295507
YEW PINEY MOUNTAIN/DUSTY MILLER           O'BRIEN, TIM                       HOWDY SKIES MUSIC                                     A                         PA0001004802
                                                                             LITTLE NANNY DICHOLS MUSIC, CLASHING
YIHYU                                     NICHOLS, DANIEL                    PLAIDS                                                 A                        PA0001981722
YONDER VOICES                             SAENZ, ARMANDO                     SCRAMBLER MUSIC                                        A                        PA0001295519
                                                                             LITTLE NANNY DICHOLS MUSIC, CLASHING
YOTZEIR OR                                NICHOLS, DANIEL                    PLAIDS                                                 A                        PA0001981730
                                                                             CLASHING PLAIDS, WINNING CIRCLE MUSIC
YOU AIN'T THE FIRST BUT YOU'RE THE LAST   MACK, WILLIE                       INC.                                                  A                         PA0001815986
YOU ALWAYS WIN                            MILLER, ALAN                       CLASHING PLAIDS                                       A                         PA0001679536
YOU CAN'T COME BACK                       TRICE, JACK                        STREET SINGER MUSIC                                   A                         PA0001032916
YOU CAN'T HIDE HIGH                       KNUTSON, DENNIS                    MELODY ROUNDUP MUSIC LLC                              A                         PA0002008365
YOU CAN'T LOSE WHAT YOU NEVER HAD         FISHER, DAVID                      BASH MUSIC, SHERIDAN SESSIONS                        O&A                        PA0001838048
YOU DID                                   ELGERSMA, FRED                     CRITTER CITY MUSIC                                    O                         PA0001138420
                                                                             CLASHING PLAIDS, WINNING CIRCLE MUSIC
YOU FIGHT LIKE A GIRL                     MILLER, ALAN                       INC.                                                   A                        PA0001316460

YOU HAD ME AT MY BEST                     JEDD, MICHAEL HUGHES               BAMBATOWN PUBLISHING, TILTAWHIRL MUSIC                 A                        PA0001676877
YOU NEVER LOOKED THIS GOOD WHEN           MACRAE, FRED / MORRISON,
YOU WERE MINE                             BOB                                SOUTHERN DAYS MUSIC                                   A                         PA0000149140
YOUNG LOVE                                CARUSOE, SCOOTER                   SCRAMBLER MUSIC                                       A                         PA0001800014
YOUR GUESS IS GOOD AS MINE                LAUDERDALE, JIM                    LAUDERSONGS, MIGHTY NICE MUSIC                       O&A                        PA0001064892
YOU'RE DEAD TO ME                         O'BRIEN, TIM                       CORNBREAD NATION                                      A                         PA0001186936
YOU'RE GONNA GET IT                       SMITH, ROBERT GERALD               MELODY ROUNDUP MUSIC LLC                              A                         PA0001889350
                                          KNUTSON, DENNIS /
YOU'RE THE ONLY BIBLE                     SHATSWELL, DANNY                   MELODY ROUNDUP MUSIC LLC                               A                        PA0001854222
A FINE SET OF WHEELS                      BREMNER, BILLY                     MIGHTY NICE MUSIC                                      O                        PA0000970345
A SAFE PLACE TO FALL                      MILLER, DEAN                       MIGHTY NICE MUSIC                                      O                        PA0000942268
A SIMPLE TEST OF FAITH                    TRICE, JAMES                       STREET SINGER MUSIC                                    A                        PA0001388089
A SMILE IS A FROWN                        ANDERSON, AL                       MIGHTY NICE MUSIC                                      O                        PA0000991400
ACHE IN THE HEART                         KREKEL, TIM                        MIGHTY NICE MUSIC                                      O                        PA0000970334
AFTER ALL THESE YEARS                     RICHEY, KIM                        MIGHTY NICE MUSIC                                      O                        PA0000986924

AGE OF CONTAMINATION                      FLANAGAN, HARLEY FRANCIS           DREAM CITY MUSIC                                       A                        PA0001686142

AIN'T NO EASY ROADS                       JONES, DAVID LYNN                  MIGHTY NICE MUSIC, SKUNK DEVILLE MUSIC               O&A                        PA0000471404

AIN'T YOUR MEMORY GOT NO PLACE TO GO MORRISON, BOB                           SOUTHERN DAYS MUSIC                                    A                        PA0000495887




                                 Case 3:17-cv-01051 Document 41-1 Page
                                                                   Filed     11/01/17 Page 24 of 64 PageID #: 933
                                                                       23 of 63
                                                                            Exhibit A Musical Compositions

            Composition Title              Bluewater-Controlled Writer(s)              Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
                                         SELBY, MICHELLE / SELBY,
AIR DOES WORK                            MONTE / NORRIS, JILL                 STREET SINGER MUSIC, CLASHING PLAIDS                    A                        PA0001739250
                                                                              STREET SINGER MUSIC, O'GOODIS INDUSTRIES
AL SH'LOSHA D'VARIM                      GOODIS, ALAN                         WORLDWIDE                                              A                         PA0002007621
ALL MY FRIENDS                           MECKEL, NATHAN                       CLASHING PLAIDS                                        A                         PA0001839337
ALONE IN A CROWD                         WOOD, CARTER                         SCRAMBLER MUSIC                                        A                         PA0001111676
ALWAYS ON THE OUTSIDE                    LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0000767297
AM I A SOLDIER OF THE CROSS              FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                             A                         EU0000805536
AMERICA                                  FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                             A                         EU0000158938
AMERICA THE BEAUTIFUL                    FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                             A                         EU0000158939
AND A RAINBOW                            KOHNHORST, ALLEN                     MIGHTY NICE MUSIC                                      O                         PA0001034606
ANGEL                                    TRICE, JACK                          STREET SINGER MUSIC                                    A                         PA0001032915
ANGEL BAND                               O'BRIEN, TIM                         HOWDY SKIES MUSIC                                      A                         PA0000988281
ANGELS WE HAVE HEARD ON HIGH             FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                             A                         EU0000896003
ANNIE                                    CROWLEY, J.C.                        MIGHTY NICE MUSIC                                      O                         PA0000143060
ARAB EXTRA DRY                           ROBERTS, RIK                         CLASHING PLAIDS                                        A                         PA0001237787
ARE YE ABLE SAID THE MASTER              FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                             A                         EU0000768636
AS IF I DIDN'T KNOW                      MILLER, ALAN                         TOTO TUNES, WINNING CIRCLE MUSIC INC.                  A                         PA0001166565
AS IF WE WOULD NEVER LOVE AGAIN          LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0000969684
AS LATELY WE WATCHED                     FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                             A                         EU0000059149

AS LONG AS THE MEMORY SURVIVES           JONES, DAVID LYNN                    MIGHTY NICE MUSIC, SKUNK DEVILLE MUSIC                O&A                        PA0000774787
                                         FASCINATO, JACK / FORD,
ASLEEP IN JESUS                          ERNEST                               BAYSHORE MUSIC CORPORATION                              A                        EU0000416697
AWAY IN A MANGER                         FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                              A                        EU0000896004
BACK IN MY BABY'S ARMS                   FLYNN, JOHN                          FLYING STONE MUSIC, SCRAMBLER MUSIC                     A                        PA0001111675
BAD ENOUGH TO CRAWL                      ANDERSON, AL                         MIGHTY NICE MUSIC                                       O                        PA0001054277
BALL AND CHAIN                           COE, DAVID ALLAN                     DAVID ALLAN COE MUSIC                                   O                        PA0000179635
                                         FORD, ERNEST / FASCINATO,            TENNESSEE ERNIE FORD MUSIC, BAYSHORE
BARBARA ALLEN                            JACK                                 MUSIC CORPORATION                                       A                        EU0000568288
BATHTUB SONG                             KREKEL, TIM                          MIGHTY NICE MUSIC                                       O                        PA0001090258
BATTLE HYMN OF THE REPUBLIC              FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                              A                        EU0000158937
BE STILL MY SOUL                         FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                              A                        EU0000233570
BEAUTIFUL GAME                           LIVSEY, BILLY                        BILLY LIVSEY MUSIC                                      A                        PA0001855830
BEAUTIFUL TROUBLE                        MACK, WILLIE                         WINNING CIRCLE MUSIC, INC.                              A                        PA0001815985
BEST THING I EVER FOUND                  LIVSEY, BILLY                        QUINCE MUSIC LTD.                                       A                       PAu0003659064
                                         MARTIN, CRAIG / SMITH,
BETTER MAN                               ROBERT GERALD                        MELODY ROUNDUP MUSIC LLC                                A                        PA0001681681
BIG ASS GARAGE SALE                      ELGERSMA, FRED                       CRITTER CITY MUSIC                                      O                        PA0001134156
BIG PURSE                                ROBERTS, RIK                         CLASHING PLAIDS                                         A                        PA0001237787
BLACK IS THE COLOR OF MY TRUE LOVE'S     FORD, ERNEST / FASCINATO,            TENNESSEE ERNIE FORD MUSIC, BAYSHORE
HAIR                                     JACK                                 MUSIC CORPORATION                                      A                         EU0000568287
BLEED LIKE THAT                          TIMOTHY JON MATTHEWS                 CLASHING PLAIDS                                        A                         PA0001989237
BLESS HER HEART                          LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0000523751
BLOW IT AWAY                             KREKEL, TIM                          MIGHTY NICE MUSIC                                      O                         PA0000970333
BLUEBELL                                 LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0000767306




                                Case 3:17-cv-01051 Document 41-1 Page
                                                                  Filed     11/01/17 Page 25 of 64 PageID #: 934
                                                                      24 of 63
                                                                            Exhibit A Musical Compositions

            Composition Title              Bluewater-Controlled Writer(s)            Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
BONNIE JEAN                              JONES, DAVID LYNN                    MIGHTY NICE MUSIC                                     O                        PA0000342368
BORN IN A HURRICANE                      BRADBERRY, GORDON                    MIGHTY NICE MUSIC                                     O                        PA0001032689
BORN WITH THE BLUES                      MECKEL, NATHAN                       TOTO TUNES                                            A                        PA0001054291
                                         SELBY, MONTE / COLLINS,              STREET SINGER MUSIC, LOOKS LIKE PLAID
BRAIN BREAK                              BURTON                               MUSIC                                                 A                        PA0001679811
BREAK IT OFF CLEAN                       MURPHY, JESSICA TARYN                STREET SINGER MUSIC                                   A                        PA0001151673
                                         FASCINATO, JACK / FORD,
BREAK THOU THE BREAD OF LIFE             ERNEST                               BAYSHORE MUSIC CORPORATION                            A                        EP0000155706
BREAKING HORSES                          ROLAND, RICKEY CHAD                  MELODY ROUNDUP MUSIC LLC                              A                        PA0001808119
BRING A TORCH JEANNETTE ISABELLA         FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                            A                        EU0000591576
BURNT BRIDGE                             ELKINS, SUZY                         MIGHTY NICE MUSIC                                     O                        PA0001216015
CALL ME SOMETIME WHEN YOU'VE BEEN
DRINKING                                 DILLINGHAM, CRAIG                    TILTAWHIRL MUSIC                                     A                         PA0001284575
CANADIAN WALTZ                           MOODY, CLYDE                         DREAM CITY MUSIC                                     A                         EU0000307703
CAN'T FIND MARY                          LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                      O&A                        PA0000720420
CAN'T UNDO WHAT'S BEEN DONE              RICHEY, KIM                          MIGHTY NICE MUSIC                                    O                         PA0000747516
CHAIN GANG BOOGIE                        COE, DAVID ALLAN                     DAVID ALLAN COE MUSIC                                O                         PA0000179634
CHILDREN GO WHERE I SEND THEE            FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                           A                         EU0000269109
                                                                              STAIRWAY TO ELEVEN MUSIC, TILTAWHIRL
CLOSE TO GONE                            GRISSOM, DAVID                       MUSIC                                                 A                        PA0001138417
CLUCK OLD HEN                            O'BRIEN, TIM                         HOWDY SKIES MUSIC                                     A                        PA0000988284
COME AND GET ME BABY                     LEWIS, HUGH X                        DREAM CITY MUSIC                                      A                       PAu0000044442
COME BACK, BABY                          KREKEL, TIM                          MIGHTY NICE MUSIC                                     O                        PA0001113457
COME HOLY SPIRIT                         FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                            A                        EU0000011154
COME YE THANKFUL PEOPLE                  FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                            A                        EU0000233569
CONFESSION                               LIVSEY, BILLY                        QUINCE MUSIC LTD.                                     A                        PA0000184041
CONGRATULATIONS                          BARLOW, KIMBERLY                     MIGHTY NICE MUSIC                                     O                        PA0001803814
COVER IT UP                              BREMNER, BILLY                       MIGHTY NICE MUSIC                                     O                        PA0000970344
                                         STANSBERRY, JEFF / ROLAND,
COWBOYS AND INDIANS                      RICKEY CHAD                          MELODY ROUNDUP MUSIC LLC                              A                        PA0001808115
COWBOYS WANT IT                          MILLER, ALAN                         CLASHING PLAIDS                                       A                        PA0001610660
CRASH DIET                               ARKEEN, AARON WEST                   WEST ARKEEN MUSIC                                     A                        PA0000670176
CROWN HIM WITH MANY CROWNS               FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                            A                        EU0000928248

                                         FLANAGAN, HARLEY FRANCIS /
                                         HOLLAND, DOUGLAS ALEC /
CRUSH THE DEMONIAC                       JOSEPH, JOHN                         DREAM CITY MUSIC                                      A                        PA0000532434
CUM STAINS ON MY PILLOW                  COE, DAVID ALLAN                     DAVID ALLAN COE MUSIC                                 O                        PA0000114763
DARBY'S RAM                              FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                            A                        EU0000569365
                                         FASCINATO, JACK / FORD,
DAY IS DYING IN THE WEST                 ERNEST                               BAYSHORE MUSIC CORPORATION                            A                         EP0000155713

DAYS OF CONFUSION                        FLANAGAN, HARLEY FRANCIS DREAM CITY MUSIC                                                  A                        PA0000532432
DEAR LORD AND FATHER OF MANKIND          FASCINATO, JACK            BAYSHORE MUSIC CORPORATION                                      A                        EU0000768634
                                         FLANAGAN, HARLEY FRANCIS /
DEATH CAMPS                              HINES, PETER               DREAM CITY MUSIC                                                A                        PA0000532431




                                Case 3:17-cv-01051 Document 41-1 Page
                                                                  Filed     11/01/17 Page 26 of 64 PageID #: 935
                                                                      25 of 63
                                                                            Exhibit A Musical Compositions

            Composition Title              Bluewater-Controlled Writer(s)           Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
DELILAH                                  REYNOLDS, JOHN                       MIGHTY NICE MUSIC                                    O                        PA0001032721
DING DONG                                ANDERSON, AL                         MIGHTY NICE MUSIC                                    O                        PA0000969948
                                         JOOSSEE, BARBARA / MECKEL,
DOGHOUSE JAMBOREE                        NATHAN                               CLASHING PLAIDS                                     A                         PA0001839333
DON'T BUILD YOUR WORLD AROUND IT         LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0000767296
DON'T GIVE THE DEVIL A RIDE              SMITH, ROBERT GERALD                 MELODY ROUNDUP MUSIC LLC                            A                        PAu0003541798
DON'T TRUST ME                           LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0000721421
DRIFTING TOO FAR FROM THE SHORE          FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                          A                         EU0000583596

DROWNING IN LOVE                         ALFORD, KEN / ANDERSON, AL           MIGHTY NICE MUSIC                                   O                         PA0000925628
ECHO                                     LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0000767301
EN REKO MAN                              KREKEL, TIM                          MIGHTY NICE MUSIC                                   O                         PA0001016204
EVERY SECOND COUNTS                      LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0000767300
EVERYDAY AND EVERY NIGHT                 MECKEL, NATHAN                       TOTO TUNES                                          A                         PA0001054289
EVERYTHING ON IT                         ANDERSON, AL                         MIGHTY NICE MUSIC                                   O                         PA0000991341
EVERYTHING'S GONNA BE ALRIGHT            KREKEL, TIM                          MIGHTY NICE MUSIC                                   O                         PA0001016195
EVERYTIME                                RESWICK, PAMELA                      CLASHING PLAIDS                                     A                         PA0003725114
FAILURE'S A MYTH                         MECKEL, NATHAN                       CLASHING PLAIDS                                     A                         PA0001839330
FAITH OF OUR FATHERS                     FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                          A                         EU0000979401
                                                                              MIGHTY NICE MUSIC, NICKLAS HAMILTON
                                         HAMILTON, NICKLAS /                  MUSIC, CRITTER CITY MUSIC, KINK ADOR
FAITHFUL                                 NOVIKOV, SHARON                      PUBLISHING                                         O&A                        PA0001909223
FALLIN' FAST                             RICHEY, KIM                          MIGHTY NICE MUSIC                                   O                         PA0000707333
FELL DOWN IN MEMPHIS                     KREKEL, TIM                          MIGHTY NICE MUSIC                                   O                         PA0001113459
FEW ARE CHOSEN                           O'BRIEN, TIM                         HOWDY SKIES MUSIC                                   A                         PA0000608997
FIREBALL                                 LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0000767299
FORGIVE AND FORGET                       LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0001076098
FORREST COUNTY LINE                      ANDERSON, AL                         MIGHTY NICE MUSIC, AL ANDERSONGS                   O&A                        PA0001192494
FREE AT HEART                            O'BRIEN, TIM                         HOWDY SKIES MUSIC                                   A                         PA0000797950

FUGITIVE                                 FLANAGAN, HARLEY FRANCIS             DREAM CITY MUSIC                                     A                        PA0000532430
FUN GETTING OVER YOU                     WILSON, LONNIE                       PLAID PAJAMAS MUSIC                                  A                        PA0001340268
GET A REAL JOB                           ANDERSON, AL                         MIGHTY NICE MUSIC                                    O                        PA0000910162
GET GONE                                 ANDERSON, AL                         MIGHTY NICE MUSIC                                    O                        PA0000847602
GLORY TO HIS NAME                        FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                           A                        EU0000805539
GOD BLESS OUR NATIVE LAND                FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                           A                        EU0000233578
GOD REST YE MERRY GENTLEMEN              FORD, ERNEST                         TENNESSEE ERNIE FORD MUSIC                           A                        EU0000546495
GOD WILL TAKE CARE OF YOU                FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                           A                        EU0000233577
                                         MALLETTE, WANDA / RYAN,
GOODNIGHT COWBOY GOODNIGHT               PATTI                                SOUTHERN DAYS MUSIC                                 A                         PA0000105461
GRACE'S SONG                             LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0000721418
GREEN WITH ENVY                          BREMNER, BILLY                       MIGHTY NICE MUSIC                                   O                         PA0000970341
HALF PAST YOU                            WAY, PATTY                           MIGHTY NICE MUSIC                                   O                         PA0000927424
HARD HEARTED                             MOODY, CLYDE                         DREAM CITY MUSIC                                    A                         EP0000070669

HE DON'T CARE ABOUT ME                   ROBISON, BRUCE                       TILTAWHIRL MUSIC, BRUCE ROBISON MUSIC                A                        PA0000875661




                                Case 3:17-cv-01051 Document 41-1 Page
                                                                  Filed     11/01/17 Page 27 of 64 PageID #: 936
                                                                      26 of 63
                                                                             Exhibit A Musical Compositions

             Composition Title              Bluewater-Controlled Writer(s)            Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
HE IS BORN THE HOLY CHILD                 FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                            A                        EU0000059155
HE LEADETH ME                             FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                            A                        EU0000805537
HEAD ABOVE WATER                          MECKEL, NATHAN                       CLASHING PLAIDS                                       A                        PA0001735667
                                                                               MIGHTY NICE MUSIC, WAIT NO MORE MUSIC,
HEART OF THE HEARTACHE                    ANDERSON, AL / RICHEY, KIM           AL ANDERSONGS                                       O&A                        PA0001138415
HEAVEN'S FLAME                            LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                      O&A                        PA0000523747
HERE COMES THE NIGHT                      JONES, DAVID LYNN                    MIGHTY NICE MUSIC                                    O                         PA0000726837
HERE EVER AFTER                           KREKEL, TIM                          MIGHTY NICE MUSIC                                    O                         PA0000970326
HERE WITHOUT YOU                          KREKEL, TIM                          MIGHTY NICE MUSIC                                    O                         PA0001016197
                                          CROSTHWAIT, KEN / LEWIS,
HERE'S TO THE RIPOFF                      HUGH X                               DREAM CITY MUSIC                                      A                       PAu0000663443
HE'S YOUR PROBLEM NOW                     LORD, DENNIS                         MIGHTY NICE MUSIC                                     O                        PA0000817535
HIGH HEELS IN THE RAIN                    ELGERSMA, FRED                       CRITTER CITY MUSIC                                    O                        PA0001281599

HIGH RIDIN' HEROES                        JONES, DAVID LYNN                    MIGHTY NICE MUSIC, SKUNK DEVILLE MUSIC              O&A                        PA0000352255
HIGHER GROUND                             FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                           A                         EU0000768632
                                          JOOSSEE, BARBARA / MECKEL,
HIP HOORAY PARADE                         NATHAN                               CLASHING PLAIDS                                      A                         PA0001839340
HISS ON U                                 ANDERSON, AL                         MIGHTY NICE MUSIC                                    O                         PA0000847503
HIT ME ON THE LOVESIDE                    CROWLEY, J.C.                        MIGHTY NICE MUSIC                                    O                         PA0000151479
HOLD TO GOD'S UNCHANGING HAND             FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                           A                         EU0000582966
HOLD YOUR HORSES                          MARTIN, CRAIG                        MELODY ROUNDUP MUSIC LLC                             A                        PAu0003592134
HOLDIN' OUT FOR YOU                       SCHWARTZ, EDDWARD S.                 HIGH FRONTIER MUSIC                                  A                         PA0000305421
HOLY HOLY HOLY                            FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                           A                         EU0000142164
HOME SWEET HOME                           FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                           A                         EU0000769622
HONKY TONK MYSELF TO DEATH                MILLER, DEAN                         MIGHTY NICE MUSIC                                    O                         PA0001386051
HOW DO YOU SLEEP AT NIGHT?                FRANCIS, MARY                        CLASHING PLAIDS                                      A                         PA0003477956
I CAN'T WAIT THAT LONG                    CROWLEY, J.C.                        MIGHTY NICE MUSIC                                    O                         PA0000151472
I GOT A HEART                             ANDERSON, AL                         MIGHTY NICE MUSIC, AL ANDERSONGS                    O&A                        PA0001093291
                                          ANNADALE, CATHY / MAYHEW,
I HOPE YOU'RE CRYING TOO                  AUBREY                               DREAM CITY MUSIC                                     A                         EP0000066223
I LOVE THY KINGDOM LORD                   FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                           A                         EU0000928252
I MISS MY HOME                            COLLINS, BURTON                      LOOKS LIKE PLAID MUSIC                               A                         PA0001805227
I SEE IT IN YOUR EYES                     BREMNER, BILLY                       MIGHTY NICE MUSIC                                    O                         PA0000970340
I STILL LOVE HER MEMORY                   HESTER, HUBERT D                     DREAM CITY MUSIC                                     A                        PAu0000087369
I TOLD YOU SO                             ANDERSON, AL                         MIGHTY NICE MUSIC                                    O                         PA0000909264
I WONDER WHO'S MISSING YOU NOW            DILLINGHAM, CRAIG                    TILTAWHIRL MUSIC                                     A                         PA0000275530
IF I LIVE LONG ENOUGH                     LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                      O&A                        PA0001117611
IF YOU LOOK REAL CLOSE                    LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                      O&A                        PA0000767304
IF YOU ONLY KNEW MY HEART                 ELLIOT, MARK                         MIGHTY NICE MUSIC                                    O                         PA0001034603
                                          FORD, ERNEST / LLOYD,
I'LL BE A FRIEND TO JESUS                 MICHAEL                              BAYSHORE MUSIC CORPORATION                           A                         PA0000296266
I'LL LEAD YOU HOME                        LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                      O&A                        PA0000799201
I'M BARELY HANGIN' ON TO ME               POOVEY, JOE                          DREAM CITY MUSIC                                     A                         EP0000178911
                                          HOSEY, BURNELL R. / SANDERS,
I'M GONNA LOVE THE DEVIL OUT              RAY                                  DREAM CITY MUSIC                                      A                       PAu0000338408




                                 Case 3:17-cv-01051 Document 41-1 Page
                                                                   Filed     11/01/17 Page 28 of 64 PageID #: 937
                                                                       27 of 63
                                                                        Exhibit A Musical Compositions

              Composition Title        Bluewater-Controlled Writer(s)            Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
I'M JUST DREAMIN'                    ELGERSMA, FRED                       CRITTER CITY MUSIC                                    O                        PA0000956609
I'M LETTIN' YOU IN                   MORRISON, BOB                        SOUTHERN DAYS MUSIC                                   A                        PA0000113512
I'M NOT GONNA DO THAT NOW            LAUDERDALE, JIM                      MIGHTY NICE MUSIC                                     O                        PA0001281612
I'M STILL LEARNING HOW TO CRAWL      LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                         PA0000767303
                                     MAYHEW, AUBREY / STUART,
I'M THE GUILTY ONE                   CARL                                 DREAM CITY MUSIC                                      A                        EP0000078429
IN THE GLOAMING                      FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                            A                        EU0000769621
                                     BUCKLEY, ROB / FLANAGAN,
INDIAN SONG                          HARLEY FRANCIS                       DREAM CITY MUSIC                                      A                       PAu0001686145
                                     MECKEL, NATHAN / ROBERTS,
IT AIN'T EASY BEIN' SANTA            RIK                                  TOTO TUNES                                            A                        PA0001096645
                                     FASCINATO, JACK / FORD,
IT IS WELL WITH MY SOUL              ERNEST                               BAYSHORE MUSIC CORPORATION                           A                         EP0000155714
IT'S A BLUE THING                    ANDERSON, AL                         MIGHTY NICE MUSIC                                    O                         PA0000929072
IT'S A MAN'S JOB                     ANDERSON, AL                         MIGHTY NICE MUSIC                                    O                         PA0000896529
IT'S BETTER THIS WAY                 LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                      O&A                        PA0001093296
                                     LAUDERDALE, JIM / RICHEY,            LAUDERSONGS, MIGHTY NICE MUSIC, WAIT NO
IT'S JUST LIKE YOU                   KIM                                  MORE MUSIC                                          O&A                        PA0000969677
IT'S TIME WHEN IT'S TIME             LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                      O&A                        PA0000767305
I'VE GOT TO LEARN YOUR STYLE         MOSKATEL, JOAN                       DREAM CITY MUSIC                                     A                         EU0000745551
JESUS KEEP ME NEAR THE CROSS         FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                           A                         EU0000416694
JESUS LOVER OF MY SOUL               FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                           A                         EU0000928254
JESUS LOVES ME                       FORD, ERNEST                         BAYSHORE MUSIC CORPORATION                           A                         EP0000139319
JESUS PAID IT ALL                    FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                           A                         EP0000155704
JIMMY BUFFETT                        COE, DAVID ALLAN                     DAVID ALLAN COE MUSIC                                O                         PA0000114766
JOIN IN THE DANCE                    CROWLEY, J.C.                        MIGHTY NICE MUSIC                                    O                         PA0000014173
JUANITA                              FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                           A                         EU0000769625
JUST ABOUT INTERLUDE                 LIVSEY, BILLY                        BILLY LIVSEY MUSIC                                   A                         PA0001030010
                                     FASCINATO, JACK / FORD,
JUST AS I AM                         ERNEST                               BAYSHORE MUSIC CORPORATION                            A                        EU0000142163
KEEP THIS HOUSE ROCKIN'              BREMNER, BILLY                       MIGHTY NICE MUSIC                                     O                        PA0000970349
KEEP THOSE BIG WHEELS HUMMIN'        COE, DAVID ALLAN                     CAPTIVE MUSIC                                         O                        EU0000453469
                                                                          STREET SINGER MUSIC, O'GOODIS INDUSTRIES
LECHA DODI                           GOODIS, ALAN                         WORLDWIDE                                            A                         PA0001981725
LET THE LOWER LIGHTS BE BURNING      FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                           A                         EU0000456316
LIFE'S RAILWAY TO HEAVEN             FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                           A                         EU0000583597
LIGHTNIN'S LOVE                      HOPKINS, SAM                         DREAM CITY MUSIC                                     A                        PAu0000338692
LINDA LOVELACE                       COE, DAVID ALLAN                     DAVID ALLAN COE MUSIC                                O                         PA0000114764
LISTEN TO YOUR HEART                 LIVSEY, BILLY                        QUINCE MUSIC LTD.                                    A                         PA0000173162
LIVIN' WITH A BROKEN HEART           ANDERSON, AL                         MIGHTY NICE MUSIC                                    O                         PA0000892543
LONELY CHILL                         LAUDERDALE, JIM                      MIGHTY NICE MUSIC, LAUDERSONGS                      O&A                        PA0000969680
LONG ISLAND ICE TEA                  ROBERTS, RIK                         CLASHING PLAIDS                                      A                         PA0001237787
LOST SUNSET                          LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                      O&A                        PA0000969674
                                                                          CLASHING PLAIDS, WINNING CIRCLE MUSIC
LOUD AND LOCO                        MACK, WILLIE                         INC.                                                  A                        PA0001328339
LOVABYE DRAGON                       JOOSSEE, BARBARA                     CLASHING PLAIDS                                       A                        PA0001839340




                            Case 3:17-cv-01051 Document 41-1 Page
                                                              Filed     11/01/17 Page 29 of 64 PageID #: 938
                                                                  28 of 63
                                                                            Exhibit A Musical Compositions

            Composition Title              Bluewater-Controlled Writer(s)           Bluewater-Controlled Publisher(s)    Own "O" / Administer "A"   Copyright Registration #
LOVE DON'T HIDE FROM ME                  LEWIS, HUGH X                        DREAM CITY MUSIC                                      A                       PAu0000338699
LOVE IS WHERE YOU FIND IT                CROWLEY, J.C.                        MIGHTY NICE MUSIC                                     O                        PA0000015624
LOVE ME, LOVE ME NOT                     O'BRIEN, TIM                         HOWDY SKIES MUSIC                                     A                        PA0000895617
                                         MACRAE, FRED / MORRISON,
LOVE NEVER COMES EASY                    BOB                                  SOUTHERN DAYS MUSIC                                  A                         PA0000125146
LOVE TORNADO                             COLLINS, BURTON                      LOOKS LIKE PLAID MUSIC                               A                         PA0001340265
LOVE WILL BE LOVE                        ANDERSON, AL                         BASH MUSIC                                           O                         PA0000947991
LOVE'S LIKE A TRAIN                      ANDERSON, AL                         MIGHTY NICE MUSIC, AL ANDERSONGS                    O&A                        PA0001060800
LUCKY IN LOVE                            SMITH, ROBERT GERALD                 MELODY ROUNDUP MUSIC LLC                             A                         PA0001808113
MAGIC IN THE BAND                        DILLINGHAM, CRAIG                    TILTAWHIRL MUSIC                                     A                         PA0001284574
MAKE A MOVE ON ME                        CROWLEY, J.C.                        MIGHTY NICE MUSIC                                    O                         PA0000873035

MAKE YOU BELIEVE IN ME                   WAYLAND, RICH                        STREET SINGER MUSIC, JOYOUS JINGLES INC.              A                        PA0001138419
MANANA                                   ANDERSON, AL                         MIGHTY NICE MUSIC                                     O                        PA0000927063
MASTER BATION BLUES                      COE, DAVID ALLAN                     DAVID ALLAN COE MUSIC                                 O                        PA0000114770
MATTER OF LOVE                           MEDIC, DAMON                         TOTO TUNES                                            A                        PA0000865864
MIDNIGHT IN MEMPHIS                      HULLETT, BILL                        MIGHTY NICE MUSIC                                     O                        PA0000933954
MIGHTY FORTRESS IS OUR GOD               FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                            A                        EU0000768629
MISSING THE KID                          COE, DAVID ALLAN                     DAVID ALLAN COE MUSIC                                 O                        PA0000185417
MORE LOVE TO THEE O CHRIST               FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                            A                        EU0000011156
                                         BREEDLOVE, PAULA /
MORE NIGHTS                              MORRISON, BOB                        SOUTHERN DAYS MUSIC                                   A                        PA0000143952
MOTHER SLEEPS IN A LONELY GRAVE          HANKINS, ESCO                        DREAM CITY MUSIC                                      A                        EU0000800668
MOVE YOUR BODY                           MECKEL, NATHAN                       CLASHING PLAIDS                                       A                        PA0001839330
MUST JESUS BEAR THE CROSS ALONE          FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                            A                        EU0000768628
                                         JOOSSEE, BARBARA / MECKEL,
MY BACK YARD                             NATHAN                               CLASHING PLAIDS                                       A                        PA0001839333
                                         FASCINATO, JACK / FORD,
MY FAITH LOOKS UP TO THEE                ERNEST                               BAYSHORE MUSIC CORPORATION                            A                        EP0000155715
MY FAVORITE SIN                          LEWIS, HUGH X                        DREAM CITY MUSIC                                      A                       PAu0000044428
MY GUARDIAN ANGEL                        KREKEL, TIM                          MIGHTY NICE MUSIC                                     O                        PA0000970328
MY HEART KEEPS WALKING                   HOTCHKISS, PAUL                      STREET SINGER MUSIC                                   A                        PA0000311845
MY LAST REQUEST                          LAUDERDALE, JIM                      MIGHTY NICE MUSIC                                     O                        PA0000523755
MY NAME IS AMY                           STANSBERRY, JEFF                     MELODY ROUNDUP MUSIC LLC                              A                        PA0001808111
                                         IRVIN, TIMOTHY / MARTINEZ,           ASH STREET PUBLISHING, 25 NORTH
NIGHT BEFORE CHRISTMAS                   ERNEST                               PUBLISHING                                            A                        PA0001023529
                                         FORD, ERNEST / FASCINATO,            TENNESSEE ERNIE FORD MUSIC, BAYSHORE
NIGHT HERDING SONG                       JACK                                 MUSIC CORPORATION                                     A                        EU0000568285
NO WAY AT ALL                            ANDERSON, AL                         MIGHTY NICE MUSIC                                     O                        PA0000927066
NOTHING SACRED                           COE, DAVID ALLAN                     DAVID ALLAN COE MUSIC                                 O                        PA0000114761
NOWHERE                                  ANDERSON, AL                         MIGHTY NICE MUSIC                                     O                        PA0000991339
O COME ANGEL BAND                        FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                            A                        EU0000582969
O GOD OUR HELP IN AGES PAST              FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                            A                        EU0000873736
O LOVE THAT WILT NOT LET ME              FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                            A                        EU0000973734
O WORSHIP THE KING                       FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                            A                        EU0000768631
ON YOUR ARM                              SANDERS, BLU                         TILTAWHIRL MUSIC                                      A                        PA0001642758




                                Case 3:17-cv-01051 Document 41-1 Page
                                                                  Filed     11/01/17 Page 30 of 64 PageID #: 939
                                                                      29 of 63
                                                                           Exhibit A Musical Compositions

           Composition Title              Bluewater-Controlled Writer(s)           Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
ONCE BEFORE I DIE                       LEWIS, HUGH X                        DREAM CITY MUSIC                                     A                       PAu0000175482
ONE BY ONE                              HULLETT, BILL                        MIGHTY NICE MUSIC                                    O                        PA0000933955
ONE HEART TOWN                          ANDERSON, AL                         MIGHTY NICE MUSIC                                    O                        PA0000927073

                                        BREEDLOVE, PAULA / MACRAE,
ONE LESS LONELY NIGHT                   FRED / MORRISON, BOB       SOUTHERN DAYS MUSIC                                            A                        PA0000186294
                                        MACRAE, FRED / MORRISON,
ONE NIGHT FEVER                         BOB                        SOUTHERN DAYS MUSIC                                            A                        PA0000092246

ONLY ONE                                ROBISON, BRUCE                       BRUCE ROBISON MUSIC, TILTAWHIRL MUSIC                A                        PA0000975879

OUR FATHER'S SON                        JONES, DAVID LYNN                    MIGHTY NICE MUSIC, SKUNK DEVILLE MUSIC             O&A                        PA0000471408
PASS ME NOT                             FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                          A                         EU0000979400
PATCH OF BLUE                           LIVSEY, BILLY                        QUINCE MUSIC LTD.                                   A                         PA0000230069
PLAYING WITH THE BOYS                   LIVSEY, BILLY                        QUINCE MUSIC LTD.                                   A                         PA0000342845
PRETTY CLOSE TO THE TRUTH               LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0000721423
PRETTY LITTLE PINK                      FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                          A                         EU0000569847
RAMBLIN YODELER                         CARLISLE, CLIFF                      DREAM CITY MUSIC                                    A                         EU0000800664
READY TO RAMBLE                         LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0000767302
REDNECK VAN                             KREKEL, TIM                          MIGHTY NICE MUSIC                                   O                         PA0001016204
RIDE EM TIL I DIE                       CARLISLE, CLIFF                      DREAM CITY MUSIC                                    A                         EU0000800657
RIDE, RIDE, RIDE                        ANDERSON, AL                         MIGHTY NICE MUSIC                                   O                         PA0001281611
ROGER MILLER TIME                       ROLAND, RICKEY CHAD                  MELODY ROUNDUP MUSIC LLC                            A                         PA0001808105
ROOM IN MY HEART                        MILLER, DEAN                         MIGHTY NICE MUSIC                                   O                         PA0001084252
RUN BABY RUN                            CARUSOE, SCOOTER                     SCRAMBLER MUSIC                                     A                         PA0001766017
RUN LIKE YOU                            LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0000721419
SECOND COMING                           HEMBY, NATALIE                       TILTAWHIRL MUSIC                                    A                         PA0001811478
                                        FLANAGAN, HARLEY FRANCIS /
SEEKERS OF THE TRUTH                    JOSEPH, JOHN                         DREAM CITY MUSIC                                     A                        PA0000532444
SHAGGY DOG                              CARLISLE, CLIFF                      DREAM CITY MUSIC                                     A                        EU0000800659
SHE MET ME                              ISBELL, REID                         TILTAWHIRL MUSIC                                     A                        PA0003711101
SHE'LL BE BREAKING SOMEONE'S HEART IN
SAN ANTONIO                             DILLINGHAM, CRAIG                    TILTAWHIRL MUSIC                                     A                        PA0001211980
SHENANDOAH                              FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                           A                        EU0000272966
SHE'S GOT A LOT ON HER HEART            ANDERSON, AL                         MIGHTY NICE MUSIC                                    O                        PA0000927075
SHY GUY                                 KREKEL, TIM                          MIGHTY NICE MUSIC                                    O                        PA0000892542
SILENT NIGHT                            FORD, ERNEST                         TENNESSEE ERNIE FORD MUSIC                           A                        EU0000546491
SILVER THREADS AMONG THE GOLD           FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                           A                        EU0000769631
SINCE COUNTRY STARTED ROCKIN'           ANDERSON, AL                         MIGHTY NICE MUSIC                                    O                        PA0000871144
                                        BUCKLEY, ROB / FLANAGAN,
SLOW JAM                                HARLEY FRANCIS                       DREAM CITY MUSIC                                     A                       PAu0001686147
SMALL TOWN LOVE                         MORRISON, BOB                        SOUTHERN DAYS MUSIC                                  A                        PA0001760902
                                        MAYHEW, AUBREY /
SO LONG                                 RAINWATER, MARVIN                    DREAM CITY MUSIC                                     A                        EU0000291470
SOLID ROCK                              FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                           A                        EU0000979394




                               Case 3:17-cv-01051 Document 41-1 Page
                                                                 Filed     11/01/17 Page 31 of 64 PageID #: 940
                                                                     30 of 63
                                                                            Exhibit A Musical Compositions

            Composition Title              Bluewater-Controlled Writer(s)              Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
                                         MORRISON, BOB / MACRAE,
SOME LOVE SONGS NEVER DIE                FRED                                 SOUTHERN DAYS MUSIC                                     A                        PA0000077030

                                         BREEDLOVE, PAULA / MACRAE,
SOMEONE MUST BE MISSIN' YOU TONIGHT      FRED / MORRISON, BOB       SOUTHERN DAYS MUSIC                                               A                        PA0000240069
SOMEONE WHO                              MEDIC, DAMON               TOTO TUNES                                                        A                        PA0001149667

                                         ADAMS, ARNIE / MAYHEW,
SOMETHING HE'LL HAVE TO LEARN            AUBREY / PAYCHECK, JOHNNY            DREAM CITY MUSIC                                        A                       PAu0000089975
SOMETHING I CAN DO WITHOUT               MARTIN, AMANDA                       MELODY ROUNDUP MUSIC LLC                                A                        PA0001811476
SOMEWHERE BETWEEN MY HEART AND
GUITAR STRINGS                           DILLINGHAM, CRAIG                    TILTAWHIRL MUSIC                                       A                         PA0001284577
STAND UP FOR LOVE                        ANDERSON, AL                         MIGHTY NICE MUSIC, AL ANDERSONGS                      O&A                        PA0001054063
STANDING WHERE HE FELL                   SMITH, ROBERT GERALD                 MELODY ROUNDUP MUSIC LLC                               A                         PA0001749283
STAR SPANGLED BANNER                     FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                             A                         EU0000158940
STILL SMILIN'                            LITTLE, HEATHER                      TILTAWHIRL MUSIC                                       A                         PA0001753844
SUFFER FOR MY HEART                      ANDERSON, AL                         MIGHTY NICE MUSIC, AL ANDERSONGS                      O&A                        PA0001281597
                                                                              SCRAMBLER MUSIC, MIGHTY NICE MUSIC,
SUNSHINE BABY                            WOOD, CARTER / KREKEL, TIM           GYPSY VILLAGE MUSIC                                   O&A                        PA0001113451
SWEABURG GENERAL STORE                   ELGERSMA, FRED                       CRITTER CITY MUSIC                                     O                         PA0000956610
SWEET AND LOW                            FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                             A                         EU0000769630
SWING LOW SWEET CHARIOT                  FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                             A                         EP0000144203
                                                                              CLASHING PLAIDS, WINNING CIRCLE MUSIC
TABOO                                    MILLER, ALAN                         INC.                                                    A                        PA0001814576

TAIL FEATHERS                            PARKER JR, CHARLES                   DREAM CITY MUSIC, CHARLIE PARKER MUSIC                  A                        EU0000656873

TAKE ME DOWN                             ROBISON, BRUCE                       BRUCE ROBISON MUSIC, TILTAWHIRL MUSIC                   A                        PA0001779599
TAKE MY LIFE AND LET IT BE               FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                              A                        EU0000152342
                                         POLK, TOMMY / LAUDERDALE,
TALKING TEARDROPS                        JIM                                  MIGHTY NICE MUSIC, LAUDERSONGS                        O&A                        PA0001084253
                                         FASCINATO, JACK / FORD,
TELL ME THE OLD OLD STORY                ERNEST                               BAYSHORE MUSIC CORPORATION                              A                        PA0000094484
THAT BOY SURE CAN JUMP A TRAIN           ANDERSON, AL                         MIGHTY NICE MUSIC                                       O                        PA0000927068
THAT DOES IT                             IRWIN, MARK                          SCRAMBLER MUSIC                                         A                        PA0001920034
THAT'S WHAT I'M AFRAID OF                WOOD, CARTER                         SCRAMBLER MUSIC                                         A                       PAu0002368999
THE CRADLE SONG                          FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                              A                        EU0000769624
THE GIRL'S IN LOVE                       ANDERSON, AL                         MIGHTY NICE MUSIC                                       O                        PA0001014738
                                         MORRISON, BOB / HUGHES,
THE HEART IS A GAMBLER                   MICHAEL                              SOUTHERN DAYS MUSIC                                     A                        PA0000590388
                                         FASCINATO, JACK / FORD,
THE HOME OVER THERE                      ERNEST                               BAYSHORE MUSIC CORPORATION                              A                        EU0000608483
THE KEY                                  SCHWARTZ, EDDWARD S.                 HIGH FRONTIER MUSIC                                     A                        PA0000305422
THE LATE AND GREAT ME                    POOVEY, JOE                          DREAM CITY MUSIC                                        A                        EP0000194746
THE LOOK OF A WOMAN IN LOVE              ANDERSON, AL                         MIGHTY NICE MUSIC                                       O                        PA0000966687
THE MAN I AM                             ANDERSON, AL                         MIGHTY NICE MUSIC                                       O                        PA0000991399




                                Case 3:17-cv-01051 Document 41-1 Page
                                                                  Filed     11/01/17 Page 32 of 64 PageID #: 941
                                                                      31 of 63
                                                                       Exhibit A Musical Compositions

           Composition Title              Bluewater-Controlled Writer(s)          Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
THE MINDLESS SIDE OF TOWN               ELGERSMA, FRED                     CRITTER CITY MUSIC                                    O                        PA0000956617
                                        ANDERSON, AL / TATE, SAM /
THE NIGHT WE NEVER MET                  WRIGHT, KATHLEEN                   MIGHTY NICE MUSIC, CRITTER CITY MUSIC                O                         PA0001054770
THE OLD OAKEN BUCKET                    FASCINATO, JACK                    BAYSHORE MUSIC CORPORATION                           A                         EU0000769626
THE ONE THAT DIDN'T GET AWAY            LAUDERDALE, JIM                    LAUDERSONGS, MIGHTY NICE MUSIC                      O&A                        PA0000969682
THE ONES LEFT BEHIND                    WILLIAMS, LONNIE                   PLAID PAJAMAS MUSIC                                  A                         PA0001233503
                                        FLANAGAN, HARLEY FRANCIS /         DREAM CITY MUSIC, PARRIS MAYHEW
THE ONLY ONE                            MAYHEW, PARRIS                     PUBLISHING                                            A                        PA0000532433
                                        HEMBY, NATALIE / HOOD,
THE THINGS YOU LOSE IN LOVE             ADAM / LITTLE, HEATHER             TILTAWHIRL MUSIC                                     A                         PA0001811479
THE WAY I FELL FOR YOU                  ANDERSON, AL                       MIGHTY NICE MUSIC                                    O                         PA0000928437
THERE HE GOES                           VARONE, JOSEPH J                   DREAM CITY MUSIC                                     A                         EU0000733148
THERE IS A FOUNTAIN                     FASCINATO, JACK                    BAYSHORE MUSIC CORPORATION                           A                         EU0000142165
THINGS THAT LOVERS DO                   LEWIS, HUGH X                      DREAM CITY MUSIC                                     A                        PAu0000037879
THINKIN' OUT LOUD                       ANDERSON, AL                       MIGHTY NICE MUSIC                                    O                         PA0000927074
THIS IS MY FATHER'S WORLD               FASCINATO, JACK                    BAYSHORE MUSIC CORPORATION                           A                         EU0000873733
THIS IS THE BIG TIME                    LAUDERDALE, JIM                    LAUDERSONGS, MIGHTY NICE MUSIC                      O&A                        PA0000721414
THIS THING                              HOOD, ADAM                         TILTAWHIRL MUSIC                                     A                         PA0001783903
THREE BIGGEST LIES                      COE, DAVID ALLAN                   DAVID ALLAN COE MUSIC                                O                         PA0000114767
THREE WAY CONVERSATION                  LAUDERDALE, JIM                    LAUDERSONGS, MIGHTY NICE MUSIC                      O&A                        PA0000721422
TOO SAD FOR LAUGHIN'                    MORRISON, BOB                      SOUTHERN DAYS MUSIC                                  A                         PA0000061601
TOUTE LA NUIT                           CROWLEY, J.C.                      MIGHTY NICE MUSIC                                    O                         PA0000350385
TRUST                                   LAUDERDALE, JIM                    MIGHTY NICE MUSIC                                    O                         PA0000969675
TRY NOT TO BE SO LONELY                 LAUDERDALE, JIM                    LAUDERSONGS, MIGHTY NICE MUSIC                      O&A                        PA0001093295
TWELVE DAYS OF CHRISTMAS                FASCINATO, JACK                    BAYSHORE MUSIC CORPORATION                           A                         EU0000896008
                                        FASCINATO, JACK / FORD,
UNCLOUDED DAY                           ERNEST                             BAYSHORE MUSIC CORPORATION                            A                        PA0000255465
UNDERSTANDING EVERYTHING                LAUDERDALE, JIM                    MIGHTY NICE MUSIC                                     O                        PA0000969683
UNNATURAL                               KREKEL, TIM                        MIGHTY NICE MUSIC                                     O                        PA0000970336
UP ON A HOUSE TOP                       FASCINATO, JACK                    BAYSHORE MUSIC CORPORATION                            A                        EU0000276317
UP TO NO GOOD                           HEMBY, NATALIE                     TILTAWHIRL MUSIC                                      A                        PA0001800178
USED TO BE YOUR SUNSHINE                HOOD, ADAM                         TILTAWHIRL MUSIC                                      A                        PA0001783900
WALKING PAPERS                          HULLETT, BILL                      MIGHTY NICE MUSIC                                     O                        PA0000933958
WATCH THE STARS COME OUT                ANDERSON, AL                       BASH MUSIC                                            O                        PA0001030733
WAVE THE OCEAN, WAVE THE SEA            O'BRIEN, TIM                       HOWDY SKIES MUSIC                                     A                        PA0001839966
WE GATHER TOGETHER                      FASCINATO, JACK                    BAYSHORE MUSIC CORPORATION                            A                        EU0000768630
WE'RE MARCHING TO ZION                  FASCINATO, JACK                    BAYSHORE MUSIC CORPORATION                            A                        EU0000805533
WHAT CAN I DO                           LEWIS, HUGH X                      DREAM CITY MUSIC                                      A                       PAu0000087374
                                        LANDON, CHRIS / MURPHY,
WHAT I WOULD DO                         JESSICA TARYN                      STREET SINGER MUSIC                                   A                        PA0001151674
WHAT IN THE WORLD                       MECKEL, NATHAN                     CLASHING PLAIDS                                       A                        PA0001839330

WHAT YOU GONNA DO WITH THAT             MALLETTE, WANDA /
BEAUTIFUL BODY                          MORRISON, BOB / RYAN, PATTI        SOUTHERN DAYS MUSIC                                   A                        PA0000260766
WHAT YOU MEANT                          COPELAND, DREW                     TILTAWHIRL MUSIC                                      A                        PA0001911823




                               Case 3:17-cv-01051 Document 41-1 Page
                                                                 Filed     11/01/17 Page 33 of 64 PageID #: 942
                                                                     32 of 63
                                                                           Exhibit A Musical Compositions

            Composition Title             Bluewater-Controlled Writer(s)              Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #

WHEN THE LIGHT IS GONE                   HUGHES, JEDD MICHAEL                BAMBATOWN PUBLISHING, TILTAWHIRL MUSIC                  A                        PA0001811477
WHEN YOU AND I WERE YOUNG MAGGIE         FASCINATO, JACK                     BAYSHORE MUSIC CORPORATION                              A                        EU0000769629
WHILE SHEPHERDS WATCHED THEIR
FLOCKS                                   FASCINATO, JACK                     BAYSHORE MUSIC CORPORATION                              A                        EU0000059152
WHIPS AND THINGS                         COE, DAVID ALLAN                    DAVID ALLAN COE MUSIC                                   O                        PA0000114768
WHITER THAN SNOW                         FASCINATO, JACK                     BAYSHORE MUSIC CORPORATION                              A                        EU0000768639

WILD GIRLS                               ANDERSON, AL / ALFORD, KEN          MIGHTY NICE MUSIC                                      O                         PA0000991338
WITHOUT YOU HERE, IT'S NOT THE SAME      LAUDERDALE, JIM                     LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0000799196
WONDERFUL PEACE                          FASCINATO, JACK                     BAYSHORE MUSIC CORPORATION                             A                         EU0000928249
WONDROUS LOVE                            FASCINATO, JACK                     BAYSHORE MUSIC CORPORATION                             A                         EU0000582968
YES HE'S GONE                            MOSKATEL, JOAN                      DREAM CITY MUSIC                                       A                         EP0000175210
YESTERDAY'S NEWS                         BRADBERRY, GORDON                   MIGHTY NICE MUSIC                                      O                         PA0001032688
                                         FLANAGAN, HARLEY FRANCIS /
YOU KNOW IT'S TRUE                       MAYHEW, PARRIS                      DREAM CITY MUSIC                                        A                       PAu0001662396
YOU SMILE                                SMITH, ROBERT GERALD                MELODY ROUNDUP MUSIC LLC                                A                        PA0001681688
                                         MACRAE, FRED / MORRISON,
YOU WERE THERE                           BOB                                 SOUTHERN DAYS MUSIC                                    A                         PA0000116824
YOU'RE TEMPTING ME                       LAUDERDALE, JIM                     LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0000799199

(HOW CAN I) END IT LIKE THAT             ROBISON, BRUCE                      TILTAWHIRL MUSIC, BRUCE ROBISON MUSIC                   A                        PA0000875658
(YOU'RE MY) APHRODISIAC                  CROWLEY, J.C.                       MIGHTY NICE MUSIC                                       O                        PA0000202485
                                                                             MELODY ROUNDUP MUSIC LLC, SONGS OF
10,000 CANDLES                           WADE, ROGER ALAN                    CHANDESSICA                                             A                        PA0002006234
10,000 PIECES                            GAY, SAM                            MIGHTY NICE MUSIC                                       O                        PA0001114149

12 BAR BLUES                             ROBISON, BRUCE                      TILTAWHIRL MUSIC, BRUCE ROBISON MUSIC                  A                         PA0000952922
40 DAYS AND 40 NIGHTS                    BRANTLEY, RICK                      SCRAMBLER MUSIC                                        A                         PA0001803250
A BETTER WORD FOR LOVE                   ANDERSON, AL                        BASH MUSIC                                             O                         PA0000661961
A BIBLE AND A BELT                       COLEMAN, PHILLIP                    GRAVITRON MUSIC                                        A                         PA0001823072
A CHILD OF THE KING                      FASCINATO, JACK                     BAYSHORE MUSIC CORPORATION                             A                         EU0000979395
A COLD ONE CAN'T CURE                    NORTHRUP, JOHN                      WINNING CIRCLE MUSIC, INC.                             A                         PA0001386411
A COWBOY WAS BORN                        INGERSOLL, CLINT                    TILTAWHIRL MUSIC                                       A                         PA0001192535
A DOLL LIKE YOU                          ANDERSON, AL                        MIGHTY NICE MUSIC                                      O                         PA0000871093
A LITTLE BIT OF BAD                      ANDERSON, AL                        MIGHTY NICE MUSIC                                      O                         PA0000734919
A LITTLE BIT OF THIS                     ANDERSON, AL                        MIGHTY NICE MUSIC, AL ANDERSONGS                      O&A                        PA0001055422
A LITTLE GASOLINE                        MILLER, DEAN                        MIGHTY NICE MUSIC                                      O                         PA0001010625
A LITTLE LESS LONELY                     MACK, WILLIE                        WINNING CIRCLE MUSIC, INC.                             A                         PA0001590083
A NEW MOON, AN OLD FLAME AND YOU         EMERSON, ERIC                       SOUTHERN DAYS MUSIC                                    A                         PA0000485657

A PLACE CALLED HOME                      RICHEY, KIM                         MIGHTY NICE MUSIC, WAIT NO MORE MUSIC                 O&A                        PA0001117605
A PLACE IN THE COUNTRY                   MORRISON, BOB                       SOUTHERN DAYS MUSIC                                    A                         PA0000223612
                                         KNIGHT, CHRIS / ELGERSMA,
A PRETTY GOOD GUY                        FRED                                BASH MUSIC, CRITTER CITY MUSIC                          O                        PA0001051655
A WAVE OF YOUR HAND                      ANDERSON, AL                        MIGHTY NICE MUSIC                                       O                        PA0000895616




                                Case 3:17-cv-01051 Document 41-1 Page
                                                                  Filed     11/01/17 Page 34 of 64 PageID #: 943
                                                                      33 of 63
                                                                            Exhibit A Musical Compositions

            Composition Title              Bluewater-Controlled Writer(s)           Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
                                         SAXELL, MICHAEL / WAY,               MIGHTY NICE MUSIC, BASH MUSIC, COOTERMO
A WAY WITH A BROKEN HEART                PATTY / LAWLER, MIKE                 MUSIC                                              O&A                        PA0000707298
ADESTE FIDELES                           FORD, ERNEST                         TENNESSEE ERNIE FORD MUSIC                          A                         EU0000546494
                                         BRADBERRY, GORDON /
AFTER THE MARDI GRAS                     ANDERSON, AL                         MIGHTY NICE MUSIC                                    O                        PA0000847599
                                         CARUSOE, SCOOTER / NAIL,
AGAIN                                    DAVID                                SCRAMBLER MUSIC                                      A                        PA0001741663
                                         FASCINATO, JACK / FORD,
AIN'T GONNA STUDY WAR NO MO              ERNEST                               BAYSHORE MUSIC CORPORATION                          A                         EP0000144204
AIN'T IT JUST LIKE A WOMAN               ANDERSON, AL                         MIGHTY NICE MUSIC, AL ANDERSONGS                   O&A                        PA0000986921
AIN'T THE END OF THE WORLD               JOHNSON, JILL                        MIGHTY NICE MUSIC                                   O                         PA0001203543
ALCOHOL AND PILLS                        ELGERSMA, FRED                       CRITTER CITY MUSIC                                  O                         PA0000885739
ALCOHOL OF FAME                          THOMAS, MOLLY                        DREAM CITY MUSIC                                    A                         PA0000002444
ALL ABOARD                               STEFL, CHARLEY                       CRITTER CITY MUSIC                                  O                         PA0001055419
ALL ABOUT YOU                            ANDERSON, AL                         MIGHTY NICE MUSIC, AL ANDERSONGS                   O&A                        PA0001016203
ALL AMERICAN BOY                         BARE, BOBBY                          DREAM CITY MUSIC                                    A                         EU0000932247
ALL KINDS OF KINDS                       COLEMAN, PHILLIP                     GRAVITRON MUSIC                                     A                         PA0001055420
ALL MIXED UP                             ROBISON, BRUCE                       TILTAWHIRL MUSIC                                    A                         PA0001265213

ALL OVER BUT THE CRYIN'                  ROBISON, BRUCE                       TILTAWHIRL MUSIC, BRUCE ROBISON MUSIC                A                        PA0001647560
                                         FLOWERS, DOUG / SMITH,
ALL OVER ME                              ROBERT GERALD                        MELODY ROUNDUP MUSIC LLC                            A                         PA0002002507
ALL ROADS LEAD BACK TO YOU               LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0001114150
ALL SHE EVER REALLY WANTED               ANDERSON, AL                         MIGHTY NICE MUSIC                                   O                         PA0001011612

ALL THAT'S LEFT                          CARUSOE, SCOOTER                     ABBOTTS CREEK MUSIC, SCRAMBLER MUSIC                 A                        PA0001815990
                                         MECKEL, NATHAN / MILLER,
ALL THE LITTLE SAINTS                    ALAN                                 TOTO TUNES, WINNING CIRCLE MUSIC INC.               A                         PA0001075008
ALL THE RAGE IN PARIS                    LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0001064893
ALL YOU EVER DO IS BRING ME DOWN         ANDERSON, AL                         MIGHTY NICE MUSIC                                   O                         PA0000763376
ALLIGATOR GAR                            HULLETT, BILL                        MIGHTY NICE MUSIC                                   O                         PA0000933951
ALMOST PERSUADED                         FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                          A                         EU0000979398
ALOHA OE                                 FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                          A                         EU0000955470

ALONG THE WAY                            CARUSOE, SCOOTER                     ABBOTTS CREEK MUSIC, SCRAMBLER MUSIC                A                         PA0001762483
ALONG WITH ME                            COTTRELL, JEREMY                     MELODY ROUNDUP MUSIC LLC                            A                         PA0001905100
ALRIGHT NOW                              SAENZ, ARMANDO                       SCRAMBLER MUSIC                                     A                         PA0001868723
AM I ONLY DREAMIN' THIS                  LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0000822647
AND THAT'S A LOT                         LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0000822646
ANGEL'S SHARE                            KREKEL, TIM                          MIGHTY NICE MUSIC                                   O                         PA0001321256

ANGRY ALL THE TIME                       ROBISON, BRUCE                       TILTAWHIRL MUSIC, BRUCE ROBISON MUSIC                A                        PA0000952921
                                         COLEHOUR, DAN / GRISSOM,
ANOTHER MAN'S CRIME                      DAVID                                SCRAMBLER MUSIC, TILTAWHIRL MUSIC                   A                         PA0001727474
ANOTHER PRETTY COUNTRY SONG              COE, DAVID ALLAN                     CAPTIVE MUSIC                                       O                         EU0000436796
ANOTHER SINNER'S PRAYER                  LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0001010632




                                Case 3:17-cv-01051 Document 41-1 Page
                                                                  Filed     11/01/17 Page 35 of 64 PageID #: 944
                                                                      34 of 63
                                                                           Exhibit A Musical Compositions

            Composition Title             Bluewater-Controlled Writer(s)              Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #

                                         MATHENY, LOGAN / MATHENY,
ANOTHER SUMMER                           SKIP / MATHENY, TIMSHEL             BILL AND MARY MUSIC, SCRAMBLER MUSIC                   A                         PA0001809924
ANOTHER TRIP AROUND THE SUN              ANDERSON, AL                        MIGHTY NICE MUSIC, AL ANDERSONGS                      O&A                        PA0000976502
ANYMORE GOOD LOVIN'                      ROBISON, BRUCE                      TILTAWHIRL MUSIC                                       A                         PA0000976443
ANYONE BUT ME                            ROBISON, BRUCE                      TILTAWHIRL MUSIC                                       A                         PA0001064889
ANYTHING                                 SELBY, MONTE                        STREET SINGER MUSIC                                    A                         PA0001597133
ANYTHING BUT MINE                        CARUSOE, SCOOTER                    SCRAMBLER MUSIC                                        A                         PA0001224817
ANYWAY                                   LAUDERDALE, JIM                     LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0000926882

ANYWHERE BUT HERE                        ROBISON, BRUCE                      BRUCE ROBISON MUSIC, TILTAWHIRL MUSIC                   A                        PA0001596522
APARTMENT NUMBER 9                       PAYCHECK, JOHNNY                    DREAM CITY MUSIC                                        A                        EU0000995077
ARCHITECTS OF CHANGE                     SELBY, MONTE                        STREET SINGER MUSIC                                     A                        PA0001228950
ARE WE ALMOST THERE                      MILLER, ALAN                        TOTO TUNES, WINNING CIRCLE MUSIC INC.                   A                        PA0001092341
ARE YOU MAN ENOUGH                       LIVSEY, BILLY                       QUINCE MUSIC LTD.                                       A                        PA0000153753
ARM CANDY                                HEMBY, NATALIE                      TILTAWHIRL MUSIC                                        A                        PA0001858882

ARNETTA                                  PAYNE, CECIL                        DREAM CITY MUSIC, CHARLIE PARKER MUSIC                 A                         EU0000446253
ASTROTURF                                ORENSTEIN, JENNIFER                 BASH MUSIC                                             O                         PA0001088846
AWAKE NOW                                LAUDERDALE, JIM                     SKY-EYE MUSIC, CRITTER CITY MUSIC                     O&A                        PA0001210278
                                         NAIL, DAVID / CARUSOE,              ABBOTTS CREEK MUSIC TWO, SCRAMBLER
BABIES                                   SCOOTER                             MUSIC                                                   A                        PA0002051133
BABY BLUE                                ANDERSON, AL                        MIGHTY NICE MUSIC                                       O                        PA0000909263
BABY COME BACK                           CROWLEY, J.C.                       MIGHTY NICE MUSIC                                       O                        PA0000012030

                                         MATHENY, LOGAN / MATHENY,
BABY'S GOT IT IN THE GENES               SKIP / MATHENY, TIMSHELL  BILL AND MARY MUSIC, SCRAMBLER MUSIC                             A                         PA0001809935
BAD BUNCH OF KIN                         SELBY, MONTE              STREET SINGER MUSIC                                              A                         PA0001011435
BAD CASE OF MISSING YOU                  ANDERSON, AL              MIGHTY NICE MUSIC, AL ANDERSONGS                                O&A                        PA0001004106

BAD GIRL BLUES                           ROBISON, BRUCE                      TILTAWHIRL MUSIC, BRUCE ROBISON MUSIC                   A                        PA0001800189
BAD OBSESSION                            ARKEEN, AARON WEST                  WEST ARKEEN MUSIC                                       A                        PA0000541408
BAGGAGE CLAIM                            HEMBY, NATALIE                      TILTAWHIRL MUSIC                                        A                        PA0001785279
BAMA BREEZE                              IRWIN, MARK                         SCRAMBLER MUSIC                                         A                        PA0001348758
BANG, BANG, BANG                         ANDERSON, AL                        MIGHTY NICE MUSIC                                       O                        PA0000847596
BANGIN' AWAY                             KNIGHT, CHRIS                       BASH MUSIC                                              O                        PA0001199855
BAR BAND                                 HOOD, ADAM                          TILTAWHIRL MUSIC                                        A                        PA0001982387
BATTLE SCAR                              SAENZ, ARMANDO                      SCRAMBLER MUSIC                                         A                        PA0001910940
                                         SELBY, MONTE / SILVER,
BEAT OF A DIFFERENT MARCHER              DEBBIE                              STREET SINGER MUSIC, TOTO TUNES                         A                        PA0001114157
BEAUTIFUL DAY                            MILLER, ALAN                        TOTO TUNES, WINNING CIRCLE MUSIC INC.                   A                        PA0001197569
BECAUSE OF YOU                           MILLER, ALAN                        TOTO TUNES, WINNING CIRCLE MUSIC INC.                   A                        PA0001213305
BECAUSE YOU TEACH                        SELBY, MONTE                        STREET SINGER MUSIC                                     A                        PA0001270819
BECKY'S BIBLE                            KNIGHT, CHRIS                       BASH MUSIC                                              O                        PA0001088854
BED OF ASHES                             ROBISON, BRUCE                      TILTAWHIRL MUSIC                                        A                        PA0001064882




                                Case 3:17-cv-01051 Document 41-1 Page
                                                                  Filed     11/01/17 Page 36 of 64 PageID #: 945
                                                                      35 of 63
                                                                           Exhibit A Musical Compositions

            Composition Title             Bluewater-Controlled Writer(s)              Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #

BEFORE THESE WALLS WERE BLUE             CARUSOE, SCOOTER                    ABBOTTS CREEK MUSIC, SCRAMBLER MUSIC                    A                        PA0001815989

BELIEVE ME BABY (I LIED)                 RICHEY, KIM                         MIGHTY NICE MUSIC, WAIT NO MORE MUSIC                 O&A                        PA0000810491
BEST THING I NEVER HAD                   KREKEL, TIM                         MIGHTY NICE MUSIC                                      O                         PA0001113455
                                         GOODMAN, LADY / CARUSOE,            MIDWEST MIDNIGHT MUSIC, SCRAMBLER
BETTER AS A MEMORY                       SCOOTER                             MUSIC, ABBOTTS CREEK MUSIC                             A                         PA0001741321
BETTER BELIEVE I WOULD                   LAUDERDALE, JIM                     LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0000976442
BETTER IN THE FALL                       COBB, BRENT                         TILTAWHIRL MUSIC                                       A                         PA0002049661
BIG DEAL                                 ANDERSON, AL                        MIGHTY NICE MUSIC, AL ANDERSONGS                      O&A                        PA0000977100
                                         FASCINATO, JACK / FORD,
BILL BAILEY                              ERNEST                              BAYSHORE MUSIC CORPORATION                              A                        EU0000661070
BLACK AND BLUE                           BAIRD, ROB                          TILTAWHIRL MUSIC                                        A                        PA0001803244
BLACK AND WHITE                          SELBY, MONTE                        STREET SINGER MUSIC                                     A                        PA0001270819
                                         FORD, ERNEST / FASCINATO,           TENNESSEE ERNIE FORD MUSIC, BAYSHORE
BLACK EYED SUSIE                         JACK                                MUSIC CORPORATION                                       A                        EU0000568013
BLACK RIBBONS                            PETERS, GRETCHEN                    CIRCUS GIRL MUSIC                                       A                        PA0002039732
                                         WHITTERS, HAILEY / ADAM             CASA DE CASA MUSIC, SCRAMBLER MUSIC,
BLACK SHEEP                              WRIGHT                              TILTAWHIRL MUSIC                                        A                        PA0002049594
BLACKBIRD SMILE                          MECKEL, NATHAN                      TOTO TUNES                                              A                        PA0001075007
BLACKBIRDS                               PETERS, GRETCHEN                    CIRCUS GIRL MUSIC                                       A                        PA0002039732
BLAME IT ON ME                           ROBISON, BRUCE                      TILTAWHIRL MUSIC                                        A                        PA0001064883
                                         KNIGHT, CHRIS / ELGERSMA,
BLAME ME                                 FRED                                BASH MUSIC                                              O                        PA0001088859
BLUE                                     KREKEL, TIM                         MIGHTY NICE MUSIC                                       O                        PA0000970327
                                                                             CLASHING PLAIDS, WINNING CIRCLE MUSIC
BLUE SUNRISE                             MILLER, ALAN                        INC.                                                    A                        PA0001310832
BLUE TICK HOUND                          ELGERSMA, FRED                      CRITTER CITY MUSIC                                      O                        PA0000969658

BLUES                                    YOUNG, LESTER                       DREAM CITY MUSIC, CHARLIE PARKER MUSIC                  A                        EU0000680617
BOAT UP THE RIVER                        O'BRIEN, TIM                        CORNBREAD NATION                                        A                        PA0001589581
                                         FLOWERS, DOUG / SMITH,
BORN AGAIN                               ROBERT GERALD                       MELODY ROUNDUP MUSIC LLC                               A                         PA0001681668
BORN BELIEVERS                           LAUDERDALE, JIM                     LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0001056250

BREAK YOU DOWN                           RICHEY, KIM                         MIGHTY NICE MUSIC, WAIT NO MORE MUSIC                 O&A                        PA0001233414
BREAKAWAY SPEED                          SAENZ, ARMANDO                      SCRAMBLER MUSIC                                        A                         PA0001910938
BREAKFAST IN NEW YORK                    JOHNSON, JILL                       MIGHTY NICE MUSIC                                      O                         PA0001203538
BREAKING IN MY BROKEN HEART              MILLER, DEAN                        MIGHTY NICE MUSIC                                      O                         PA0000942267
BRING THE HARVEST HOME                   KNIGHT, CHRIS                       BASH MUSIC                                             O                         PA0000741057
                                         FASCINATO, JACK / FORD,
BRINGING IN THE SHEAVES                  ERNEST                              BAYSHORE MUSIC CORPORATION                              A                        EP0000139326
BROKEN GLASS                             MECKEL, NATHAN                      CLASHING PLAIDS                                         A                        PA0003717097
BROKEN PLOW                              KNIGHT, CHRIS                       BASH MUSIC                                              O                        PA0001199856
                                                                             ABBOTTS CREEK MUSIC TWO, SCRAMBLER
BRONCO                                   CARUSOE, SCOOTER                    MUSIC                                                   A                        PA0002051138




                                Case 3:17-cv-01051 Document 41-1 Page
                                                                  Filed     11/01/17 Page 37 of 64 PageID #: 946
                                                                      36 of 63
                                                                        Exhibit A Musical Compositions

            Composition Title          Bluewater-Controlled Writer(s)            Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
BUFFALO SKINNERS                     O'BRIEN, TIM                         CORNBREAD NATION                                      A                        PA0001589583
BY THE TIME YOU SAID GOODBYE         MILLER, ALAN                         TOTO TUNES                                            A                        PA0001088921
CALICO                               LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                         PA0000969673
CALLIN' ANYONE                       MECKEL, NATHAN                       TOTO TUNES                                            A                        PA0001075007
                                     SELBY, MONTE / SORTORE,
CAN WE HANDLE IT?                    STEPHANIE                            STREET SINGER MUSIC                                  A                         PA0001596415
CAN YOU HEAR ME DOWN THE HILLSIDE    LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                      O&A                        PA0001111229

CAN'T FIND THE WORDS                 RICHEY, KIM                          MIGHTY NICE MUSIC, WAIT NO MORE MUSIC               O&A                        PA0000705723
CAN'T GET THERE FROM HERE            ROBISON, BRUCE                       TILTAWHIRL MUSIC                                     A                         PA0001064881

CAN'T LOSE THEM ALL                  RICHEY, KIM                          MIGHTY NICE MUSIC, WAIT NO MORE MUSIC               O&A                        PA0000972146
CAN'T STOP RUNNING                   BAIRD, ROB                           TILTAWHIRL MUSIC                                     A                         PA0001803243
CARRY ME                             STANSBERRY, JEFF                     MELODY ROUNDUP MUSIC LLC                             A                        PAu0003460308

                                     CARUSOE, SCOOTER / HUGHES,           ABBOTTS CREEK MUSIC, SCRAMBLER MUSIC,
CATCH YOU WHILE I CAN                JEDD MICHAEL                         TILTAWHIRL MUSIC, BAMBATOWN MUSIC                     A                        PA0001795597
CATHERINE                            NAIL, DAVID                          SCRAMBLER MUSIC                                       A                        PA0001792701
                                     ROBISON, BRUCE /
CAUSE I DREAM TOO                    LAUDERDALE, JIM                      MIGHTY NICE MUSIC, LAUDERSONGS                      O&A                        PA0000952924
CHAMPAGNE PROMISE                    NAIL, DAVID                          SCRAMBLER MUSIC                                      A                         PA0002051131
CHARMED                              LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                      O&A                        PA0000767298
CHEATIN'                             SCHLITZ, DON                         SCRAMBLER MUSIC                                      A                         PA0001316456
CHERRY FLOWER                        WAGNER, ROGER                        BAYSHORE MUSIC CORPORATION                           A                         EU0000914895
CLARA MAY                            O'BRIEN, TIM                         HOWDY SKIES MUSIC                                    A                         PA0000904500
                                     CARUSOE, SCOOTER / NAIL,
CLOUDS                               DAVID                                ABBOTTS CREEK MUSIC, SCRAMBLER MUSIC                  A                        PA0001741664
COCTAIL MOLOTOV                      OCHMAN, GRZEGORZ                     QAP SONGS                                             A                           PENDING
COLD GRAY KENTUCKY MORNING           KREKEL, TIM                          MIGHTY NICE MUSIC                                     O                        PA0000926887
COLORADO                             SAENZ, ARMANDO                       SCRAMBLER MUSIC                                       A                        PA0001910946
COME BACK TO ME                      CROWLEY, J.C.                        MIGHTY NICE MUSIC                                     O                        PA0001386408
COME ON HOME AND HAVE YOUR NEXT
AFFAIR WITH ME                       COLE, BILLY C / LEWIS, HUGH X.       DREAM CITY MUSIC                                     A                        PAu0000037881
COME ON OUT                          CROWLEY, J.C.                        MIGHTY NICE MUSIC                                    O                         PA0000015620
COMPLICATED WOMAN                    SMITH, ROBERT GERALD                 MELODY ROUNDUP MUSIC LLC                             A                         PA0001649377
COSMIC CHAIN GANG                    O'KEEFE, DANNY                       MIGHTY NICE MUSIC, BICAMERAL SONGS                  O&A                        PA0001117612
                                     FASCINATO, JACK / FORD,
COUNT YOUR BLESSINGS                 ERNEST                               BAYSHORE MUSIC CORPORATION                           A                         EP0000139316
COURAGEOUS                           SHAWE, DOUGLAS                       APOCALYPSO MUSIC                                     A                        PAU003735989
COWBOY CLICHÉ                        HULTQUIST, DERIK                     SCRAMBLER MUSIC                                      A                         PA0002049604
COWBOY UP                            SALACUSE, MICHAEL                    MIGHTY NICE MUSIC                                    O                         PA0001348763
CRASH LAND                           MECKEL, NATHAN                       TOTO TUNES                                           A                         PA0001075007
CRAZY PEG                            LAUDERDALE, JIM                      CRITTER CITY MUSIC, SKY-EYE MUSIC                   O&A                        PA0001229102
CROWS                                SAENZ, ARMANDO                       SCRAMBLER MUSIC                                      A                         PA0001869380
CRUCIFIXION                          GREGORY, CLINTON                     MELODY ROUNDUP MUSIC LLC                             A                        PAu0003460310
CRY ON THE SHOULDER OF THE ROAD      KREKEL, TIM                          MIGHTY NICE MUSIC                                    O                         PA0000763378




                            Case 3:17-cv-01051 Document 41-1 Page
                                                              Filed     11/01/17 Page 38 of 64 PageID #: 947
                                                                  37 of 63
                                                                        Exhibit A Musical Compositions

           Composition Title           Bluewater-Controlled Writer(s)            Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
DADDY WAS A GOD FEARIN' FARMER       COE, DAVID ALLAN                     CAPTIVE MUSIC                                         O                        EU0000576163
DANCE FOR DADDY                      FELTON, GERALD                       MIGHTY NICE MUSIC                                     O                        PA0001102005
DARK ANGEL                           PETERS, GRETCHEN                     CIRCUS GIRL MUSIC                                     A                        PA0001821711

DAYS GO BY                           ROBISON, BRUCE                       BRUCE ROBISON MUSIC, TILTAWHIRL MUSIC                 A                        PA0001647544

DEAR PEOPLE                          PAYNE, CECIL                         DREAM CITY MUSIC, CHARLIE PARKER MUSIC                A                        EU0000673175
DEEP END                             MECKEL, NATHAN                       TOTO TUNES                                            A                        PA0000978833
DESIRE                               RICHEY, KIM                          MIGHTY NICE MUSIC                                     O                        PA0000747516
DESPERATE TIMES                      HOOD, ADAM                           TILTAWHIRL MUSIC                                      A                        PA0001986669
DESPERATELY                          ROBISON, BRUCE                       TILTAWHIRL MUSIC                                      A                        PA0000952923
DEVIL MAY CARE                       ROBISON, BRUCE                       TILTAWHIRL MUSIC                                      A                        PA0001064884
                                     FASCINATO, JACK / FORD,
DID YOU THINK TO PRAY                ERNEST                               BAYSHORE MUSIC CORPORATION                           A                         EP0000155710
DIESEL, DIESEL, DIESEL               LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                      O&A                        PA0000826690
DIFFERENT KIND OF LIGHTNING          LAUDERDALE, JIM                      SKY-EYE MUSIC, CRITTER CITY MUSIC                   O&A                        PA0001210272
DO THE RIGHT THING                   LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                      O&A                        PA0000789875
DO YOU LIKE IT                       LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                      O&A                        PA0000822645
DOGWOOD                              COBB, BRENT                          TILTAWHIRL MUSIC                                     A                         PA0001915235
DOIN' TIME IN BAKERSFIELD            LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                      O&A                        PA0000809173
                                     HUPP, DEBBIE / MACRAE, FRED /
DON'T CALL HIM A COWBOY              MORRISON, BOB                        SOUTHERN DAYS MUSIC                                   A                        PA0000230950

DON'T CALL IT LOVE                   ROBISON, BRUCE                       TILTAWHIRL MUSIC, BRUCE ROBISON MUSIC                A                         PA0001647564
DON'T FORGET TO WRITE                BUCHANAN, PAT                        CRITTER CITY MUSIC                                   O                         PA0001114166
DON'T GIVE UP ON US                  CROWLEY, J.C.                        MIGHTY NICE MUSIC                                    O                         PA0000120110
DON'T IT                             COBB, BRENT                          TILTAWHIRL MUSIC                                     A                         PA0001939278
DON'T LEAVE YOUR LIGHT LOW           LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                      O&A                        PA0000822648

DON'T LET IT GO TO YOUR HEART        ROBISON, BRUCE                       TILTAWHIRL MUSIC, BRUCE ROBISON MUSIC                 A                        PA0000875662
DON'T LET IT HIT YA                  LITTLE, HEATHER                      TILTAWHIRL MUSIC                                      A                        PA0001833633

DON'T LET ME DOWN EASY               RICHEY, KIM                          MIGHTY NICE MUSIC, WAIT NO MORE MUSIC               O&A                        PA0000977713
DON'T MAKE ME COME OVER THERE AND    WOOD, CARTER / LAUDERDALE,           SCRAMBLER MUSIC, LAUDERSONGS, MIGHTY
LOVE YOU                             JIM                                  NICE MUSIC                                          O&A                        PA0001039770
                                     MALLETTE, WANDA /
DON'T MAKE ME DREAM                  MORRISON, BOB                        SOUTHERN DAYS MUSIC                                   A                        PA0000125140

DON'T MESS AROUND WITH MY LOVE       GEE, MATTHEW                         DREAM CITY MUSIC, CHARLIE PARKER MUSIC                A                        EU0000722222
DON'T PICK IT UP                     COBB, BRENT                          TILTAWHIRL MUSIC                                      A                        PA0002051074
                                     TATE, SAM / WRIGHT,
DON'T RUIN IT FOR THE REST OF US     KATHLEEN                             GRAVITRON MUSIC                                       A                        PA0001245135
DON'T SAY GOODNIGHT, SAY GOOD        MALLETTE, WANDA / RYAN,
MORNING                              PATTI                                SOUTHERN DAYS MUSIC                                   A                        PA0000135488
DON'T SHED A TEAR                    SCHWARTZ, EDWARD S.                  HIGH FRONTIER MUSIC                                   A                        PA0000359445




                            Case 3:17-cv-01051 Document 41-1 Page
                                                              Filed     11/01/17 Page 39 of 64 PageID #: 948
                                                                  38 of 63
                                                                      Exhibit A Musical Compositions

             Composition Title       Bluewater-Controlled Writer(s)              Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
DON'T STOP (WE'RE JUST GETTING
STARTED)                            ANDERSON, AL                        MIGHTY NICE MUSIC, AL ANDERSONGS                      O&A                        PA0000947989
DON'T TELL MY WIFE                  OVERBY, DICK                        DREAM CITY MUSIC                                       A                         EP0000204573
DON'T WANNA BE THAT GIRL            JOHNSON, JILL                       MIGHTY NICE MUSIC                                      O                         PA0001287830

DON'T YOU EVER CALL MY NAME         ROBISON, BRUCE                      TILTAWHIRL MUSIC, BRUCE ROBISON MUSIC                   A                        PA0000875663
DOWN THE RIVER                      KNIGHT, CHRIS                       BASH MUSIC                                              O                        PA0001088856
DOWNTIME                            COLEMAN, PHILLIP                    GRAVITRON MUSIC                                         A                        PA0000978612

DREAMS AND GASOLINE                 BRANTLEY, RICK / BARID, ROB         SCRAMBLER MUSIC, TILTAWHIRL MUSIC                       A                        PA0001803241
                                    PHILLIPS, STONEY LA RUE /           ACBM MUSIC, TILTAWHIRL MUSIC, SCRAMBLER
DRESSES                             SAENZ, ARMANDO                      MUSIC                                                   A                        PA0001834780
                                                                        ASH STREET PUBLISHING, RICHARDSON-
DRINK MYSELF SINGLE                 HOLMES, MONTY                       ZULEGER PUBLISHING                                      A                        PA0001834771
DRIVIN' ALL NIGHT LONG              ROBISON, BRUCE                      TILTAWHIRL MUSIC                                        A                        PA0000957655

                                    MATHENY, LOGAN / MATHENY,
DRIVING AT MORNING                  SKIP / MATHENY, TIMSHEL             BILL AND MARY MUSIC, SCRAMBLER MUSIC                    A                        PA0001809924
DUST BOWL SUN                       MECKEL, NATHAN                      TOTO TUNES                                              A                        PA0001075007
DUST DEVIL'S WALTZ                  ALFORD, KEN                         MIGHTY NICE MUSIC                                       O                        PA0000970405
DUSTY                               ELGERSMA, FRED                      CRITTER CITY MUSIC                                      O                        PA0001249786
EACH OTHER                          MILLER, ALAN                        TOTO TUNES, WINNING CIRCLE MUSIC INC.                   A                        PA0001088922

ECHOES OF LOVE                      KREKEL, TIM / RICHEY, KIM           MIGHTY NICE MUSIC, WAIT NO MORE MUSIC                 O&A                        PA0000705725

EL DORADO                           ROBISON, BRUCE                      BRUCE ROBISON MUSIC, TILTAWHIRL MUSIC                   A                        PA0001968768
EL RORRO                            WAGNER, ROGER                       BAYSHORE MUSIC CORPORATION                              A                        EU0000914894
END LIKE THAT                       ROBISON, BRUCE                      BRUCE ROBISON MUSIC                                     A                        PA0000875658

ENDLESS SUMMER                      HUGHES, JEDD MICHAEL                BAMBATOWN PUBLISHING, TILTAWHIRL MUSIC                 A                         PA0001800186
ENTERTAINING ANGELS                 MACK, WILLIE                        WINNING CIRCLE MUSIC, INC.                             A                         PA0001805225
ETERNAL                             LAUDERDALE, JIM                     LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0001088671
EVEN A COWBOY CAN DREAM             ALFONSO, BARRY                      SCARLETT'S SISTER MUSIC                                A                         PA0000968760
EVERY LITTLE THING                  ANDERSON, AL                        BASH MUSIC                                             O                         PA0000618895
EVERY LITTLE THING ABOUT YOU        MILLER, ALAN                        TOTO TUNES, WINNING CIRCLE MUSIC INC.                  A                         PA0001092344

EVERY ONCE IN A WHILE               ROBISON, BRUCE                      BRUCE ROBISON MUSIC, TILTAWHIRL MUSIC                   A                        PA0001647544

EVERY RIVER                         RICHEY, KIM                         MIGHTY NICE MUSIC, WAIT NO MORE MUSIC                 O&A                        PA0001010893
EVERY WHICH WAY                     CROWLEY, J.C.                       MIGHTY NICE MUSIC                                      O                         PA0000015623
                                                                        MELODY ROUNDUP MUSIC LLC, PLAYFUL
EVERYBODY HATES ME                  BROWN, ROGER BRYANT                 DUSKY MUSIC                                             A                        PA0001854224
EVERYBODY'S SMOKIN'                 ANDERSON, AL                        MIGHTY NICE MUSIC                                       O                        PA0000734921
                                                                        TILTAWHIRL MUSIC, CROZIER MUSIC
EVERYTHING AND ALL                  JONES, TROY                         ENTERPRISE                                              A                        PA0001858708
EVERYTHING FALLS AWAY               PETERS, GRETCHEN                    CIRCUS GIRL MUSIC                                       A                        PA0002039732




                           Case 3:17-cv-01051 Document 41-1 Page
                                                             Filed     11/01/17 Page 40 of 64 PageID #: 949
                                                                 39 of 63
                                                                             Exhibit A Musical Compositions

             Composition Title              Bluewater-Controlled Writer(s)              Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
                                          MACRAE, FRED / MORRISON,
EVERYTHING I'LL EVER OWN                  BOB                                  SOUTHERN DAYS MUSIC                                     A                        PA0000148162
EVERYTIME I THINK IT'S OVER               NEWTON, WOOD                         MIGHTY NICE MUSIC                                       O                        PA0001193173
EYES IN THE BACK OF HER HEAD              SELBY, MONTE                         STREET SINGER MUSIC                                     A                        PA0001011430

FADING                                    RICHEY, KIM                          MIGHTY NICE MUSIC, WAIT NO MORE MUSIC                 O&A                        PA0001117608
                                          NAIL, DAVID / CARUSOE,               ABBOTTS CREEK MUSIC TWO, SCRAMBLER
FIGHTER                                   SCOOTER                              MUSIC                                                   A                        PA0002051135
FINE TUNE                                 HEMBY, NATALIE                       TILTAWHIRL MUSIC                                        A                        PA0001785277
FIRST NAME, JANET                         SELBY, MONTE                         STREET SINGER MUSIC                                     A                        PA0001114155
FIRST OF FALL                             SAENZ, ARMANDO                       SCRAMBLER MUSIC                                         A                        PA0001832449
                                          SAENZ, ARMANDO / PHILLIPS,           TILTAWHIRL MUSIC, ACBM MUSIC, SCRAMBLER
FIRST ONE TO KNOW                         STONEY LARUE                         MUSIC                                                  A                            PENDING
FIRST SNOW                                O'BRIEN, TIM                         CORNBREAD NATION                                       A                         PA0001624035
FIRST THINGS FIRST                        LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0001056248
FIVE MINUTES                              PETERS, GRETCHEN                     CIRCUS GIRL MUSIC                                      A                         PA0001821708
FLAT SPIN FREE FALL                       MECKEL, NATHAN                       TOTO TUNES                                             A                         PA0001075006
FLOW GENTLY SWEET AFTON                   FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                             A                         EU0000769623
FLOWERS                                   STANSBERRY, JEFF                     MELODY ROUNDUP MUSIC LLC                               A                         PA0001808066
FLY ON THE WALL                           SELBY, MONTE                         STREET SINGER MUSIC                                    A                         PA0001228988
FOOL NUMBER ONE                           ANDERSON, AL                         MIGHTY NICE MUSIC                                      O                         PA0000909224
                                          TATE, SAM / WRIGHT,
FOR THE MONEY                             KATHLEEN                             GRAVITRON MUSIC                                        A                         PA0001111677
FOR TONIGHT                               ANDERSON, AL                         MIGHTY NICE MUSIC, AL ANDERSONGS                      O&A                        PA0000928324
FOR YOU                                   YORK, KATE                           MIGHTY NICE MUSIC                                      O                         PA0001816722
FOREIGN LANDER                            O'BRIEN, TIM                         CORNBREAD NATION                                       A                         PA0001589586
FOREVER                                   CROWLEY, J.C.                        MIGHTY NICE MUSIC                                      O                         PA0000014170
FOREVER AIN'T NO TROUBLE NOW              LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0001088660
FOREVER AND A DAY                         LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0000826691
FORGET ABOUT THAT                         ANDERSON, AL                         MIGHTY NICE MUSIC                                      O                         PA0001113463
FORTY AND FOUND                           REED, LUKE                           TILTAWHIRL MUSIC                                       A                         PA0000978629
FREE BORN RAMBLING MAN                    COE, DAVID ALLAN                     CAPTIVE MUSIC                                          O                         EU0000573868
                                                                               MIGHTY NICE MUSIC, NICKLAS HAMILTON
                                          HAMILTON, NICKLAS /                  MUSIC, CRITTER CITY MUSIC, KINK ADOR
FREE WORLD                                NOVIKOV, SHARON                      PUBLISHING                                            O&A                        PA0001909224
                                          BUCKLEY, ROB HOLLAND /
FREEDOM                                   DOUGLAS ALEC                         DREAM CITY MUSIC                                        A                       PAu0001686144
FREIGHT TRAIN                             ELGERSMA, FRED                       CRITTER CITY MUSIC                                      O                        PA0000707121
FRIENDLESS MARRIAGE                       ROBISON, BRUCE                       TILTAWHIRL MUSIC                                        A                        PA0001064886

                                          MATHENY, LOGAN / MATHENY,
FROM AN AIRPLANE WINDOW                   SKIP / MATHENY, TIMSHEL   BILL AND MARY MUSIC, SCRAMBLER MUSIC                               A                        PA0001809924

FROM WHERE I STAND                        RICHEY, KIM                          MIGHTY NICE MUSIC, WAIT NO MORE MUSIC                 O&A                        PA0000705720
FROM WHERE I'M STANDING                   SANDERS, BLU                         TILTAWHIRL MUSIC                                       A                         PA0001642761
FRONT PORCH THANG                         HOOD, ADAM                           TILTAWHIRL MUSIC                                       A                         PA0001795966




                                 Case 3:17-cv-01051 Document 41-1 Page
                                                                   Filed     11/01/17 Page 41 of 64 PageID #: 950
                                                                       40 of 63
                                                                            Exhibit A Musical Compositions

             Composition Title             Bluewater-Controlled Writer(s)              Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #

FULL MOON FRIDAY                          HUGHES, JEDD MICHAEL                BAMBATOWN PUBLISHING, TILTAWHIRL MUSIC                  A                        PA0001832839
                                          FORD, ERNEST / FASCINATO,           TENNESSEE ERNIE FORD MUSIC, BAYSHORE
GAILY THE TROUBADOUR                      JACK                                MUSIC CORPORATION                                       A                        EP0000098265
GAMBLIN DAN                               CARLISLE, CLIFF                     DREAM CITY MUSIC                                        A                        EU0000800666
GARDEN (THE)                              ARKEEN, AARON WEST                  WEST ARKEEN MUSIC                                       A                        PA0000541407
                                                                              TILTAWHIRL MUSIC, STAIRWAY TO ELEVEN
GEORGIA GIRL                              GRISSOM, DAVID                      MUSIC                                                   A                        PA0001916448
                                          WHITTERS, HAILEY / LAMBRING,
GET AROUND                                STEPHANIE                    SCRAMBLER MUSIC, TILTAWHIRL MUSIC                              A                        PA0002049615
                                          FORD, ERNEST / FASCINATO,    TENNESSEE ERNIE FORD MUSIC, BAYSHORE
GET ON BOARD, LITTLE CHILDREN             JACK                         MUSIC CORPORATION                                              A                         EP0000107762
                                                                       LITTLE NANNY DICHOLS MUSIC, CLASHING
GET UP                                    NICHOLS, DANIEL              PLAIDS                                                        A                         PA0001981701
GETTIN' TO ME                             ELGERSMA, FRED               CRITTER CITY MUSIC                                            O                         PA0000969656
GINGER PEACH                              LAUDERDALE, JIM              SKY-EYE MUSIC, CRITTER CITY MUSIC                            O&A                        PA0001210275
GIRL LIKE ME                              LITTLE, HEATHER              TILTAWHIRL MUSIC                                              A                         PA0001642767
GIVE IT TO ME                             ANDERSON, AL                 MIGHTY NICE MUSIC                                             O                         PA0000747294
GIVE ME YOUR HEART TONIGHT                LIVSEY, BILLY                QUINCE MUSIC LTD.                                             A                         PA0000154575
GLASS                                     BUCHANAN, PAT                CRITTER CITY MUSIC                                            O                         PA0001114161
GLIMPSE OF PARADISE                       KREKEL, TIM                  MIGHTY NICE MUSIC                                             O                         PA0001321257
GO                                        YORK, KATE                   MIGHTY NICE MUSIC                                             O                         PA0001816724
                                          FASCINATO, JACK / FORD,
GO DOWN MOSES                             ERNEST                       BAYSHORE MUSIC CORPORATION                                     A                         EP0000144206
                                          COLEHOUR, DAN / GRISSOM,     SCRAMBLER MUSIC, TILTAWHIRL MUSIC,
GO EASY                                   DAVID                        STAIRWAY TO ELEVEN MUSIC                                       A                        PA0001727476

GONE FOR REAL                             LAWLER, MIKE / ANDERSON, AL BASH MUSIC, COOTERMO MUSIC                                    O&A                        PA0000767394

GOOD                                      RICHEY, KIM                         MIGHTY NICE MUSIC, WAIT NO MORE MUSIC                 O&A                        PA0000705726

GOOD AT SECRETS                           RICHEY, KIM                         MIGHTY NICE MUSIC, WAIT NO MORE MUSIC                 O&A                        PA0000972143
GOOD CHRISTIAN MEN REJOICE                FASCINATO, JACK                     BAYSHORE MUSIC CORPORATION                             A                         EU0000059156
GOOD SADDLES AIN'T CHEAP                  SMITH, ROBERT GERALD                MELODY ROUNDUP MUSIC LLC                               A                         PA0001910998
GOOD STUFF                                KREKEL, TIM                         MIGHTY NICE MUSIC                                      O                         PA0001321255
GOT A HOLD ON ME                          NEWMAN, RACHEL                      BASH MUSIC                                             O                         PA0000825712
GOT ME GONE                               NAIL, DAVID                         SCRAMBLER MUSIC                                        A                         PA0002051129
GRANDPA'S FARM                            HOOD, ADAM / COBB, BRENT            TILTAWHIRL MUSIC                                       A                         PA0001799309

GRAVITY                                   RICHEY, KIM                         MIGHTY NICE MUSIC, WAIT NO MORE MUSIC                 O&A                        PA0000972142
GREAT ESCAPE                              WILSON, ERIC                        TILTAWHIRL MUSIC                                       A                         PA0001794367
GREEN BEANS AND TATERS                    KREKEL, TIM                         MIGHTY NICE MUSIC                                      O                         PA0001321259
GROOVE ONE                                GREEN, BENNIE                       DREAM CITY MUSIC                                       A                         EU0000744688

GUINEVERE                                 CARUSOE, SCOOTER                    ABBOTTS CREEK MUSIC, SCRAMBLER MUSIC                    A                        PA0001799327
GUNPOWDER & LEAD                          LITTLE, HEATHER                     TILTAWHIRL MUSIC                                        A                        PA0001642200




                                 Case 3:17-cv-01051 Document 41-1 Page
                                                                   Filed     11/01/17 Page 42 of 64 PageID #: 951
                                                                       41 of 63
                                                                           Exhibit A Musical Compositions

            Composition Title             Bluewater-Controlled Writer(s)           Bluewater-Controlled Publisher(s)    Own "O" / Administer "A"   Copyright Registration #
                                                                             ABBOTTS CREEK MUSIC TWO, SCRAMBLER
GUTS AND GLORY                           CARUSOE, SCOOTER                    MUSIC                                                A                         PA0002051136
HAD A LITTLE TIME                        LAUDERDALE, JIM                     LAUDERSONGS, MIGHTY NICE MUSIC                      O&A                        PA0000822655
HALF MILE HILL                           BRANTLEY, RICK                      SCRAMBLER MUSIC                                      A                         PA0001792703
HALFWAY DOWN                             LAUDERDALE, JIM                     LAUDERSONGS, MIGHTY NICE MUSIC                      O&A                        PA0000721207

HALO                                     HUGHES, JEDD MICHAEL                BAMBATOWN PUBLISHING, TILTAWHIRL MUSIC               A                         PA0001790917
HANDS                                    SANDERS, BLU                        TILTAWHIRL MUSIC                                     A                         PA0001741022
HANG ON SALLY                            KINGSTON, LARRY RANDAL              DREAM CITY MUSIC                                     A                         EU0000954592
HAPPENS ALL THE TIME                     AGEE, KENT                          BOLT UPRIGHT MUSIC                                   A                         PA0001920655
HAPPY                                    NEWTON, WOOD                        MIGHTY NICE MUSIC                                    O                         PA0000570397
HAPPY TOWN                               KREKEL, TIM                         MIGHTY NICE MUSIC                                    O                         PA0001113458
HARD TIME TENNESSEE                      SAENZ, ARMANDO                      SCRAMBLER MUSIC                                      A                         PA0001910944
HARD WORDS                               O'KEEFE, DANNY                      MIGHTY NICE MUSIC, BICAMERAL SONGS                  O&A                        PA0001117613
                                         CORBIN, ANDRE / FERREIRA,
                                         FRANK / ABARCA, GERALD /
                                         BARRAGAN, LARRY / RIVERA,
HARKER'S TALE (MASS OF DEATH)            JAMES                               BASH MUSIC                                            O                        PA0000454559
                                         SAENZ, ARMANDO / PHILLIPS,          SCRAMBLER MUSIC, TILTAWHIRL MUSIC, ACBM
HAS BEEN                                 STONEY LARUE                        MUSIC                                                 A                        PA0001834783
HE OUGHT TO KNOW THAT BY NOW             INGERSOLL, CLINT                    TILTAWHIRL MUSIC                                      A                        PA0001292949
HE WANTS TO GET MARRIED                  KNOX, SANDY                         BASH MUSIC                                            O                        PA0000597561
HE WILL BE MINE                          ANDERSON, AL                        MIGHTY NICE MUSIC                                     O                        PA0000705826
HEART LIKE A ROADSIGN, HEAD LIKE A
WHEEL                                    JONES, DAVID LYNN                   MIGHTY NICE MUSIC, SKUNK DEVILLE MUSIC              O&A                        PA0000572624
HEART OF HEARTS                          ANDERSON, AL                        MIGHTY NICE MUSIC, AL ANDERSONGS                    O&A                        PA0001628715
                                         MORRISON, BARBARA /
HEARTACHE HEADED MY WAY                  MORRISON, BOB                       SOUTHERN DAYS MUSIC                                   A                        PA0000333552
                                                                             STREET SINGER MUSIC, O'GOODIS INDUSTRIES
HEARTBEAT                                GOODIS, ALAN                        WORLDWIDE                                             A                        PA0002008036
                                         WHITTERS, HAILEY / ADAM             CASA DE CASA MUSIC, SCRAMBLER MUSIC,
HEARTBREAKER                             WRIGHT                              TILTAWHIRL MUSIC                                      A                        PA0002049597
                                         SELBY, MICHELLE / SELBY,
HE'LL BE ALRIGHT                         MONTE                               STREET SINGER MUSIC                                   A                        PA0001228992
HELL OF A FIGHT                          HOOD, ADAM                          TILTAWHIRL MUSIC                                      A                        PA0001795417

HELLO OLD FRIEND                         RICHEY, KIM                         MIGHTY NICE MUSIC, WAIT NO MORE MUSIC               O&A                        PA0000972141

                                         MATHENY, LOGAN / MATHENY,
HELP ME IF YOU CAN                       SKIP / MATHENY, TIMSHEL   BILL AND MARY MUSIC, SCRAMBLER MUSIC                           A                         PA0001809924
HERE COMES THE RAIN                      KNIGHT, CHRIS             BASH MUSIC, COOTERMO MUSIC                                    O&A                        PA0001590073

HERE I GO AGAIN                          RICHEY, KIM                         MIGHTY NICE MUSIC, WAIT NO MORE MUSIC               O&A                        PA0000705715
HERE WE GO AGAIN                         SAENZ, ARMANDO                      SCRAMBLER MUSIC                                      A                         PA0002051140
HIDE AND SEEK                            ANDERSON, AL                        MIGHTY NICE MUSIC                                    O                         PA0000954978
HIGH ENOUGH                              HOOD, ADAM                          TILTAWHIRL MUSIC                                     A                         PA0003725168




                                Case 3:17-cv-01051 Document 41-1 Page
                                                                  Filed     11/01/17 Page 43 of 64 PageID #: 952
                                                                      42 of 63
                                                                             Exhibit A Musical Compositions

              Composition Title             Bluewater-Controlled Writer(s)           Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
HIGH ROLLER                                KREKEL, TIM                         MIGHTY NICE MUSIC                                    O                        PA0001321258
                                           TATE, SAM / WRIGHT,
HIGHWAY JUNKIE                             KATHLEEN / KNIGHT, CHRIS            CRITTER CITY MUSIC, BASH MUSIC                       O                        PA0000822670
                                                                               RESTLESS WIND MUSIC, SUITE TWO O FIVE
HIGHWAY OF LIFE                            SHAVER, BILLY JOE                   MUSIC                                               A                         PA0000968064
HIGHWAY THROUGH MY HOME                    LAUDERDALE, JIM                     LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0000394229
                                           FASCINATO, JACK / FORD,
HIS AMAZING GRACE                          ERNEST                              BAYSHORE MUSIC CORPORATION                           A                        EU0000155709
HOLD IT RIGHT THERE                        MORRISON, BOB                       SOUTHERN DAYS MUSIC                                  A                        PA0000727044
HOLD ON                                    SANDERS, BLU                        TILTAWHIRL MUSIC                                     A                        PA0001589575
HOLD ON                                    O'BRIEN, TIM                        CORNBREAD NATION                                     A                        PA0001589575
                                           FASCINATO, JACK / FORD,
HOLD ON KEEP YOUR HAND ON THE PLOW         ERNEST                              BAYSHORE MUSIC CORPORATION                          A                         EP0000144201
HOLDING BACK                               LAUDERDALE, JIM                     SKY-EYE MUSIC, CRITTER CITY MUSIC                  O&A                        PA0001210279
HOLDING STEADY                             SAENZ, ARMANDO                      SCRAMBLER MUSIC                                     A                         PA0001868722
HOLE IN MY HEAD                            LAUDERDALE, JIM                     LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0000799200
HOLE IN MY HEART                           ANDERSON, AL                        MIGHTY NICE MUSIC                                   O                         PA0000847595
HOLIDAY FOR HOSS                           FELTON, GERALD                      MIGHTY NICE MUSIC, DIXIE SCIENTIFIC                O&A                        PA0000312492
HOME                                       NAIL, DAVID                         SCRAMBLER MUSIC                                     A                         PA0002051132
HOME OF THE SOUL                           FASCINATO, JACK                     BAYSHORE MUSIC CORPORATION                          A                         EU0000979397
HOMETOWN                                   IRWIN, MARK                         SCRAMBLER MUSIC                                     A                         PA0001632321
HONEY DO                                   ANDERSON, AL                        MIGHTY NICE MUSIC, AL ANDERSONGS                   O&A                        PA0000991239
HONEY I DO                                 ANDERSON, AL                        MIGHTY NICE MUSIC                                   O                         PA0000991239
                                           MACRAE, FRED / MALLETTE,
HONKY-TONK HEART                           WANDA / MORRISON, BOB               SOUTHERN DAYS MUSIC                                 A                         PA0000110805
HORMONE BLUES                              SELBY, MONTE                        STREET SINGER MUSIC                                 A                         PA0001270819
HOTEL COUPE DEVILLE                        ANDERSON, AL                        BASH MUSIC                                          O                         PA0000629325
HOTEL KEYS                                 NAIL, DAVID                         SCRAMBLER MUSIC                                     A                         PA0001911886
HOUSE AND 90 ACRES                         KNIGHT, CHRIS                       BASH MUSIC                                          O                         PA0000741059
HOUSEKEEPING                               ROBERTS, RIK                        TOTO TUNES                                          A                         PA0001138606
HOUSTON                                    CROWLEY, J.C.                       MIGHTY NICE MUSIC                                   O                         PA0000120112
HOW COULD SHE                              WAY, PATTY                          MIGHTY NICE MUSIC                                   O                         PA0000751679
HOW MANY DAYS                              LAUDERDALE, JIM                     LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0000976444
HOW QUICKLY YOU FORGET                     HEMBY, NATALIE                      TILTAWHIRL MUSIC                                    A                         PA0001756002
HUMMINGBIRD                                LAUDERDALE, JIM                     LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0001088673
HURRICANE                                  ANDERSON, AL                        MIGHTY NICE MUSIC                                   O                         PA0000705825
I APOLOGIZE                                ANDERSON, AL                        BASH MUSIC                                          O                         PA0000731309
                                           FASCINATO, JACK / FORD,
I ASKED GOD                                ERNEST                              BAYSHORE MUSIC CORPORATION                           A                        EU0000643006
I BELIEVE                                  REYNOLDS, JOHN                      MIGHTY NICE MUSIC                                    O                        PA0001076100
                                           MATHEWS, TIMOTHY / MECKEL,
I CAN DO ANYTHING                          NATHAN                              CLASHING PLAIDS                                      A                        PA0001845435
I CAN GIVE YOU EVERYTHING                  ANDERSON, AL                        MIGHTY NICE MUSIC                                    O                        PA0000871224
I CAN SEE ARKANSAS                         NEWTON, WOOD                        MIGHTY NICE MUSIC                                    O                        PA0000518485
                                           FASCINATO, JACK / FORD,
I CAN WHIP THE SCOUNDREL                   ERNEST                              BAYSHORE MUSIC CORPORATION                           A                         EP0000154152




                                  Case 3:17-cv-01051 Document 41-1 Page
                                                                    Filed     11/01/17 Page 44 of 64 PageID #: 953
                                                                        43 of 63
                                                                             Exhibit A Musical Compositions

              Composition Title             Bluewater-Controlled Writer(s)              Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #

                                           MATHENY, LOGAN / MATHENY,
I CAN'T EVEN RECALL                        SKIP / MATHENY, TIMSHEL             BILL AND MARY MUSIC, SCRAMBLER MUSIC                    A                        PA0001809928
                                           ASHBY, REGGIE / SLAVSKA,
I CAN'T FIND MY WAY HOME                   CORETTA                             DREAM CITY MUSIC                                        A                        EU0000465027
                                           SELBY, MICHAEL / SELBY,
I CAN'T SEE                                MONTE                               STREET SINGER MUSIC                                     A                        PA0001596421
                                           SELBY, MONTE / QUIBUYEN,
I CRIED ONE NIGHT                          RUDIN                               STREET SINGER MUSIC, TOTO TUNES                        A                         PA0001011431
I DIDN'T KNOW THIS WAS A TEST              SELBY, MONTE                        STREET SINGER MUSIC                                    A                         PA0001228987
I DON'T BELIEVE YOU                        CROWLEY, J.C.                       MIGHTY NICE MUSIC                                      O                         PA0000120106
I DON'T FEEL NOTHING ANYMORE               LAUDERDALE, JIM                     MIGHTY NICE MUSIC                                      O                         PA0000921931
I DON'T WANNA SAY GOODNIGHT                ANDERSON, AL                        MIGHTY NICE MUSIC                                      O                         PA0000910838
I DON'T WANT TO HANG OUT WITH ME           KNIGHT, CHRIS                       BASH MUSIC                                             O                         PA0000947958
I FEEL LIKE SINGING TODAY                  LAUDERDALE, JIM                     LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0001010627
                                           FORD, ERNEST / FASCINATO,           TENNESSEE ERNIE FORD MUSIC, BAYSHORE
I GAVE MY LOVE A CHERRY                    JACK                                MUSIC CORPORATION                                       A                         EP0000098263
                                                                               TILTAWHIRL MUSIC, STAIRWAY TO ELEVEN
I GOT DRUNK                                GRISSOM, DAVID                      MUSIC                                                  A                         PA0001256246
I KNOW BETTER NOW                          LAUDERDALE, JIM                     LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0000657651
                                           FORD, ERNEST / FASCINATO,           TENNESSEE ERNIE FORD MUSIC, BAYSHORE
I KNOW THE LORD                            JACK                                MUSIC CORPORATION                                       A                         EP0000107761

I KNOW WHAT IT MEANS TO BE LONESOME        MOODY, CLYDE                        DREAM CITY MUSIC                                        A                        PA0000554304
                                           FASCINATO, JACK / FORD,
I LOVE TO TELL THE STORY                   ERNEST                              BAYSHORE MUSIC CORPORATION                              A                         EP0000165994
                                           BISSETTE, WILLARD / MOODY,
I LOVE YOU DEAR FOREVER                    CLYDE                               DREAM CITY MUSIC                                       A                         EP0000072529
I MAY BE A FOOL                            LAUDERDALE, JIM                     LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0000762779
I MISS WHO I WAS WITH YOU                  LAUDERDALE, JIM                     LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0000707128
I NEED TO KNOW NOW                         HELMS, BOBBY                        DREAM CITY MUSIC                                       A                         PA0000202159

I NEVER FLY                                ROBISON, BRUCE                      TILTAWHIRL MUSIC, BRUCE ROBISON MUSIC                  A                         PA0001647560
I NEVER KNEW I COULD FEEL THIS WAY         LAUDERDALE, JIM                     LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0000925625
I OUGHT TO FEEL GUILTY                     MORRISON, BOB                       SOUTHERN DAYS MUSIC                                    A                         PA0000110804
I REALLY WANT TO WORK THIS OUT             LAUDERDALE, JIM                     LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0000976441
I SAID I LOVE YOU                          MILLER, ALAN                        TOTO TUNES, WINNING CIRCLE MUSIC INC.                  A                         PA0001092343
I SEE YOU                                  MILLER, ALAN                        TOTO TUNES, WINNING CIRCLE MUSIC INC.                  A                         PA0001092340
I SHOULD HAVE LISTENED TO GOOD
ADVICE                                     LAUDERDALE, JIM                     LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0001088662

I SHOULD KNOW                              MOODY, CLYDE / SMITH, GLENN         DREAM CITY MUSIC                                        A                        EP0000072866
I SHOULD'VE ASKED HER FASTER               ANDERSON, AL / KLIMEK, JOE          MIGHTY NICE MUSIC                                       O                        PA0000759265
I STAND IN WONDER                          SCHWARTZ, EDWARD S.                 HIGH FRONTIER MUSIC                                     A                        PA0000390965
                                           HUGHES, MICHAEL / MACRAE,
I STILL BELIEVE IN WALTZES                 FRED / MORRISON, BOB                SOUTHERN DAYS MUSIC                                     A                        PA0000084414




                                  Case 3:17-cv-01051 Document 41-1 Page
                                                                    Filed     11/01/17 Page 45 of 64 PageID #: 954
                                                                        44 of 63
                                                                       Exhibit A Musical Compositions

              Composition Title       Bluewater-Controlled Writer(s)           Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
I THINK I WILL                       KREKEL, TIM                         MIGHTY NICE MUSIC, TILTAWHIRL MUSIC               O&A                         PA0001790895
I THINK SOMEBODY BETTER COME BACK
HOME                                 LAUDERDALE, JIM                     LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0001088658
I THOUGHT WE HAD A DEAL              LAUDERDALE, JIM                     LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0000822650
I USED TO BE COOL                    SELBY, MONTE                        STREET SINGER MUSIC                                 A                         PA0001114153
I USED TO KNOW HER                   MILLER, DEAN                        MIGHTY NICE MUSIC                                   O                         PA0000816096
                                     TATE, SAM / WRIGHT,
I WANT MY MONEY BACK                 KATHLEEN                            GRAVITRON MUSIC                                      A                        PA0001130783
                                     FORD, ERNEST / FASCINATO,           TENNESSEE ERNIE FORD MUSIC, BAYSHORE
I WANT TO BE READY                   JACK                                MUSIC CORPORATION                                    A                         EP0000108006
                                     MECKEL, NATHAN / REYNOLDS,
I WANT TO DREAM                      PETER                       CLASHING PLAIDS                                             A                         PA0001839338
I WANT YOU I NEED YOU                CROWLEY, J.C.               MIGHTY NICE MUSIC                                           O                         PA0000120113
I WASN'T FOOLING AROUND              LAUDERDALE, JIM             LAUDERSONGS, MIGHTY NICE MUSIC                             O&A                        PA0000523750
I WILL BELIEVE                       SELBY, MONTE                STREET SINGER MUSIC                                         A                         PA0001228988
                                                                 SCARLETT'S SISTER, STILL WORKING FOR THE
                                     BEATHARD, CASEY / GERMINO, WOMAN, SUITE TWO O FIVE, FIRST AND GOAL
I WILL STAND                         MARK                        MUSIC                                                       A                         PA0000854587
I WILL WAIT FOR YOU                  LAUDERDALE, JIM             LAUDERSONGS, MIGHTY NICE MUSIC                             O&A                        PA0001010633
I WISH TODAY COULD BE TOMORROW       LAUDERDALE, JIM             LAUDERSONGS, MIGHTY NICE MUSIC                             O&A                        PA0001010631
                                     WILLIAMS, FRANK / WILLIAMS,
I WONDER WHY                         JOHN                        DREAM CITY MUSIC                                            A                         EU0000490330
I WOULD                              ELGERSMA, FRED              SWEETWATER MUSIC                                            A                         PA0001733218
I'D BE YOURS                         COLEMAN, PHILLIP            GRAVITRON MUSIC                                             A                         PA0000957640
I'D FOLLOW YOU ANYWHERE              LAUDERDALE, JIM             LAUDERSONGS, MIGHTY NICE MUSIC                             O&A                        PA0001056243
                                     TATE, SAM / WRIGHT,
I'D LOVE TO BE YOUR LAST             KATHLEEN                    GRAVITRON MUSIC                                              A                        PA0001328148
I'D RATHER BE GONE                   CROWLEY, J.C.               MIGHTY NICE MUSIC                                            O                        PA0000134115
                                     TATE, SAM / WRIGHT,
I'D RUN                              KATHLEEN                    GRAVITRON MUSIC                                              A                        PA0001589014
IDLEWILD                             PETERS, GRETCHEN            CIRCUS GIRL MUSIC                                            A                        PA0001821708
IF HERE IS WHERE YOU ARE             SCHLITZ, DON                SCRAMBLER MUSIC                                              A                        PA0001596383
IF I WANTED YOU                      TRICE, JAMES                STREET SINGER MUSIC                                          A                        PA0001388091
IF I WAS YOUR MAN                    MILLER, DEAN                MIGHTY NICE MUSIC                                            O                        PA0000816097

IF THAT AIN'T COUNTRY                COE, DEBORAH / SPEARS, FRED         SHOWFOR MUSIC                                       O                         PA0000131965
IF THIS AIN'T LOVE                   LAUDERDALE, JIM                     LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0000953298
IF THIS IS LOVE                      ANDERSON, AL                        MIGHTY NICE MUSIC                                   O                         PA0000826689
IF WE NEVER GO                       COBB, BRENT                         TILTAWHIRL MUSIC                                    A                         PA0002049640
IF YOU CAN DO ANYTHING ELSE          LIVSEY, BILLY                       BILLY LIVSEY MUSIC                                  A                         PA0000981323

IF YOU DON'T MIND                    RICHEY, KIM                         MIGHTY NICE MUSIC, WAIT NO MORE MUSIC              O&A                        PA0000972140
IF YOU HAD A HEART                   MORRISON, BOB                       SOUTHERN DAYS MUSIC                                 A                         PA0001295506
IF YOU MESS WITH THE BULL            REED, LUKE                          TILTAWHIRL MUSIC                                    A                         PA0001124016
                                     TATE, SAM / WRIGHT,
IF YOU'RE GOING THROUGH HELL         KATHLEEN                            GRAVITRON MUSIC                                      A                        PA0001321261




                            Case 3:17-cv-01051 Document 41-1 Page
                                                              Filed     11/01/17 Page 46 of 64 PageID #: 955
                                                                  45 of 63
                                                                             Exhibit A Musical Compositions

             Composition Title              Bluewater-Controlled Writer(s)           Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
I'LL TRY AGAIN                            LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                    O&A                         PA0000520890

I'M ALRIGHT                               RICHEY, KIM                          MIGHTY NICE MUSIC, WAIT NO MORE MUSIC              O&A                        PA0001010894

I'M GONNA GET A LIFE (GONNA GET A LIFE)   LAUDERDALE, JIM                      MIGHTY NICE MUSIC, LAUDERSONGS                     O&A                        PA0000730423
I'M JUST A GUY                            ROBERTS, RIK                         TOTO TUNES                                          A                         PA0001138607
I'M LEAVING NOW                           HELMS, BOBBY                         DREAM CITY MUSIC                                    A                         PA0000202160
I'M ON YOUR SIDE                          LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0000721415
I'M REMEMBERING                           MAYHEW, AUBREY                       DREAM CITY MUSIC                                    A                         PA0000175463
I'M YOURS                                 COLEMAN, PHILLIP                     GRAVITRON MUSIC                                     A                         PA0000967184
                                          SELBY, MONTE / MECKEL,
IN A TEACHER'S LIFE                       NATHAN                               STREET SINGER MUSIC, CLASHING PLAIDS                A                         PA0001596416
IN BETWEEN DANCES                         ALFONSO, BARRY                       SCARLETT'S SISTER MUSIC                             A                         PA0000714947
IN HARM'S WAY                             LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0000799197
IN MY DREAMS                              MILLER, ALAN                         TOTO TUNES, WINNING CIRCLE MUSIC INC.               A                         PA0001197569
                                          WRIGHT, KATHLEEN / TATE,
IN THE MIDDLE                             SAM                                  GRAVITRON MUSIC                                      A                        PA0001344685
                                          SELBY, MONTE / WORMELI,
IN THE TEACHER'S LOUNGE                   RICK                                 STREET SINGER MUSIC, TOTO TUNES                     A                         PA0001596479
INSECTS AND ANGELS                        BUCHANAN, PAT                        CRITTER CITY MUSIC                                  O                         PA0001114164
INSTITUTE OF HONKY TONKS                  NORTHRUP, JOHN                       TOTO TUNES, WINNING CIRCLE MUSIC INC.               A                         PA0001295515
INTERSTATE GYPSY                          NORTHRUP, JOHN                       TOTO TUNES, WINNING CIRCLE MUSIC INC.               A                         PA0001295517
IT AIN'T ALL OVER OVER HERE               ANDERSON, AL                         MIGHTY NICE MUSIC                                   O                         PA0000969647
IT AIN'T EASY BEING ME                    KNIGHT, CHRIS                        BASH MUSIC                                          O                         PA0000741055
IT ALL STARTED AND ENDED WITH YOU         LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0000977714
IT GOES SOMETHING LIKE THIS               ANDERSON, AL                         MIGHTY NICE MUSIC, AL ANDERSONGS                   O&A                        PA0000991241
                                                                               TILTAWHIRL MUSIC, CROZIER MUSIC
IT MAKES ME LEAN                          JONES, TROY                          ENTERPRISE                                          A                         PA0001831481
IT'S A RENTAL                             ROBERTS, RIK                         TOTO TUNES                                          A                         PA0001092114
IT'S A TRAP                               LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0001088668
IT'S HARD TO KEEP A SECRET ANYMORE        LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0000799198
IT'S NOT TOO LATE                         LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0001056251
IT'S ONLY 'CAUSE YOU'RE LONELY            LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0000926883
IT'S SO DIFFERENT                         LAUDERDALE, JIM                      CRITTER CITY MUSIC, SKY-EYE MUSIC                  O&A                        PA0001371082
IT'S SO EASY                              ARKEEN, AARON WEST                   WEST ARKEEN MUSIC                                   A                         PA0000441785
IT'S UP TO YOU                            LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0000705184
IT'S WORTH LOOKING UP                     LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0001088672
IT'S YOUR LIFE                            DREW, KENNY                          DREAM CITY MUSIC                                    A                         EU0000745561
I'VE BEEN THINKIN'                        CROWLEY, J.C.                        MIGHTY NICE MUSIC                                   O                         PA0000014171
I'VE FOUND A FRIEND                       FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                          A                         EU0000152339

                                          MATHENY, LOGAN / MATHENY,
I'VE GOT A REASON                         SKIP / MATHENY, TIMSHEL   BILL AND MARY MUSIC, SCRAMBLER MUSIC                            A                        PA0001809924
                                          TATE, SAM / WRIGHT,
I'VE HAD MY MOMENTS                       KATHLEEN                  GRAVITRON MUSIC                                                A                         PA0001344503
JACOB'S LADDER                            LAUDERDALE, JIM           LAUDERSONGS, MIGHTY NICE MUSIC                                O&A                        PA0001088675




                                 Case 3:17-cv-01051 Document 41-1 Page
                                                                   Filed     11/01/17 Page 47 of 64 PageID #: 956
                                                                       46 of 63
                                                                            Exhibit A Musical Compositions

             Composition Title             Bluewater-Controlled Writer(s)              Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #

JASON                                     HUPP, DEBBIE / MORRISON, BOB SOUTHERN DAYS MUSIC                                            A                        PA0000055867

JAZZ VENDOR                               JORDAN, DUKE                        DREAM CITY MUSIC, CHARLIE PARKER MUSIC                  A                        PA0000743744
JENNY I REMEMBER YOU                      COLEMAN, PHILLIP                    GRAVITRON MUSIC                                         A                        PA0001625713
JESUS I COME                              FASCINATO, JACK                     BAYSHORE MUSIC CORPORATION                              A                        EU0000979393
                                          FASCINATO, JACK / FORD,             BAYSHORE MUSIC CORPORATION, TENNESSEE
JESUS SAVIOR PILOT ME                     ERNEST                              ERNIE FORD MUSIC                                        A                        EU0000416692
JESUS, THE MENTION OF YOUR NAME           MCCLURKIN, DONALD                   DON MAC MUSIC                                           A                        PA0000937859
                                          CARUSOE, SCOOTER / SANCHEZ,
JET BLACK AND JEALOUS                     PAUL                                SCRAMBLER MUSIC, PAUL SANCHEZ MUSIC                     A                        PA0001799328
JINGLE BELLS                              FASCINATO, JACK                     BAYSHORE MUSIC CORPORATION                              A                        EU0000269073
                                          COE, DAVID ALLAN / LEWIS,
JODY LIKE A MELODY                        JIMMMY                              DAVID ALLAN COE MUSIC                                   O                        EU0000550817
                                          FASCINATO, JACK / FORD,
JOSHUA FIT THE BATTLE OF JERICHO          ERNEST                              BAYSHORE MUSIC CORPORATION                             A                         EP0000144199
JOY TO THE WORLD                          FORD, ERNEST                        TENNESSEE ERNIE FORD MUSIC                             A                         EU0000546492
JOY, JOY, JOY                             LAUDERDALE, JIM                     LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0001010629
JUBILEE                                   PETERS, GRETCHEN                    CIRCUS GIRL MUSIC                                      A                         PA0002039732
JUPITER'S RISING                          LAUDERDALE, JIM                     LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0000822658
                                          MALLETTE, WANDA / RYAN,
JUST ANOTHER WOMAN IN LOVE                PATTI                               SOUTHERN DAYS MUSIC                                     A                        PA0000146940
JUST IN TIME TO WATCH LOVE DIE            COE, DAVID ALLAN                    CAPTIVE MUSIC                                           O                        EU0000834749

JUST LIKE THE MOON                        RICHEY, KIM                         MIGHTY NICE MUSIC, WAIT NO MORE MUSIC                 O&A                        PA0000705719
JUST MARRIED                              ROBISON, BRUCE                      TILTAWHIRL MUSIC                                       A                         PA0000977195

JUST MY LUCK                              RICHEY, KIM                         MIGHTY NICE MUSIC, WAIT NO MORE MUSIC                 O&A                        PA0000705722
JUST OVER IN THE GLORYLAND                FASCINATO, JACK                     BAYSHORE MUSIC CORPORATION                             A                         EU0000837360
JUST TO GET TO YOU                        LAUDERDALE, JIM                     LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0001056242

JUST TRYING TO KEEP THE WOMAN I GOT       ANDERSON, AL                        MIGHTY NICE MUSIC                                       O                        PA0000909262

KEEP ME                                   RICHEY, KIM                         MIGHTY NICE MUSIC, WAIT NO MORE MUSIC                 O&A                        PA0000972139
KEEP ON ROCKIN'                           ANDERSON, AL                        MIGHTY NICE MUSIC                                      O                         PA0000927064
KEEP THE LIGHT ALIVE                      ALFONSO, BARRY                      SCARLETT'S SISTER MUSIC                                A                         PA0000776367
KENNY'S ONE                               DREW, KENNY                         DREAM CITY MUSIC                                       A                         EU0000745560
KILLIN' TIME                              MECKEL, NATHAN                      TOTO TUNES                                             A                         PA0001075005
KIND OF LIKE IT'S LOVE                    LAUDERDALE, JIM                     LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0001010626

KITCHEN BLUES                             ROBISON, BRUCE                      TILTAWHIRL MUSIC, BRUCE ROBISON MUSIC                   A                        PA0001647578
LAST GOODBYE                              SAENZ, ARMANDO                      SCRAMBLER MUSIC                                         A                        PA0001768488
LATE BLOOMER                              WHITTERS, HAILEY                    SCRAMBLER MUSIC                                         A                        PA0002056646
LATE NIGHT ADVICE                         HULTQUIST, DERIK                    SCRAMBLER MUSIC                                         A                        PA0002049602
LAY MY BODY DOWN                          MORRISON, BOB                       SOUTHERN DAYS MUSIC                                     A                       PAu0001416057
LEAD ME SAVIOUR                           FASCINATO, JACK                     BAYSHORE MUSIC CORPORATION                              A                        EU0000011151




                                 Case 3:17-cv-01051 Document 41-1 Page
                                                                   Filed     11/01/17 Page 48 of 64 PageID #: 957
                                                                       47 of 63
                                                                            Exhibit A Musical Compositions

            Composition Title              Bluewater-Controlled Writer(s)           Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
LEAD ON O KING ETERNAL                   FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                           A                        EU0000768637
LEAVING SOUVENIRS                        KNIGHT, CHRIS                        BASH MUSIC                                           O                        PA0001590078
LET IT RAIN                              NAIL, DAVID                          SCRAMBLER MUSIC                                      A                        PA0001795589

LET IT ROLL                              RICHEY, KIM                          MIGHTY NICE MUSIC, WAIT NO MORE MUSIC              O&A                        PA0001010902
LET THE RIVER FLOW                       MCCLURKIN, DONALD                    DON MAC MUSIC                                       A                         PA0001859907

LET THE SUN FALL DOWN                    RICHEY, KIM                          MIGHTY NICE MUSIC, WAIT NO MORE MUSIC              O&A                        PA0000705718
LET'S NOT SAY IT'S OVER                  LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0001088669
                                         MACRAE, FRED / MORRISON,
LET'S PUT OUR LOVE IN MOTION             BOB / ROGERS, LARRY                  SOUTHERN DAYS MUSIC                                 A                         PA0000056237
LETTER TO ANDY'S TEACHER                 SELBY, MONTE                         STREET SINGER MUSIC                                 A                         PA0001114159
LETTERS FROM HOME                        CROWLEY, J.C.                        MIGHTY NICE MUSIC                                   O                         PA0000417803
LIFE BY NUMBERS                          LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0000822644

LIFE GOOD AS IT CAN BE                   CARUSOE, SCOOTER                     ABBOTTS CREEK MUSIC, SCRAMBLER MUSIC                 A                        PA0002026318
LIKE AN ANGEL                            BUCHANAN, PAT                        MIGHTY NICE MUSIC                                    O                        PA0001050746

LIKE CHURCH                              PAYNE, CECIL                         DREAM CITY MUSIC, CHARLIE PARKER MUSIC              A                         EU0000744687
LIKE HIM                                 LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0001010630
LIKE I USED TO DO                        O'BRIEN, TIM                         HOWDY SKIES MUSIC                                   A                         PA0000484576
                                                                              TILTAWHIRL MUSIC, CROZIER MUSIC
LIKE ME                                  JONES, TROY                          ENTERPRISE                                           A                        PA0001344518

LIKE YOU DO                              KNOX, SANDY / ROSEN, STEVE           BASH MUSIC, MIGHTY NICE MUSIC                       O                         PA0000707165
LILLIE'S WHITE LIES                      NEWTON, WOOD                         MIGHTY NICE MUSIC                                   O                         PA0000513484
LISTEN TO THE SHEPHERD                   LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0001088665
LISTENING TO JOHNNY PAYCHECK             JACKSON, STONEWALL                   DREAM CITY MUSIC                                    A                        PAu0000663442
LITTLE LOU                               HAKIM, SADIK                         DREAM CITY MUSIC                                    A                         EU0000736661
LITTLE WORLD                             PETERS, GRETCHEN                     CIRCUS GIRL MUSIC                                   A                         PA0001821711

LIVING IN THE PROMISELAND                JONES, DAVID LYNN                    MIGHTY NICE MUSIC, SKUNK DEVILLE MUSIC             O&A                        PA0000298570
LONE STAR LONELY                         NEWTON, WOOD                         MIGHTY NICE MUSIC                                   O                         PA0000933638
                                         MACRAE, FRED / MORRISON,
LONELY AS THE NIGHT IS LONG              BOB / BREEDLOVE, PAULA               SOUTHERN DAYS MUSIC                                  A                        PA0000291049

LONELY TOO                               ROBISON, BRUCE                       TILTAWHIRL MUSIC, BRUCE ROBISON MUSIC                A                        PA0000957639
LONELY TOO LONG                          ANDERSON, AL                         MIGHTY NICE MUSIC                                    O                        PA0000789968
LONG COME TO JESUS                       WHITTERS, HAILEY                     SCRAMBLER MUSIC                                      A                        PA0002049606
LONG HAIRED REDNECK                      COE, DAVID ALLAN                     DAVID ALLAN COE MUSIC                                O                        EU0000633890
LONG LONG AGO                            FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                           A                        EU0000769628

LONG SUMMER DAYS                         CARUSOE, SCOOTER                     ABBOTTS CREEK MUSIC, SCRAMBLER MUSIC                 A                        PA0001762483

LONG WAY BACK                            RICHEY, KIM                          MIGHTY NICE MUSIC, WAIT NO MORE MUSIC              O&A                        PA0000972137




                                Case 3:17-cv-01051 Document 41-1 Page
                                                                  Filed     11/01/17 Page 49 of 64 PageID #: 958
                                                                      48 of 63
                                                                             Exhibit A Musical Compositions

             Composition Title              Bluewater-Controlled Writer(s)            Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
                                          SAENZ, ARMANDO / PHILLIPS,           SCRAMBLER MUSIC, TILTAWHIRL MUSIC, ACBM
LOOK AT ME FLY                            STONEY LARUE                         MUSIC                                                 A                        PA0001834785
LOOK ME IN THE EYE                        SELBY, MONTE                         STREET SINGER MUSIC                                   A                        PA0001011429

LOOK WHAT YOU'VE DONE TO MY WORLD         MAYHEW, AUBREY                       DREAM CITY MUSIC                                     A                        PAu0000140613
LOOKING FOR A HEARTACHE LIKE YOU          LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                      O&A                        PA0000977712
LOOKING FOR A PLACE TO SHINE              HEMBY, NATALIE                       TILTAWHIRL MUSIC                                     A                         PA0001776756
                                          MORRISON, BOB / MALLETTE,
LOOKING FOR LOVE                          WANDA / RYAN, PATTI                  SOUTHERN DAYS MUSIC                                   A                        PA0000042795
                                          FASCINATO, JACK / FORD,
LORENA                                    ERNEST                               BAYSHORE MUSIC CORPORATION                            A                        EP0000154159
LOSING YOU                                SMITH, ROBERT GERALD                 MELODY ROUNDUP MUSIC LLC                              A                       PAu0003416719
                                                                               MIGHTY NICE MUSIC, DAYLONG DARK
LOST AND FOUND                            YORK, KATE                           PUBLISHING                                          O&A                        PA0001352844
                                          COLEHOUR, DAN / GRISSOM,             SCRAMBLER MUSIC, TILTAWHIRL MUSIC,
LOVE ALONE                                DAVID                                STAIRWAY TO ELEVEN MUSIC                              A                        PA0001054274
LOVE LIKE THAT                            ANDERSON, AL                         MIGHTY NICE MUSIC                                     O                        PA0000909261

LOVE ONE ANOTHER                          KREKEL, TIM                          MIGHTY NICE MUSIC, GYPSY VILLAGE MUSIC              O&A                        PA0001747123
LOVE STORY IN THE MAKING                  ANDERSON, AL                         MIGHTY NICE MUSIC                                    O                         PA0000826650
                                          HOLLAND, JOHNNY / MARTIN,
LOVE WITHOUT YOU                          AMANDA                               HARMONY ROUNDUP MUSIC LLC                             A                        PA0001854215
LOVE'S OLD SWEET SONG                     FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                            A                        EU0000769627
LOVIN MACHINE                             KINGSTON, LARRY RANDAL               DREAM CITY MUSIC                                      A                        EU0000968134
LOVING HER (WILL MAKE YOU LOSE YOUR
MIND)                                     COE, DAVID ALLAN                     DAVID ALLAN COE MUSIC                                 O                        PA0000059937
LOWER THAN LONELY                         LIVSEY, BILLY                        BILLY LIVSEY MUSIC                                    A                        PA0001262079
LUCKY ONE                                 MILLER, ALAN                         CLASHING PLAIDS                                       A                        PA0001679536
MAKE IT LAST                              CROWLEY, J.C.                        MIGHTY NICE MUSIC                                     O                        PA0000120111
MAKE IT RAIN                              SHAWE, DOUGLAS                       SCITUATE HARBOR MUSIC                                 A                        PAU003576503
MALFUNCTION                               JOSEPH, JOHN                         DREAM CITY MUSIC                                      A                        PA0000532442
MAMA TIME                                 STANSBERRY, JEFF                     MELODY ROUNDUP MUSIC LLC                              A                        PA0001808063
MAN IN THE MEADOW                         ARKEEN, AARON WEST                   WEST ARKEEN MUSIC                                     A                        PA0000685512
                                          FASCINATO, JACK / FORD,
MARCHING THROUGH GEORGIA                  ERNEST                               BAYSHORE MUSIC CORPORATION                            A                         EP0000154286
                                          FASCINATO, JACK / FORD,
MARYLAND MY MARYLAND                      ERNEST                               BAYSHORE MUSIC CORPORATION                           A                         EP0000154289
MAYBE                                     LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                      O&A                        PA0000523748
ME AND CHARLIE TALKIN'                    LITTLE, HEATHER                      TILTAWHIRL MUSIC                                     A                         PA0001273138
ME AND THIS ROAD                          KNIGHT, CHRIS                        BASH MUSIC                                           O                         PA0001199858

MENTION A MANSION                         HUPP, DEBBIE / MORRISON, BOB SOUTHERN DAYS MUSIC                                           A                        PA0000081199

                                          MATHENY, LOGAN / MATHENY,
MERCIFUL MAN                              SKIP / MATHENY, TIMSHEL   BILL AND MARY MUSIC, SCRAMBLER MUSIC                            A                         PA0001809924
MERLE WORLD                               LAUDERDALE, JIM           LAUDERSONGS, MIGHTY NICE MUSIC                                 O&A                        PA0001056245




                                 Case 3:17-cv-01051 Document 41-1 Page
                                                                   Filed     11/01/17 Page 50 of 64 PageID #: 959
                                                                       49 of 63
                                                                            Exhibit A Musical Compositions

            Composition Title              Bluewater-Controlled Writer(s)            Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
MICHAEL'S SONG                           SELBY, MONTE                         STREET SINGER MUSIC                                   A                        PA0001011434
                                         SELBY, MICHELLE / SELBY,
MIDDLE SCHOOL                            MONTE                                STREET SINGER MUSIC                                   A                        PA0001055468
                                         MECKEL, MARK / SELBY,
MIDDLE SCHOOL MATTERS                    MONTE                                STREET SINGER MUSIC                                  A                         PA0001114160
MIDNIGHT WILL BECOME DAY                 LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                      O&A                        PA0001088676
MIGHT SEEM LIKE A LOSER                  LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                      O&A                        PA0000455938
MIGHTY BIG CAR                           ELGERSMA, FRED                       CRITTER CITY MUSIC                                   O                         PA0000969660
MIGHTY LONESOME                          LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                      O&A                        PA0001371077
MILES TO MEMPHIS                         KNIGHT, CHRIS                        BASH MUSIC                                           O                         PA0001381253
MISSING HER BLUES                        REED, LUKE                           TILTAWHIRL MUSIC                                     A                         PA0001090262
MISSING YOU                              ANDERSON, AL                         MIGHTY NICE MUSIC                                    O                         PA0000763377
                                         CARUSOE, SCOOTER /
                                         COLEHOUR, DAN / LEAVELL,
MISSISSIPPI                              CHUCK                                SCRAMBLER MUSIC, TILTAWHIRL MUSIC                     A                        PA0001741668
MISSISSIPPI WOMAN                        COE, DAVID ALLAN                     DAVID ALLAN COE MUSIC                                 O                        PA0000179631
MOMENTS THAT MATTER                      IRWIN, MARK                          SCRAMBLER MUSIC                                       A                        PA0001632326
                                                                              RESTLESS WIND MUSIC, SUITE TWO O FIVE
MOONSHINE AND INDIAN BLOOD               SHAVER, BILLY JOE                    MUSIC                                                 A                        PA0000968063
MOONSHINE AND MOUNTAIN DEW               IRWIN, MARK                          SCRAMBLER MUSIC                                       A                        PA0001752326
                                         MECKEL, MARK / SELBY,
MORE HANDS                               MONTE / SILVER, DEBBIE               STREET SINGER MUSIC, TOTO TUNES                      A                         PA0001596406
MORE THAN WILLING                        BAIRD, ROB                           TILTAWHIRL MUSIC                                     A                         PA0001803249
MORNING                                  LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                      O&A                        PA0001088670
MORNING SUN                              ANDERSON, AL                         BASH MUSIC                                           O                         PA0000975319
MUSIC TREE                               O'BRIEN, TIM                         HOWDY SKIES MUSIC                                    A                         PA0001018716
                                         CARUSOE, SCOOTER /
MY AMERICA                               COLEHOUR, DAN                        SCRAMBLER MUSIC                                       A                        PA0001727477

MY BROTHER AND ME                        ROBISON, BRUCE                       TILTAWHIRL MUSIC, BRUCE ROBISON MUSIC                 A                        PA0000875659
MY DAD IS A SUPERINTENDENT               SELBY, MONTE                         STREET SINGER MUSIC                                   A                        PA0001270819
MY HEART'S BROKE DOWN (BUT MY MIND'S
MADE UP)                                 MILLER, DEAN                         MIGHTY NICE MUSIC                                     O                        PA0000816098
MY OLD MAN'S SON                         SANDERS, BLU                         TILTAWHIRL MUSIC                                      A                        PA0001756004
MY ONLY PRAYER                           KNIGHT, CHRIS                        BASH MUSIC                                            O                        PA0001590077

MY WHOLE WORLD                           RICHEY, KIM                          MIGHTY NICE MUSIC, WAIT NO MORE MUSIC               O&A                        PA0001010900
MYSTERY IN THE MAKING                    HEMBY, NATALIE                       TILTAWHIRL MUSIC                                     A                         PA0001799329
NATURAL DISASTER                         PETERS, GRETCHEN                     CIRCUS GIRL MUSIC                                    A                         PA0001821711
NEARER STILL NEARER                      FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                           A                         EU0000011150
NEON TAN                                 SMITH, ROBERT GERALD                 MELODY ROUNDUP MUSIC LLC                             A                         PA0001649101
NEVER GONNA FEEL LIKE THAT AGAIN         COLEMAN, PHILLIP                     GRAVITRON MUSIC                                      A                         PA0001093294
NEVER SAY NEVER                          ANDERSON, AL                         MIGHTY NICE MUSIC                                    O                         PA0002138403
NEW CASCADE                              LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                      O&A                        PA0001088666




                                Case 3:17-cv-01051 Document 41-1 Page
                                                                  Filed     11/01/17 Page 51 of 64 PageID #: 960
                                                                      50 of 63
                                                                           Exhibit A Musical Compositions

            Composition Title             Bluewater-Controlled Writer(s)              Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #

                                         MATHENY, LOGAN / MATHENY,
NEW YORK THIS MORNING                    SKIP / MATHENY, TIMSHEL   BILL AND MARY MUSIC, SCRAMBLER MUSIC                              A                        PA0001809935
NINE ROSE ROCKS                          SAENZ, ARMANDO            SCRAMBLER MUSIC                                                   A                        PA0001869380
NO EXCUSE                                SELBY, MONTE              STREET SINGER MUSIC                                               A                        PA0001228988

NO MAN'S LAND                            HUGHES, JEDD MICHAEL                BAMBATOWN PUBLISHING, TILTAWHIRL MUSIC                  A                        PA0001783152
NO NIGHT THERE                           FASCINATO, JACK                     BAYSHORE MUSIC CORPORATION                              A                        EU0000233575
                                         GIACOMOTTO, OLIVIER / DE
NO NO NO                                 SILVA, JEROME                       QAP SONGS                                               A                           PENDING
NO ONE'S GIRL                            SELBY, MONTE                        STREET SINGER MUSIC                                     A                        PA0001270819

NO PROBLEM                               JORDAN, DUKE                        DREAM CITY MUSIC, CHARLIE PARKER MUSIC                 A                         EU0000681080
NOBODY                                   SAENZ, ARMANDO                      SCRAMBLER MUSIC                                        A                         PA0001910941
NOBODY GETS HURT                         ANDERSON, AL                        MIGHTY NICE MUSIC, AL ANDERSONGS                      O&A                        PA0000976503
NOBODY HAS TO GET HURT                   LAUDERDALE, JIM                     LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0000737136
NOT AFRAID OF THE DARK                   LAUDERDALE, JIM                     LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0000520891

NOT FORGOTTEN YOU                        ROBISON, BRUCE                      TILTAWHIRL MUSIC, BRUCE ROBISON MUSIC                   A                        PA0000957656

NOTHIN' LIKE THE FIRST TIME              HUGHES, JEDD MICHAEL                BAMBATOWN PUBLISHING, TILTAWHIRL MUSIC                  A                        PA0001858363
NOTHIN' WRONG WITH ME                    ANDERSON, AL                        MIGHTY NICE MUSIC                                       O                        PA0000734920

                                         CHERA, LEONARD / MORRISON,
NOW THERE'S YOU                          BOB / PEOPLES, RICK                 SOUTHERN DAYS MUSIC                                     A                        PA0000234154
NUMBER 37405                             JONES, TROY                         TEE ROY PUBLISHING, TILTAWHIRL MUSIC                    A                        PA0001891975
NYA NYA NYA                              ANDERSON, AL                        MIGHTY NICE MUSIC                                       O                        PA0001054276
                                         MACRAE, FRED / MORRISON,
OH HONEY OH BABE                         BOB                                 SOUTHERN DAYS MUSIC                                     A                        PA0000099349
                                         FASCINATO, JACK / FORD,
OH HOW I LOVE JESUS                      ERNEST                              BAYSHORE MUSIC CORPORATION                             A                         EU0000608485
OH LINDA                                 COLLINS, BURTON                     LOOKS LIKE PLAID MUSIC                                 A                         PA0001595928
OH MY GOODNESS                           LAUDERDALE, JIM                     LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0001056249

                                                                             STREET SINGER MUSIC, CAMILLE'S CLEVER
                                         WAYLAND, RICH / SCHILLER,           SONGS, CATMOTHER MUSIC, JOYOUS JINGLES
OH NO                                    ROBERTA / MILLER, ALLAN             INC., TOTO TUNES, WINNING CIRCLE MUSIC                 A                         PA0000702768
OH! SOUL                                 LAUDERDALE, JIM                     LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0001088663
                                         FORD, ERNEST / FASCINATO,           TENNESSEE ERNIE FORD MUSIC, BAYSHORE
OLD BLUE                                 JACK                                MUSIC CORPORATION                                       A                        EU0000568284
OLD FASHIONED HEART                      SCHWARTZ, EDWARD S.                 HIGH FRONTIER MUSIC                                     A                        PA0000513791
OLD MAN'S SYMPHONY                       NAIL, DAVID                         SCRAMBLER MUSIC                                         A                        PA0002051134
OLD TIME RELIGION                        FASCINATO, JACK                     BAYSHORE MUSIC CORPORATION                              A                        EP0000144196
OLD TOWN NEW                             ROBISON, BRUCE                      TILTAWHIRL MUSIC                                        A                        PA0001245185
OLIVIA                                   MILLER, ALAN                        TOTO TUNES, WINNING CIRCLE MUSIC INC.                   A                        PA0001197570




                                Case 3:17-cv-01051 Document 41-1 Page
                                                                  Filed     11/01/17 Page 52 of 64 PageID #: 961
                                                                      51 of 63
                                                                          Exhibit A Musical Compositions

           Composition Title             Bluewater-Controlled Writer(s)              Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #

ON MY WAY                               CARUSOE, SCOOTER                    ABBOTTS CREEK MUSIC, SCRAMBLER MUSIC                   A                         PA0001756001
ONCE THEY'RE GONE                       HOOD, ADAM                          TILTAWHIRL MUSIC                                       A                         PA0001795967
ONE IN A MILLION                        ROBISON, BRUCE                      TILTAWHIRL MUSIC                                       A                         PA0001046430
ONE IN A ROW                            NEWTON, WOOD                        MIGHTY NICE MUSIC                                      O                         PA0000513930
ONE LIE AWAY                            LAUDERDALE, JIM                     LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0001113461
ONE MORE HELL                           WHITTERS, HAILEY                    SCRAMBLER MUSIC                                        A                         PA0002049598
ONE NIGHT WITH YOU                      HULTQUIST, DERIK                    SCRAMBLER MUSIC                                        A                         PA0002051139
ONE OF YOU                              LAUDERDALE, JIM                     LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0000957645
ONE SLIGHTLY USED WEDDING BAND          ROSE, LEE                           DREAM CITY MUSIC                                       A                         EP0000222502

ONE SONG                                JONES, DAVID LYNN                   MIGHTY NICE MUSIC, SKUNK DEVILLE MUSIC                O&A                        PA0000471406
ONE STEP AT A TIME                      REED, LUKE                          TILTAWHIRL MUSIC                                       A                         PA0002291416
ONE SWEETLY SOLEMN THOUGHT              FASCINATO, JACK                     BAYSHORE MUSIC CORPORATION                             A                         EU0000979396
ONE TONIGHT                             ANDERSON, AL                        MIGHTY NICE MUSIC                                      O                         PA0000957637
ONLY PRETTIER                           HEMBY, NATALIE                      TILTAWHIRL MUSIC                                       A                         PA0001682824
                                        FASCINATO, JACK / FORD,
ONWARD CHRISTIAN SOLDIERS               ERNEST                              BAYSHORE MUSIC CORPORATION                             A                         EP0000139321
OPTIMISTIC MESSENGER                    LAUDERDALE, JIM                     LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0000822657

OTHER SIDE OF TOWN                      RICHEY, KIM                         MIGHTY NICE MUSIC, WAIT NO MORE MUSIC                 O&A                        PA0000972133
OUR HOMETOWN                            SELBY, MONTE                        STREET SINGER MUSIC                                    A                         PA0001270819
OVERNIGHT SUCCESS                       MILLER, ALAN                        TOTO TUNES, WINNING CIRCLE MUSIC INC.                  A                         PA0001197570
PANAMA CITY                             IRWIN, MARK                         SCRAMBLER MUSIC                                        A                         PA0002017361
PANAMA RED                              SAENZ, ARMANDO                      SCRAMBLER MUSIC                                        A                         PA0001868723

                                        DOHENY, DENNIS / REID JR,
PANIC                                   JOHN R / THATCHER JR, LEON D        DREAM CITY MUSIC                                        A                        EU0000644801
PARADISE FOUND                          PETERS, GRETCHEN                    CIRCUS GIRL MUSIC                                       A                        PA0001821711
                                        TATE, SAM / WRIGHT,
PARK THE PICKUP                         KATHLEEN                            GRAVITRON MUSIC                                         A                        PA0001090263
PEACE ON EARTH                          BRANTLEY, RICK                      SCRAMBLER MUSIC                                         A                        PA0001825055
                                                                            TILTAWHIRL MUSIC, CROZIER MUSIC
PEOPLE ARE CRAZY                        JONES, TROY                         ENTERPRISE                                              A                        PA0001682689
PERFECT WORLD                           KREKEL, TIM                         MIGHTY NICE MUSIC                                       O                        PA0000970337
PHOTOGRAPH IN MY MIND                   CROWLEY, J.C.                       MIGHTY NICE MUSIC                                       O                        PA0000222732
                                                                            MIGHTY NICE MUSIC, NICKLAS HAMILTON
                                        HAMILTON, NICKLAS /                 MUSIC, CRITTER CITY MUSIC, KINK ADOR
PILGRIM SONG                            NOVIKOV, SHARON                     PUBLISHING                                            O&A                        PA0001909216
PLANET OF LOVE                          LAUDERDALE, JIM                     LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0000523752
                                                                            HARMONY ROUNDUP MUSIC LLC, MUSIC OF
PLANT THE SEED                          MCCABE, COLEY                       COLEY MCCABE                                           A                         PA0001611712
PLAY ON                                 HEMBY, NATALIE                      TILTAWHIRL MUSIC                                       A                         PA0001741874
PLEASE BE SAN ANTONE                    LAUDERDALE, JIM                     LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0000969679
PLEASE PARDON ME                        LAUDERDALE, JIM                     LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0000822652
POCKET CHANGE                           SAENZ, ARMANDO                      SCRAMBLER MUSIC                                        A                         PA0001868724




                               Case 3:17-cv-01051 Document 41-1 Page
                                                                 Filed     11/01/17 Page 53 of 64 PageID #: 962
                                                                     52 of 63
                                                                             Exhibit A Musical Compositions

             Composition Title              Bluewater-Controlled Writer(s)           Bluewater-Controlled Publisher(s)    Own "O" / Administer "A"   Copyright Registration #
POINT OF NO RETURN                        LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                         PA0001093297

POOR MAN'S SON                            ROBISON, BRUCE                       TILTAWHIRL MUSIC, BRUCE ROBISON MUSIC                 A                        PA0000942265
POOR ME                                   ANDERSON, AL                         MIGHTY NICE MUSIC                                     O                        PA0000927065
POWERFUL THING                            ANDERSON, AL                         MIGHTY NICE MUSIC                                     O                        PA0000952926
                                          SMITH, ROBERT GERALD
PRAY IT AWAY                              GREGORY, CLINTON                     MELODY ROUNDUP MUSIC LLC                              A                        PA0002009768
PRAYER IS THE SOUL'S SINCERE DESIRE       FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                            A                        EU0000233574
                                          FASCINATO, JACK / FORD,              TENNESSEE ERNIE FORD MUSIC, BAYSHORE
PRECIOUS MEMORIES                         ERNEST                               MUSIC CORPORATION                                     A                        EU0000583595
                                                                               TILTAWHIRL MUSIC, CROZIER MUSIC
PRETTY GOOD AT DRINKIN' BEER              JONES, TROY                          ENTERPRISE                                            A                        PA0001735471
PRETTY THINGS                             PETERS, GRETCHEN                     CIRCUS GIRL MUSIC                                     A                        PA0002039732
PRIDE COVERED EARS                        KINGSTON, LARRY RANDAL               DREAM CITY MUSIC                                      A                        EU0000968133
PRISONER OF YOUR LOVE                     CROWLEY, J.C.                        MIGHTY NICE MUSIC                                     O                        PA0000014172
PROFESSOR                                 SELBY, MONTE                         STREET SINGER MUSIC                                   A                        PA0001597133
PUT IT WHERE THE LOVE DON'T SHINE         SCHWARTZ, EDWARD S.                  HIGH FRONTIER MUSIC                                   A                       PAu0001691776

PUT YOU IN A SONG                         HUGHES, JEDD MICHAEL                 BAMBATOWN PUBLISHING, TILTAWHIRL MUSIC               A                         PA0001742726
QUESTIONS                                 SELBY, MONTE                         STREET SINGER MUSIC                                  A                         PA0001270819
QUIT THAT                                 LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                      O&A                        PA0001088657
RACING TO A RED LIGHT                     HULTQUIST, DERIK                     SCRAMBLER MUSIC                                      A                         PA0002049627
                                                                               STREET SINGER MUSIC, O'GOODIS INDUSTRIES
RAD HAYOM                                 GOODIS, ALAN                         WORLDWIDE                                             A                        PA0002009105
RADIO WAVES                               SANDERS, BLU                         TILTAWHIRL MUSIC                                      A                        PA0001677699

RAYNE, LOUISIANA                          ROBISON, BRUCE                       BRUCE ROBISON MUSIC, TILTAWHIRL MUSIC                 A                        PA0000952920
                                                                               CLASHING PLAIDS, WINNING CIRCLE MUSIC
READ BETWEEN THE LIES                     MILLER, ALAN                         INC.                                                  A                        PA0001310833
READY FOR THE RAIN                        MILLER, DEAN                         MIGHTY NICE MUSIC                                     O                        PA0001338605

RED LETTER DAY                            ROBISON, BRUCE                       TILTAWHIRL MUSIC, BRUCE ROBISON MUSIC                A                         PA0000977193
REDBIRD                                   LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                      O&A                        PA0001088659

REDEMPTION                                BRANTLEY, RICK / BAIRD, ROB          SCRAMBLER MUSIC, TILTAWHIRL MUSIC                     A                        PA0001803241
REFRIGERATOR                              SELBY, MONTE                         STREET SINGER MUSIC                                   A                        PA0001114155
                                          TATE, SAM / WRIGHT,
REVENGE OF A MIDDLE AGED WOMAN            KATHLEEN                             GRAVITRON MUSIC                                       A                        PA0001249787
                                          CORBIN, ANDRE / FERREIRA,
                                          FRANK / ABARCA, GERALD /
                                          BARRAGAN, LARRY / RIVERA,
RHAPSODY IN BLACK                         JAMES                                BASH MUSIC                                            O                        PA0000454554
                                          FASCINATO, JACK / FORD,
RIDING A RAID                             ERNEST                               BAYSHORE MUSIC CORPORATION                            A                        EP0000154293
RIGHT MAN FOR THE JOB                     ROBISON, BRUCE                       TILTAWHIRL MUSIC                                      A                        PA0001046429
RIGHT ON TIME                             ANDERSON, AL                         MIGHTY NICE MUSIC                                     O                        PA0000927076




                                 Case 3:17-cv-01051 Document 41-1 Page
                                                                   Filed     11/01/17 Page 54 of 64 PageID #: 963
                                                                       53 of 63
                                                                             Exhibit A Musical Compositions

             Composition Title              Bluewater-Controlled Writer(s)            Bluewater-Controlled Publisher(s)    Own "O" / Administer "A"   Copyright Registration #
RISE UP                                   SAENZ, ARMANDO                       SCRAMBLER MUSIC                                        A                        PA0002028418
RITA'S ONLY FAULT                         KNIGHT, CHRIS                        BASH MUSIC                                             O                        PA0001590076
                                          FARRI, ANDREA / NOVIKOV,             BASH MUSIC, CRITTER CITY MUSIC, KINK ADOR
ROAD TO HELL                              SHARON KOLTICK                       PUBLISHING                                           O&A                        PA0001909212
                                                                               CLASHING PLAIDS, WINNING CIRCLE MUSIC
ROCK AND A HEARTACHE                      MILLER, ALAN                         INC.                                                   A                        PA0001310840
                                          FORD, ERNEST / FASCINATO,            TENNESSEE ERNIE FORD MUSIC, BAYSHORE
ROCK OF AGES                              JACK                                 MUSIC CORPORATION                                     A                         EP0000103836
ROCK ON                                   CANNON-GOODMAN, MARLA                SCRAMBLER MUSIC, MY MY MY MUSIC                       A                         PA0002051128
ROCKAWAY                                  COBB, BRENT                          SCRAMBLER MUSIC                                       A                         PA0001790920
ROCKS IN YOUR SHOES                       WRIGHT, KATHLEEN                     GRAVITRON MUSIC                                       A                         PA0001753452
ROLLIN' THE DICE                          LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                       O&A                        PA0001088677
ROOM GOES DARK                            SAENZ, ARMANDO                       SCRAMBLER MUSIC                                       A                         PA0001960046
                                          MATHENY, SKIP / MATHENY,
ROSALYN                                   TIMSHEL                              SCRAMBLER MUSIC, BILL AND MARY MUSIC                   A                        PA0001700425
RUDIN'S THEME                             SELBY, MONTE                         STREET SINGER MUSIC                                    A                        PA0001011432
SAFE WITH ME                              SHAWE, DOUGLAS                       APOCALYPSO MUSIC                                       A                        PAU003765215

SAME DAMN THING                           BRANTLEY, RICK / BAIRD, ROB          SCRAMBLER MUSIC, TILTAWHIRL MUSIC                     A                         PA0001803241
SAN JOSE                                  MILLER, ALAN                         TOTO TUNES, WINNING CIRCLE MUSIC INC.                 A                         PA0001213302
SAPPHIRE                                  LAUDERDALE, JIM                      SKY-EYE MUSIC, CRITTER CITY MUSIC                    O&A                        PA0001210276
                                                                               TILTAWHIRL MUSIC, STAIRWAY TO ELEVEN
SATISFIED                                 GRISSOM, DAVID                       MUSIC                                                  A                        PA0001916447
SAY ANYTHING                              HOOD, ADAM                           TILTAWHIRL MUSIC                                       A                        PA0001815991
SCARS                                     BRILL, LOGAN                         TILTAWHIRL MUSIC                                       A                        PA0001917868

SEE YOU AROUND                            ROBISON, BRUCE                       TILTAWHIRL MUSIC, BRUCE ROBISON MUSIC                  A                        PA0000875656

SEEMS LIKE YOU'RE GONNA TAKE ME BACK LAUDERDALE, JIM                           LAUDERSONGS, MIGHTY NICE MUSIC                       O&A                        PA0000822649
SEND A BOAT                          KNIGHT, CHRIS                             BASH MUSIC                                            O                         PA0001088855
                                     FASCINATO, JACK / FORD,
SEND THE LIGHT                       ERNEST                                    BAYSHORE MUSIC CORPORATION                             A                        PA0000094341
SET YOU FREE                         MECKEL, NATHAN                            SPIN BOX MUSIC                                         A                        PA0001912092
                                     FASCINATO, JACK / FORD,
SHALL WE GATHER AT THE RIVER         ERNEST                                    BAYSHORE MUSIC CORPORATION                             A                        EU0000608484
                                     SAENZ, ARMANDO / PHILLIPS,                SCRAMBLER MUSIC, TILTAWHIRL MUSIC, ACBM
SHARECROPPER                         STONEY LARUE                              MUSIC                                                 A                         PA0001834783
SHE NEVER LOOKS BACK                 LAUDERDALE, JIM                           LAUDERSONGS, MIGHTY NICE MUSIC                       O&A                        PA0000764867

SHE THINKS HIS NAME WAS JOHN              KNOX, SANDY / ROSEN, STEVE           BASH MUSIC, MIGHTY NICE MUSIC                          O                        PA0000642381
                                          MUSGRAVE, MACK / SMITH,
SHE WAS A FOX                             ROBERT GERALD                        MELODY ROUNDUP MUSIC LLC                              A                         PA0001733141
SHE WOULD NOT TELL HER MORE               LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                       O&A                        PA0001088661
                                                                               STREET SINGER MUSIC, O'GOODIS INDUSTRIES
SHEKACHA LO B'OLAMO                       GOODIS, ALAN                         WORLDWIDE                                              A                        PA0002009108
SHE'LL NEVER KNOW                         MILLER, ALAN                         TOTO TUNES, WINNING CIRCLE MUSIC INC.                  A                        PA0001197570




                                 Case 3:17-cv-01051 Document 41-1 Page
                                                                   Filed     11/01/17 Page 55 of 64 PageID #: 964
                                                                       54 of 63
                                                                             Exhibit A Musical Compositions

             Composition Title              Bluewater-Controlled Writer(s)             Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
SHE'S GOT A HOLD ON ME                    COPELAND, DREW                       TILTAWHIRL MUSIC                                       A                        PA0001783816
SHE'S LOOKING AT ME                       LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                      O&A                         PA0001088664
                                                                               TILTAWHIRL MUSIC, CROZIER MUSIC
SHIFTWORK                                 JONES, TROY                          ENTERPRISE                                            A                         PA0001741310
SHINE ON                                  SCHWARTZ, EDWARD S.                  HIGH FRONTIER MUSIC                                   A                         PA0000533827
SHORTY WAS A BIG MAN                      SMITH, ROBERT GERALD                 MELODY ROUNDUP MUSIC LLC                              A                         PA0001649382
SHOULD'VE JUST LET ME GO                  WHITTERS, HAILEY                     SCRAMBLER MUSIC                                       A                         PA0001867916
SIMPLE LITTLE ME                          ROLAND, RICKEY CHAD                  MELODY ROUNDUP MUSIC LLC                              A                         PA0001813453
SINCE WHEN                                MILLER, ALAN                         TOTO TUNES, WINNING CIRCLE MUSIC INC.                 A                         PA0001092342
SING YOU BACK HOME                        LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                       O&A                        PA0001111279
                                          SAENZ, ARMANDO / PHILLIPS,           SCRAMBLER MUSIC, TILTAWHIRL MUSIC, ACBM
SIRENS                                    STONEY LARUE                         MUSIC                                                 A                         PA0001834785
SIXTEEN                                   ROBISON, BRUCE                       TILTAWHIRL MUSIC                                      A                         PA0001064883
SKIN TIGHT                                SCHWARTZ, EDWARD S.                  HIGH FRONTIER MUSIC                                   A                         PA0000470038
SLIDE O RAMA                              HULLETT, BILL                        MIGHTY NICE MUSIC                                     O                         PA0000933952
SLOW MOTION TROUBLE                       LAUDERDALE, JIM                      SKY-EYE MUSIC, CRITTER CITY MUSIC                    O&A                        PA0001210274
SMALL DARK CLOUD                          LIVSEY, BILLY                        BILLY LIVSEY MUSIC                                    A                        PAu0002482825
SNOW DAY                                  SELBY, MONTE                         STREET SINGER MUSIC                                   A                         PA0001270819
SNOWBALL WAR                              SELBY, MONTE                         STREET SINGER MUSIC                                   A                         PA0001740732

SO IT GOES                                RICHEY, KIM                          MIGHTY NICE MUSIC, WAIT NO MORE MUSIC                O&A                        PA0000972136
                                          FORD, ERNEST / FASCINATO,            TENNESSEE ERNIE FORD MUSIC, BAYSHORE
SOFTLY AND TENDERLY                       JACK                                 MUSIC CORPORATION                                     A                         EP0000103835
SOLITARY THINKING                         PAYNE, WAYLON                        TILTAWHIRL MUSIC                                      A                         PA0001669438
SOME OTHER BAYOU                          LAUDERDALE, JIM                      SKY-EYE MUSIC, CRITTER CITY MUSIC                    O&A                        PA0001210273
SOMEBODY                                  KREKEL, TIM                          MIGHTY NICE MUSIC                                     O                         PA0000970335
SOMEBODY LIKE YOU                         KREKEL, TIM                          MIGHTY NICE MUSIC                                     O                         PA0000819451
SOMEBODY STOP ME                          ANDERSON, AL                         MIGHTY NICE MUSIC                                     O                         PA0000871092
                                                                               CLASHING PLAIDS, WINNING CIRCLE MUSIC
SOMEONE ELSE                              MILLER, ALAN                         INC.                                                  A                         PA0001310838
SOMEONE SHOULD TELL HER                   ANDERSON, AL                         MIGHTY NICE MUSIC                                     O                         PA0000908617
SOMETHING ALREADY GONE                    ANDERSON, AL                         MIGHTY NICE MUSIC                                     O                         PA0000713978
SOMETHING IN THE WATER                    ANDERSON, AL                         MIGHTY NICE MUSIC, AL ANDERSONGS                     O&A                        PA0001027493

                                          MATHENY, LOGAN / MATHENY,
SOMETHING LEFT TO SAY                     SKIP / MATHENY, TIMSHEL   BILL AND MARY MUSIC, SCRAMBLER MUSIC                              A                        PA0001809924
                                                                    CLASHING PLAIDS, WINNING CIRCLE MUSIC
SOMETHING LIKE A BROKEN HEART             MILLER, ALAN              INC.                                                             A                         PA0001310834
SOMETHING TO BRAG ABOUT                   ANDERSON, AL              MIGHTY NICE MUSIC, AL ANDERSONGS                                O&A                        PA0000986922
SOMETHING'S CHANGED                       KNIGHT, CHRIS             BASH MUSIC                                                       O                         PA0000741058
SOMETIMES                                 LAUDERDALE, JIM           LAUDERSONGS, MIGHTY NICE MUSIC                                  O&A                        PA0000799194
SOMETIMES I CRY                           LAUDERDALE, JIM           LAUDERSONGS, MIGHTY NICE MUSIC                                  O&A                        PA0000977711
SONG OF MADNESS                           BRANTLEY, RICK            SCRAMBLER MUSIC                                                  A                         PA0001934441

SONGS FOR SALE                            CARUSOE, SCOOTER                     ABBOTTS CREEK MUSIC, SCRAMBLER MUSIC                   A                        PA0001792707




                                 Case 3:17-cv-01051 Document 41-1 Page
                                                                   Filed     11/01/17 Page 56 of 64 PageID #: 965
                                                                       55 of 63
                                                                            Exhibit A Musical Compositions

            Composition Title              Bluewater-Controlled Writer(s)           Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
                                         HOOD, ADAM / GOODMAN,                TILTAWHIRL MUSIC, MIDWEST MIDNIGHT
SONGS FOR THREE GIRLS                    LADY                                 MUSIC                                                A                        PA0001783894

                                         MATHENY, LOGAN / MATHENY,
SOOKIE                                   SKIP / MATHENY, TIMSHEL   BILL AND MARY MUSIC, SCRAMBLER MUSIC                            A                        PA0001809924
SOUNDS LIKE THE TRUTH                    SELBY, MONTE              STREET SINGER MUSIC                                             A                        PA0001239967

SOUTHERN GRAVITY                         CARUSOE, SCOOTER                     ABBOTTS CREEK MUSIC, SCRAMBLER MUSIC                A                         PA0001994534
SPARKLE                                  LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0000513485
STAND                                    MCCLURKIN, DONALD                    DON MAC MUSIC                                       A                         PA0000937860
STAND STILL                              ANDERSON, AL                         MIGHTY NICE MUSIC                                   O                         PA0000734913
                                         FASCINATO, JACK / FORD,
STANDING IN THE NEED OF PRAYER           ERNEST                               BAYSHORE MUSIC CORPORATION                          A                         EP0000144198
STAY ALL NIGHT                           COBB, BRENT                          TILTAWHIRL MUSIC                                    A                         PA0001962467
STAY AWAY FROM YOUR HEROES               ANDERSON, AL                         MIGHTY NICE MUSIC                                   O                         PA0001054275
STAY OUT OF MY ARMS                      LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0000394228
                                                                              MIGHTY NICE MUSIC, DAYLONG DARK
STAY WITH ME                             YORK, KATE                           PUBLISHING                                         O&A                        PA0001352841
STILL NOT OUT OF THE WOODS               LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0000969685
STINKY                                   ROBERTS, RIK                         TOTO TUNES                                          A                         PA0001138606
STONE COLD WORLD                         MILLER, ALAN                         TOTO TUNES, WINNING CIRCLE MUSIC INC.               A                         PA0001310847
                                         FASCINATO, JACK / FORD,
STONEWALL JACKSON'S WAY                  ERNEST                               BAYSHORE MUSIC CORPORATION                          A                         EP0000154284
STOP ANOTHER HEART BREAKIN'              LIVSEY, BILLY                        QUINCE MUSIC LTD.                                   A                         PA0000197275
STOP FOR ME                              HEMBY, NATALIE                       TILTAWHIRL MUSIC                                    A                         PA0001758486
STOP ME                                  LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                     O&A                        PA0000544677

STRAIGHT AS THE CROW FLIES               RICHEY, KIM                          MIGHTY NICE MUSIC, WAIT NO MORE MUSIC              O&A                        PA0001010896
STRAIGHT INTO THE SUN                    MECKEL, NATHAN                       TOTO TUNES                                          A                         PA0001100566
STRANGER THAN DREAMS                     ALFONSO, BARRY                       BASH MUSIC, SCARLETT'S SISTER MUSIC                O&A                        PA0001011596
STRANGERS ON A TRAIN                     CARUSOE, SCOOTER                     SCRAMBLER MUSIC                                     A                         PA0001741661
STREET RACER                             HULLETT, BILL                        MIGHTY NICE MUSIC                                   O                         PA0000933957

STRENGTH IN YOU                          RICHEY, KIM                          MIGHTY NICE MUSIC, WAIT NO MORE MUSIC              O&A                        PA0000972134
STRONGER THAN YOUR LOVE                  MILLER, DEAN                         MIGHTY NICE MUSIC                                   O                         PA0001316457
STUCK RIGHT IN THE MIDDLE OF YOUR        MACRAE, FRED / MORRISON,
LOVE                                     BOB                                  SOUTHERN DAYS MUSIC                                  A                        PA0000058906

SUBWAY INN                               JORDAN, DUKE                         DREAM CITY MUSIC, CHARLIE PARKER MUSIC               A                        PA0000590550
SUCH A LONG WAY FROM HOME                HULLETT, BILL                        MIGHTY NICE MUSIC                                    O                        PA0000933956
SUCKS TO BE YOU                          ZACHARUK, ANDREA                     25 NORTH PUBLISHING                                  A                        PA0001682053
SUGARCANE STREET                         ALFONSO, BARRY                       SCARLETT'S SISTER MUSIC                              A                        PA0001090260
                                         TATE, SAM / WRIGHT,
SUMMER OF '75                            KATHLEEN / KNIGHT, CHRIS             CRITTER CITY MUSIC, BASH MUSIC                       O                        PA0000741060
SUNFLOWER                                LIVSEY, BILLY                        BILLY LIVSEY MUSIC                                   A                        PA0001915413
SUPER HERO                               MECKEL, NATHAN                       TOTO TUNES                                           A                        PA0001075010




                                Case 3:17-cv-01051 Document 41-1 Page
                                                                  Filed     11/01/17 Page 57 of 64 PageID #: 966
                                                                      56 of 63
                                                                               Exhibit A Musical Compositions

               Composition Title              Bluewater-Controlled Writer(s)             Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
                                            FASCINATO, JACK / FORD,              BAYSHORE MUSIC CORPORATION, TENNESSEE
SWEET HOUR OF PRAYER                        ERNEST                               ERNIE FORD MUSIC                                       A                        EU0000456315
SWEET MARIE                                 SAENZ, ARMANDO                       SCRAMBLER MUSIC                                        A                        PA0001910946

SWEET MYSTERIES                             RICHEY, KIM                          MIGHTY NICE MUSIC, WAIT NO MORE MUSIC                O&A                        PA0000705721
SWEET VIBRATIONS SOME FOLKS CALL IT
LOVE                                        COE, DAVID ALLAN                     CAPTIVE MUSIC                                          O                        EU0000324085
                                            TATE, SAM / WRIGHT,
TABLE 32                                    KATHLEEN                             GRAVITRON MUSIC                                       A                         PA0001237227
TAILGATE BLUES                              COBB, BRENT                          TILTAWHIRL MUSIC                                      A                         PA0001861478
TAKE CARE OF ME                             KREKEL, TIM                          MIGHTY NICE MUSIC, TILTAWHIRL MUSIC                  O&A                        PA0001790895

TAKE IT ALL OUT ON YOU                      ROBISON, BRUCE                       BRUCE ROBISON MUSIC, TILTAWHIRL MUSIC                  A                        PA0000957629
TAKE ME DOWN A PATH MY HEART WON'T
KNOW                                        LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                       O&A                        PA0000799195
                                                                                 TILTAWHIRL MUSIC, STAIRWAY TO ELEVEN
TALK TO ME                                  GRISSOM, DAVID                       MUSIC                                                  A                        PA0000964180
TALL GRASS                                  SAENZ, ARMANDO                       SCRAMBLER MUSIC                                        A                        PA0001910944
                                            SAENZ, ARMANDO / PHILLIPS,           SCRAMBLER MUSIC, TILTAWHIRL MUSIC, ACBM
TE AMO MAS QUE LA VIDA                      STONEY LARUE                         MUSIC                                                 A                         PA0001834785
TEAR ONE                                    MILLER, DEAN                         MIGHTY NICE MUSIC                                     O                         PA0001030740
TEARDROPS                                   RAINWATER, MARVIN                    DREAM CITY MUSIC                                      A                         EU0000765575
TEARS IN THE SAND                           MECKEL, NATHAN                       TOTO TUNES                                            A                         PA0001075009
TEARS SO STRONG                             LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                       O&A                        PA0000822651
                                                                                 CLASHING PLAIDS, WINNING CIRCLE MUSIC
TELL ME                                     MILLER, ALAN                         INC.                                                   A                        PA0001310839
TENNESSEE WILL                              HOOD, ADAM                           TILTAWHIRL MUSIC                                       A                        PA0001795420
TEXAS LULLABY                               MCGOWAN, ANN                         DAVID ALLAN COE MUSIC                                  O                        EU0000671030
THANK YOU                                   REYNOLDS, JOHN                       MIGHTY NICE MUSIC                                      O                        PA0001032726
                                            TATE, SAM / WRIGHT,
THAT JUST WOULDN'T BE ME                    KATHLEEN / COLEHOUR, DAN             GRAVITRON MUSIC, SCRAMBLER MUSIC                       A                        PA0001093293
THAT THANG                                  ANDERSON, AL                         MIGHTY NICE MUSIC                                      O                        PA0000847600

THAT WAS A HEARTACHE                        ROBISON, BRUCE                       BRUCE ROBISON MUSIC, TILTAWHIRL MUSIC                  A                        PA0001393003

THAT'S A LIE                                RICHEY, KIM / KREKEL, TIM            MIGHTY NICE MUSIC, WAIT NO MORE MUSIC                O&A                        PA0000705724

THAT'S EXACTLY WHAT I MEAN                  RICHEY, KIM                          MIGHTY NICE MUSIC, WAIT NO MORE MUSIC                O&A                        PA0000705717
THAT'S HOW I'M GOING OUT                    HOOD, ADAM                           TILTAWHIRL MUSIC                                      A                         PA0001856198
THAT'S HOW MUCH YOU MEAN TO ME              ANDERSON, AL                         MIGHTY NICE MUSIC, AL ANDERSONGS                     O&A                        PA0001090261
THAT'S HOW THEY DO IT IN DIXIE              IRWIN, MARK                          SCRAMBLER MUSIC                                       A                         PA0001344524
THAT'S LOVE                                 WILLIAMS, LONNIE                     PLAID PAJAMAS MUSIC                                   A                         PA0001233504
THAT'S NOT RIGHT, BABE                      LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                       O&A                        PA0000822656
THAT'S NOT THE WAY IT WORKS                 LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                       O&A                        PA0000767295
THAT'S WHAT LOVIN' YOU MEANS TO ME          ANDERSON, AL                         MIGHTY NICE MUSIC                                     O                         PA0000789969




                                   Case 3:17-cv-01051 Document 41-1 Page
                                                                     Filed     11/01/17 Page 58 of 64 PageID #: 967
                                                                         57 of 63
                                                                           Exhibit A Musical Compositions

            Composition Title             Bluewater-Controlled Writer(s)              Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #

THAT'S WHAT LOVING YOU MEANS             WAYLAND, RICH                       STREET SINGER MUSIC, JOYOUS JINGLES INC.               A                         PA0001138419
THE AMERICAN WAY                         IRWIN, MARK                         SCRAMBLER MUSIC                                        A                         PA0001642717
THE APPLES ARE JUST TURNING RIPE         LAUDERDALE, JIM                     LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0001088654
THE BAND IS PLAYING TOO SLOW             KNIGHT, CHRIS                       BASH MUSIC                                             O                         PA0000741064
THE BEES                                 HEMBY, NATALIE                      TILTAWHIRL MUSIC                                       A                         PA0001675271
                                         FASCINATO, JACK / FORD,
THE CHURCH IN THE WILDWOOD               ERNEST                              BAYSHORE MUSIC CORPORATION                              A                        EU0000608491
THE CURE FOR THE PAIN                    PETERS, GRETCHEN                    CIRCUS GIRL MUSIC                                       A                        PA0002039732
THE DOCTOR                               SCHWARTZ, EDWARD S.                 HIGH FRONTIER MUSIC                                     A                        PA0000424122
THE END OF ME                            MILLER, ALAN                        TOTO TUNES, WINNING CIRCLE MUSIC INC.                   A                        PA0001310835
                                         SMITH, ROBERT GERALD /              MELODY ROUNDUP MUSIC LLC, MAMA'S HOUSE
THE FINGER SONG                          MOORE, BUCK                         MUSIC                                                   A                        PA0001733139
                                         FORD, ERNEST / FASCINATO,           TENNESSEE ERNIE FORD MUSIC, BAYSHORE
THE FIRST NOEL                           JACK                                MUSIC CORPORATION                                       A                        EU0000269074
THE FOGGY FOGGY DEW                      O'BRIEN, TIM                        CORNBREAD NATION                                        A                        PA0001589579
THE FOOL                                 STEFL, CHARLEY                      CRITTER CITY MUSIC                                      O                        PA0002240855
THE GARDEN                               O'BRIEN, TIM                        CORNBREAD NATION                                        A                        PA0001645802

THE GOOD LIFE                            CARUSOE, SCOOTER                    ABBOTTS CREEK MUSIC, SCRAMBLER MUSIC                    A                        PA0001920085
THE HAMMER GOING DOWN                    KNIGHT, CHRIS                       BASH MUSIC                                              O                        PA0000741063
THE HOUSE ON AUBURN STREET               PETERS, GRETCHEN                    CIRCUS GIRL MUSIC                                       A                        PA0002039732
                                         FORD, ERNEST / FASCINATO,           TENNESSEE ERNIE FORD MUSIC, BAYSHORE
THE IVY LEAGUE                           JACK                                MUSIC CORPORATION                                      A                         EU0000483715
THE KEY OF LOVE                          ANDERSON, AL                        MIGHTY NICE MUSIC, AL ANDERSONGS                      O&A                        PA0001039774
THE KING OF BROKEN HEARTS                LAUDERDALE, JIM                     LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0000523753
THE LAST THING ON MY MIND                ANDERSON, AL                        MIGHTY NICE MUSIC                                      O                         PA0001039773

THE LONESOME SIDE OF TOWN                RICHEY, KIM                         MIGHTY NICE MUSIC, WAIT NO MORE MUSIC                 O&A                        PA0001010901
THE LONGEST DAY                          BUCHANAN, PAT                       CRITTER CITY MUSIC                                     O                         PA0001114165
THE LORD'S HIGHWAY                       KNIGHT, CHRIS                       BASH MUSIC                                             O                         PA0001088860
THE LOVE SHE FOUND IN ME                 MORRISON, BOB                       SOUTHERN DAYS MUSIC                                    A                         PA0000105463
THE LUCKY ONE                            MILLER, ALAN                        TOTO TUNES, WINNING CIRCLE MUSIC INC.                  A                         PA0001055428
THE MATADOR                              PETERS, GRETCHEN                    CIRCUS GIRL MUSIC                                      A                         PA0001821711
                                         FORD, ERNEST / FASCINATO,           TENNESSEE ERNIE FORD MUSIC, BAYSHORE
THE NINETY AND NINE                      JACK                                MUSIC CORPORATION                                       A                        EU0000448658
THE OFFICE CALL                          SELBY, MONTE                        STREET SINGER MUSIC                                     A                        PA0001011436
                                         SELBY, MICHELLE / SELBY,
THE PROPERTIES GAME                      MONTE / NORRIS, JILL                STREET SINGER MUSIC, CLASHING PLAIDS                    A                        PA0001739250
                                         KNIGHT, CHRIS / BRADBERRY,
THE RIVER'S OWN                          GORDON                              BASH MUSIC, MIGHTY NICE MUSIC                           O                        PA0000741065
THE ROAD I'M ON                          SAENZ, ARMANDO                      SCRAMBLER MUSIC                                         A                        PA0001910942
                                         FORD, ERNEST / FASCINATO,           TENNESSEE ERNIE FORD MUSIC, BAYSHORE
THE ROVIN' GAMBLER                       JACK                                MUSIC CORPORATION                                       A                        EP0000098266
THE RUNNING SIDE OF ME                   MILLER, DEAN                        MIGHTY NICE MUSIC                                       O                        PA0000816095




                                Case 3:17-cv-01051 Document 41-1 Page
                                                                  Filed     11/01/17 Page 59 of 64 PageID #: 968
                                                                      58 of 63
                                                                           Exhibit A Musical Compositions

            Composition Title             Bluewater-Controlled Writer(s)              Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #

THE SOUND OF A MILLION DREAMS            CARUSOE, SCOOTER                    ABBOTTS CREEK MUSIC, SCRAMBLER MUSIC                    A                        PA0001795595
                                         FASCINATO, JACK / FORD,
THE SOUTHERN WAGON                       ERNEST                              BAYSHORE MUSIC CORPORATION                              A                        EP0000154291
THE STAYING KIND                         SAENZ, ARMANDO                      SCRAMBLER MUSIC                                         A                        PA0001868722
THE STORM INSIDE OF ME                   IRWIN, MARK                         SCRAMBLER MUSIC                                         A                        PA0002014990
THE TEACHER'S TEACHER                    SELBY, MONTE                        STREET SINGER MUSIC                                     A                        PA0001597133
                                         SAENZ, ARMANDO / PHILLIPS,          SCRAMBLER MUSIC, TILTAWHIRL MUSIC, ACBM
THE TRAVELING KIND                       STONEY LARUE                        MUSIC                                                   A                        PA0001834785
                                         SELBY, MONTE / COLLINS,             STREET SINGER MUSIC, LOOKS LIKE PLAID
THE ULTIMATE SCHOOL                      BURTON                              MUSIC                                                   A                        PA0001596423
THE USED-TO-BES                          MORRISON, BOB                       SOUTHERN DAYS MUSIC                                     A                        PA0000839949
                                         FASCINATO, JACK / FORD,
THE VACANT CHAIR                         ERNEST                              BAYSHORE MUSIC CORPORATION                              A                         EP0000154290
                                         FASCINATO, JACK / FORD,
THE VALIANT CONSCRIPT                    ERNEST                              BAYSHORE MUSIC CORPORATION                              A                         EP0000154153

THE WAY IT NEVER WAS                     RICHEY, KIM                         MIGHTY NICE MUSIC, WAIT NO MORE MUSIC                 O&A                        PA0000972135
THE WAY TO MY HEART                      LAUDERDALE, JIM                     LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0001138572
THE WELL                                 COBB, BRENT                         TILTAWHIRL MUSIC                                       A                         PA0002049626
THE WHITE ROSE                           ELGERSMA, FRED                      CRITTER CITY MUSIC                                     O                         PA0000707124
THE WORLD IS FLAT                        BUCHANAN, PAT                       CRITTER CITY MUSIC                                     O                         PA0001114162
THERE GOES BESSIE BROWN                  LAUDERDALE, JIM                     CRITTER CITY MUSIC, SKY-EYE MUSIC                     O&A                        PA0001371081
THIS HEART                               ANDERSON, AL                        MIGHTY NICE MUSIC                                      O                         PA0000926868
THIS THING WE HAVE                       MECKEL, NATHAN                      CLASHING PLAIDS                                        A                         PA0001912093
THIS WORLD IS GETTING MEAN               LAUDERDALE, JIM                     SKY-EYE MUSIC, CRITTER CITY MUSIC                     O&A                        PA0001210277

THOSE WORDS WE SAID                      RICHEY, KIM                  MIGHTY NICE MUSIC, WAIT NO MORE MUSIC                        O&A                        PA0000747286
THROUGH THE EYES OF A WOMAN              IRWIN, MARK                  SCRAMBLER MUSIC                                               A                         PA0001815993
TIL THE HEARTACHE'S GONE                 ANDERSON, AL                 MIGHTY NICE MUSIC, AL ANDERSONGS                             O&A                        PA0001040227
TIME AFTER TIME                          COE, DAVID ALLAN             CAPTIVE MUSIC                                                 O                         PA0000134016
TIME GOES BY                             MILLER, ALAN                 TOTO TUNES, WINNING CIRCLE MUSIC INC.                         A                         PA0001213304
TIME TO GET A GUN                        ELGERSMA, FRED               CRITTER CITY MUSIC                                            O                         PA0000885737
TIME'S A LOOKING GLASS                   LAUDERDALE, JIM              CRITTER CITY MUSIC, SKY-EYE MUSIC                            O&A                        PA0001371078
                                                                      TILTAWHIRL MUSIC, CROZIER MUSIC
TIMING IS EVERYTHING                     HEMBY, NATALIE / JONES, TROY ENTERPRISE                                                    A                         PA0001758119
TO FEEL THAT WAY AT ALL                  LAUDERDALE, JIM              LAUDERSONGS, MIGHTY NICE MUSIC                               O&A                        PA0000707131

TO TELL THE TRUTH                        RICHEY, KIM                         MIGHTY NICE MUSIC, WAIT NO MORE MUSIC                 O&A                        PA0001010899
TO THE BONE                              SAENZ, ARMANDO                      SCRAMBLER MUSIC                                        A                         PA0001868723
TODAY                                    MILLER, ALAN                        TOTO TUNES, WINNING CIRCLE MUSIC INC.                  A                         PA0001092343
TONIGHT                                  ROBISON, BRUCE                      TILTAWHIRL MUSIC                                       A                         PA0001046431
                                         FRANCIS, MARYLAND /
                                         MACRAE, FRED / MORRISON,
TONIGHT THE HEARTACHE'S ON ME            BOB                                 SOUTHERN DAYS MUSIC                                     A                        PA0000895978




                                Case 3:17-cv-01051 Document 41-1 Page
                                                                  Filed     11/01/17 Page 60 of 64 PageID #: 969
                                                                      59 of 63
                                                                       Exhibit A Musical Compositions

            Composition Title         Bluewater-Controlled Writer(s)              Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
TONIGHT WE JUST MIGHT FALL IN LOVE
AGAIN                                ANDERSON, AL                        MIGHTY NICE MUSIC                                       O                        PA0000713979
TRAIN NOT RUNNING                    KNIGHT, CHRIS                       BASH MUSIC                                              O                        PA0000977706

TRAVELIN' SOLDIER                    ROBISON, BRUCE                      TILTAWHIRL MUSIC, BRUCE ROBISON MUSIC                   A                        PA0000977192
                                                                         ASH STREET PUBLISHING, RICHARDSON-
TROUBADOUR                           HOLMES, MONTY                       ZULEGER PUBLISHING                                      A                        PA0001621140
TRUE LIES                            ANDERSON, AL                        MIGHTY NICE MUSIC                                       O                        PA0000840163

TRUE MODERN ROMANCE                  WAYLAND, RICH                       STREET SINGER MUSIC, JOYOUS JINGLES INC.               A                         PA0001151675
TRYING TO WRITE A LOVE SONG          HOOD, ADAM                          TILTAWHIRL MUSIC                                       A                         PA0001894985
TUMBLE AND ROLL                      ANDERSON, AL                        MIGHTY NICE MUSIC, AL ANDERSONGS                      O&A                        PA0000976471
TUPELO                               BRILL, LOGAN                        TILTAWHIRL MUSIC                                       A                         PA0002051075
TURN IT UP                           SAENZ, ARMANDO                      SCRAMBLER MUSIC                                        A                         PA0001810212
TURNING HOME                         CARUSOE, SCOOTER                    SCRAMBLER MUSIC                                        A                         PA0001741647
TWO LANE BLACKTOP                    HULLETT, BILL                       MIGHTY NICE MUSIC                                      O                         PA0000933953
TWO SURVIVORS                        ANDERSON, AL                        MIGHTY NICE MUSIC                                      O                         PA0001262392
UNBELIEVABLE                         ANDERSON, AL                        MIGHTY NICE MUSIC                                      O                         PA0000954981
UNDER THE SUN                        BUCHANAN, PAT                       CRITTER CITY MUSIC                                     O                         PA0001114163
UNDERGROUND                          KREKEL, TIM                         MIGHTY NICE MUSIC                                      O                         PA0001016194

UNDONE                               CARUSOE, SCOOTER                    ABBOTTS CREEK MUSIC, SCRAMBLER MUSIC                    A                        PA0001814841
                                     FASCINATO, JACK / FORD,
UNION DIXIE                          ERNEST                              BAYSHORE MUSIC CORPORATION                              A                        EP0000154156
UNTIL WE FEED THE CHILD              SELBY, MONTE                        STREET SINGER MUSIC                                     A                        PA0001228990

UP FROM THE HILL                     KREKEL, TIM                         MIGHTY NICE MUSIC, GYPSY VILLAGE MUSIC                O&A                        PA0001595994
UP THE HICKORY DOWN THE PINE         SAENZ, ARMANDO                      SCRAMBLER MUSIC                                        A                         PA0001869382
VACANCY OF LOVE                      ANDERSON, AL                        MIGHTY NICE MUSIC                                      O                         PA0000970323
                                     SAENZ, ARMANDO / PHILLIPS,          SCRAMBLER MUSIC, TILTAWHIRL MUSIC, ACBM
VELVET                               STONEY LARUE                        MUSIC                                                   A                        PA0001834785

VIRGINIA                             ROBISON, BRUCE                      TILTAWHIRL MUSIC, BRUCE ROBISON MUSIC                  A                         PA0001647560
WAIT 'TIL SPRING                     LAUDERDALE, JIM                     SKY-EYE MUSIC, CRITTER CITY MUSIC                     O&A                        PA0001210271
WAIT UNTIL TOMORROW                  CROWLEY, J.C.                       MIGHTY NICE MUSIC                                      O                         PA0000014174
WAITING ON THE REAL THING            ANDERSON, AL                        MIGHTY NICE MUSIC                                      O                         PA0001050744
WAKE UP SCREAMING                    LAUDERDALE, JIM                     LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0000523749

WALKING THROUGH DECEMBER             KREKEL, TIM                         MIGHTY NICE MUSIC, GYPSY VILLAGE MUSIC                O&A                        PA0001321260
WANDERER IN ME                       RAINWATER, MARVIN                   DREAM CITY MUSIC                                       A                         EU0000765573
                                                                         SCRAMBLER MUSIC, ABBOTTS CREEK MUSIC
WANNA BE THAT SONG                   CARUSOE, SCOOTER                    TWO                                                     A                        PA0002003430
WAR ON A DESPERATE MAN               SANDERS, BLU                        TILTAWHIRL MUSIC                                        A                        PA0001756005
WASTED TIME                          ARKEEN, AARON WEST                  WEST ARKEEN MUSIC                                       A                        PA0001238394

WATCH HER DRIVE                      CARUSOE, SCOOTER                    ABBOTTS CREEK MUSIC, SCRAMBLER MUSIC                    A                        PA0001965187




                            Case 3:17-cv-01051 Document 41-1 Page
                                                              Filed     11/01/17 Page 61 of 64 PageID #: 970
                                                                  60 of 63
                                                                           Exhibit A Musical Compositions

           Composition Title              Bluewater-Controlled Writer(s)              Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
                                        SAENZ, ARMANDO / HOOD,
WAY TOO LONG                            ADAM                                 SCRAMBLER MUSIC, TILTAWHIRL MUSIC                       A                        PA0001834785
                                        FORD, ERNEST / FASCINATO,            TENNESSEE ERNIE FORD MUSIC, BAYSHORE
WAYFARING PILGRIM                       JACK                                 MUSIC CORPORATION                                       A                        EP0000108007
WE ALL ARE ONE                          MCCLURKIN, DONALD                    DON MAC MUSIC                                           A                        PA0001859901
                                        CHAFFIN, BLAKE / SELBY,
WE ARE ALL IN THIS TOGETHER             MONTE                                STREET SINGER MUSIC                                    A                         PA0001114152
WE REALLY SHOULDN'T BE DOING THIS       LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0000925403
                                        MACRAE, FRED / MORRISON,
WE'LL WALTZ IN LOVE TONIGHT             BOB                                  SOUTHERN DAYS MUSIC                                     A                        PA0000186295
                                        FORD, ERNEST / FASCINATO,            TENNESSEE ERNIE FORD MUSIC, BAYSHORE
WERE YOU THERE                          JACK                                 MUSIC CORPORATION                                       A                         EP0000107763
                                        FORD, ERNEST / FASCINATO,            TENNESSEE ERNIE FORD MUSIC, BAYSHORE
WHAT A FRIEND WE HAVE IN JESUS          JACK                                 MUSIC CORPORATION                                      A                         PA0000207226
WHAT AM I WAITING FOR                   LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0000737133
WHAT CHILD IS THIS                      FASCINATO, JACK                      BAYSHORE MUSIC CORPORATION                             A                         EU0000896009
WHAT DID YOU THINK                      ROBISON, BRUCE                       TILTAWHIRL MUSIC                                       A                         PA0000977196
WHAT DO YOU SAY TO THAT                 LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0001034412
WHAT I WOULDN'T GIVE                    STEFL, CHARLEY                       CRITTER CITY MUSIC                                     O                         PA0001642778

WHAT MAKES YOU SAY                      ROBISON, BRUCE                       BRUCE ROBISON MUSIC, TILTAWHIRL MUSIC                  A                         PA0001113462
WHAT ONE NIGHT CAN DO                   MORRISON, BOB                        SOUTHERN DAYS MUSIC                                    A                         PA0000922300
WHAT WOULD WILLIE DO?                   ROBISON, BRUCE                       TILTAWHIRL MUSIC                                       A                         PA0001064887
WHAT YOU DON'T KNOW                     LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0000523754
WHAT’S A BOY TO DO                      SAENZ, ARMANDO                       SCRAMBLER MUSIC                                        A                         PA0002049625
WHATEVER IT IS                          CROWLEY, J.C.                        MIGHTY NICE MUSIC                                      O                         PA0000114093
WHAT'S ON MY MIND                       LAUDERDALE, JIM                      MIGHTY NICE MUSIC, LAUDERSONGS                        O&A                        PA0001056244
WHEN ALL YOU GOT IS A HAMMER            PETERS, GRETCHEN                     CIRCUS GIRL MUSIC                                      A                         PA0002039732
WHEN I COME AROUND                      SAENZ, ARMANDO                       SCRAMBLER MUSIC                                        A                         PA0001295519
WHEN I'M THROUGH FALLIN' APART          MORRISON, BOB                        SOUTHERN DAYS MUSIC                                    A                         PA0000819579
WHEN IT COMES TO YOU                    LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0001117610
WHEN THE DEVIL STARTS CRYING            LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                        O&A                        PA0000721424
                                                                             SUITE TWO O FIVE MUSIC, RESTLESS WIND
WHEN THE FALLEN ANGELS FLY              SHAVER, BILLY JOE                    MUSIC                                                   A                        PA0001213302
                                        FASCINATO, JACK / FORD,
WHEN THE ROLL IS CALLED UP YONDER       ERNEST                               BAYSHORE MUSIC CORPORATION                              A                        EU0000608494
WHEN THE WORLD WAS MINE                 LIVSEY, BILLY                        BILLY LIVSEY MUSIC                                      A                       PAu0002442511
WHEN THERE'S TIME                       SCHWARTZ, EDWARD S.                  HIGH FRONTIER MUSIC                                     A                        PA0000681970
WHEN THIS WORLD COMES TO AN END         O'BRIEN, TIM                         CORNBREAD NATION                                        A                        PA0001589574

WHEN TIMES WERE GOOD                    JONES, DAVID LYNN             MIGHTY NICE MUSIC, SKUNK DEVILLE MUSIC                       O&A                        PA0000346871
                                                                      MIGHTY NICE MUSIC, BICAMERAL SONGS,
WHEN YOU COME BACK DOWN                 O'KEEFE, DANNY / O'BRIEN, TIM HOWDY SKIES MUSIC                                            O&A                        PA0001024597
WHEN YOU COMIN' HOME                    PETERS, GRETCHEN              CIRCUS GIRL MUSIC                                             A                         PA0002039732
WHERE MY LIPS HAVE BEEN                 KNOX, SANDY                   BASH MUSIC                                                    O                         PA0000611545
WHERE THE SIDEWALK ENDS                 LAUDERDALE, JIM               LAUDERSONGS, MIGHTY NICE MUSIC                               O&A                        PA0000528195




                               Case 3:17-cv-01051 Document 41-1 Page
                                                                 Filed     11/01/17 Page 62 of 64 PageID #: 971
                                                                     61 of 63
                                                                         Exhibit A Musical Compositions

           Composition Title            Bluewater-Controlled Writer(s)           Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
WHERE THE SUN NEVER SHINES            FLOWERS, DOUG                        MELODY ROUNDUP MUSIC LLC                             A                        PA0002002514
WHERE THERE'S A WILL                  SMITH, ROBERT GERALD                 MELODY ROUNDUP MUSIC LLC                             A                        PA0001733137
                                      FRANCIS, MARYLAND /
                                      MACRAE, FRED / MORRISON,
WHISKEY, IF YOU WERE A WOMAN          BOB                                  SOUTHERN DAYS MUSIC                                  A                        PA0000207486
                                      FORD, ERNEST / FASCINATO,            TENNESSEE ERNIE FORD MUSIC, BAYSHORE
WHISPERING HOPE                       JACK                                 MUSIC CORPORATION                                    A                        EU0000011153
WHITE LIAR                            HEMBY, NATALIE                       TILTAWHIRL MUSIC                                     A                        PA0001682824
WHO DO YOU LISTEN TO                  SELBY, MONTE                         STREET SINGER MUSIC                                  A                        PA0001114154
WHO WILL SHOE YOUR PRETTY LITTLE      FORD, ERNEST / FASCINATO,            TENNESSEE ERNIE FORD MUSIC, BAYSHORE
FOOT                                  JACK                                 MUSIC CORPORATION                                    A                        EP0000098264
WHO'S GOT THAT VISION                 SELBY, MONTE                         STREET SINGER MUSIC                                  A                        PA0001011433

WHY CAN'T I SAY GOODNIGHT             RICHEY, KIM                          MIGHTY NICE MUSIC, WAIT NO MORE MUSIC              O&A                        PA0001010903
WHY HAVEN'T I HEARD FROM YOU          KNOX, SANDY                          BASH MUSIC                                          O                         PA0000642382
WHY I'M NOT A WOMAN                   ROBERTS, RIK                         TOTO TUNES                                          A                         PA0001138608
WHY'S SHE WITH HIM?                   ROBERTS, RIK                         TOTO TUNES                                          A                         PA0001138608
WILD BABY SHAKE ME                    HOOD, ADAM                           TILTAWHIRL MUSIC                                    A                         PA0001915226
                                                                           CLASHING PLAIDS, WINNING CIRCLE MUSIC
WILD EYES OF LOVE                     MILLER, ALAN                         INC.                                                 A                        PA0001310836
WILDER THAN HER                       ELGERSMA, FRED                       CRITTER CITY MUSIC                                   O                        PA0000707115

WILDEST DREAMS                        RICHEY, KIM                          MIGHTY NICE MUSIC, WAIT NO MORE MUSIC              O&A                        PA0001010895
WILLIAM                               KNIGHT, CHRIS                        BASH MUSIC                                          O                         PA0000741066
WILLIE, WAYLON & ME                   DEBORAH COE                          SHOWFOR MUSIC                                       O                            PENDING
WINDOW IN THE SKY                     BUCHANAN, PAT                        CRITTER CITY MUSIC                                  O                         PA0001262281

                                      MATHENY, LOGAN / MATHENY,
WINTERLIGHT                           SKIP / MATHENY, TIMSHEL              BILL AND MARY MUSIC, SCRAMBLER MUSIC                 A                        PA0001809924
                                      SELBY, MICHELLE / SELBY,
WIPED OUT                             MONTE                                STREET SINGER MUSIC                                  A                        PA0001596408
                                      HOOD, ADAM / PHILLIPS,
WIREGRASS                             STONEY LARUE                         TILTAWHIRL MUSIC, ACBM MUSIC                         A                        PA0001834781
WISEMEN STILL SEEK HIM                WAY, PATTY                           MIGHTY NICE MUSIC                                    O                        PA0001088853
WISHING WELL                          SAENZ, ARMANDO                       SCRAMBLER MUSIC                                      A                        PA0001868723
                                      SMITH, ROBERT GERALD,
WITHOUT JESUS                         STANSBERRY, JEFF                     MELODY ROUNDUP MUSIC LLC                             A                       PAu0003541869

WITHOUT YOU                           MOODY, CLYDE / VIA, RICHARD          DREAM CITY MUSIC                                     A                        EU0000317211
                                      BRILL, LOGAN / CARUSOE,              TILTAWHIRL MUSIC, SCRAMBLER MUSIC,
WORLD STILL ROUND                     SCOOTER                              ABBOTTS CREEK MUSIC TWO                              A                        PA0002051073
WOULD YOU BELIEVE                     MILLER, ALAN                         TOTO TUNES, WINNING CIRCLE MUSIC INC.                A                        PA0001213302
WOULD YOU LAY WITH ME IN A FIELD OF
STONE                                 COE, DAVID ALLAN                     CAPTIVE MUSIC                                        O                        EU0000458290
WOULD YOUR MOTHER BE PROUD OF YOU
NOW                                   RAINWATER, MARVIN                    DREAM CITY MUSIC                                     A                        EU0000782786




                           Case 3:17-cv-01051 Document 41-1 Page
                                                             Filed     11/01/17 Page 63 of 64 PageID #: 972
                                                                 62 of 63
                                                                           Exhibit A Musical Compositions

           Composition Title              Bluewater-Controlled Writer(s)             Bluewater-Controlled Publisher(s)   Own "O" / Administer "A"   Copyright Registration #
WOUNDED                                 TRICE, JAMES                         PLAID PAJAMAS MUSIC                                    A                        PA0001589590

WRAPPED                                 ROBISON, BRUCE                       TILTAWHIRL MUSIC, BRUCE ROBISON MUSIC                  A                        PA0000875657
Write It On Your Heart                  BRILL, LOGAN                         TILTAWHIRL MUSIC                                       A                        PA0001917887
WRITTEN IN THE STARS                    WAY, PATTY                           MIGHTY NICE MUSIC                                      O                        PA0000737938
WRONG ABOUT YOU                         WRIGHT, ADAM                         CASA DE CASA MUSIC, TILTAWHIRL MUSIC                   A                        PA0001950813
WRONG SIDE OF LOVE                      ANDERSON, AL                         MIGHTY NICE MUSIC                                      O                        PA0000717635
YES MAN                                 MILLER, DEAN                         MIGHTY NICE MUSIC                                      O                        PA0001316458
YESTERDAYS                              ARKEEN, AARON WEST                   WEST ARKEEN MUSIC                                      A                        PA0000541364
YOU BELONG TO ME                        LIVSEY, BILLY                        QUINCE MUSIC LTD.                                      A                        PA0000396324
YOU CAN'T MAKE MY HEART BELIEVE         NORTHRUP, JOHN                       TOTO TUNES, WINNING CIRCLE MUSIC INC.                  A                        PA0001295516
YOU COULD'VE LOVED ME                   CHRISTENSEN, DUSTIN                  SCRAMBLER MUSIC                                        A                        PA0002051030

                                        MATHENY, LOGAN / MATHENY,
YOU DON'T BELONG TO THIS WORLD          SKIP / MATHENY, TIMSHEL              BILL AND MARY MUSIC, SCRAMBLER MUSIC                  A                         PA0001809933
YOU DON'T SEEM TO MISS ME               LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                       O&A                        PA0000908615
                                        LAUDERDALE, JIM / MESLER,
YOU GO YOUR WAY                         JOHN                                 MIGHTY NICE MUSIC, LAUDERSONGS                       O&A                       PAu0000352604
YOU NEVER KNOW                          MCGUIRE, MICHAEL H                   HARMONY ROUNDUP MUSIC LLC                             A                         PA0001645663
YOU PLAY LIKE CHET                      SMITH, ROBERT GERALD                 MELODY ROUNDUP MUSIC LLC                              A                         PA0001733136

YOU REALLY LET YOURSELF GO              ROBISON, BRUCE                       TILTAWHIRL MUSIC, BRUCE ROBISON MUSIC                  A                        PA0001647570

YOU'D MAKE AN ANGEL WANT TO CHEAT       MORRISON, BOB                        SOUTHERN DAYS MUSIC                                   A                         PA0000053967
YOU'LL KNOW WHEN IT'S RIGHT             LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                       O&A                        PA0001056246

YOU'LL NEVER KNOW                       RICHEY, KIM                          MIGHTY NICE MUSIC, WAIT NO MORE MUSIC                O&A                        PA0000705716
YOUR GIRL                               STANSBERRY, JEFF                     MELODY ROUNDUP MUSIC LLC                              A                         PA0001808060
YOUR SECRET'S SAFE WITH ME              COLEHOUR, DAN                        SCRAMBLER MUSIC                                       A                         PA0001727478

YOU'RE NOT THE BEST                     ROBISON, BRUCE                       TILTAWHIRL MUSIC, BRUCE ROBISON MUSIC                 A                         PA0000942266
ZACCHAEUS                               LAUDERDALE, JIM                      LAUDERSONGS, MIGHTY NICE MUSIC                       O&A                        PA0001088656

                                        BUCK, MIKE / DOERR, STEVE /
ZOMBIE RUMBLE                           RAWLS, RICK / SPARKS, MILLER MIGHTY NICE MUSIC                                              O                        PA0000480389




                               Case 3:17-cv-01051 Document 41-1 Page
                                                                 Filed     11/01/17 Page 64 of 64 PageID #: 973
                                                                     63 of 63
